Case:Highly
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     0    01


     2         `      IN THE UNITED STATES DISTRICT COURT
     3                 FOR THE NORTHERN DISTRICT OF OHIO
     4                            EASTERN DIVISION
     5         -----------------------------X
               IN RE: NATIONAL PRESCRIPTION          MDL No. 2804
     6         OPIATE LITIGATION,
                                                     Case No. 17-MD-2804
     7         This document relates to:
     8         All Cases                             Hon. Dan A. Polster
     9         -----------------------------X
    10                      * HIGHLY CONFIDENTIAL *
    11         * SUBJECT TO FURTHER CONFIDENTIALITY REVIEW               *
    12                        VIDEOTAPED DEPOSITION
    13                                    OF
    14                          LACEY R. KELLER
    15                         New York, New York
    16                      Thursday, June 13, 2019
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               Reported by:
    24         ANNETTE ARLEQUIN, CCR, RPR, CRR, RSA
    25

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     5                                  June 13, 2019
     6                                  9:10 a.m.
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     8                     HIGHLY CONFIDENTIAL - SUBJECT TO
     9                FURTHER CONFIDENTIALITY REVIEW
    10                videotaped deposition of LACEY R.
    11                KELLER, held at the offices of
    12                KIRKLAND & ELLIS LLP, 601 Lexington
    13                Avenue, New York, New York, pursuant to
    14                Notice, before Annette Arlequin, a
    15                Certified Court Reporter, a Registered
    16                Professional Reporter, a Realtime
    17                Systems Administrator, a Certified
    18                Realtime Reporter, and a Notary Public
    19                of the State of New York and New
    20                Jersey.
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     2        A P P E A R A N C E S:
     3

     4        SIMMONS HANLY CONROY LLC
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    10        BY: LAURA L. FITZPATRICK, ESQ.
    11             Lfitzpatrick@simmonsfirm.com
    12                    - and -
    13        MOTLEY RICE LLC
    14        Counsel for Plaintiffs
    15             28 Bridgeside Boulevard
    16             Mt. Pleasant, South Carolina            29464
    17        BY: JAMES W. LEDLIE, ESQ.
    18             Jledlie@motleyrice.com
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     1

     2        A P P E A R A N C E S(Cont'd.):
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     4        KIRKLAND & ELLIS LLP
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     7             Washington, D.C. 20004
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     9             Jennifer.levy@kirkland.com
    10        BY: CATIE VENTURA, ESQ.
    11             Catie.ventura@kirkland.com
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    13        O'MELVENY & MYERS LLP
    14        Counsel for Janssen Pharmaceutical and
    15           Johnson & Johnson
    16             1999 Avenue of the Stars - 8th Floor
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    19             Alucas@omm.com
    20        BY: J. KEITH KOBYLKA, ESQ.
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     1

     2        A P P E A R A N C E S(Cont'd.):
     3

     4        MORGAN LEWIS & BOCKIUS LLP
     5        Counsel for Teva, Cephalon and Actavis
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     8        BY: ADAM HAMMOUD, ESQ.
     9             Adam.hammoud@morganlewis.com
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    11        ARNOLD & PORTER KAYE SCHOLER LLP
    12        Counsel for Endo Health Solutions Endo
    13           Pharmaceuticals, Inc.; Par Pharmaceutical
    14           Companies, Inc. f/k/a Par Pharmaceutical
    15           Holdings, Inc.
    16             601 Massachusetts Avenue N.W.
    17             Washington, D.C.        20001-3743
    18        BY: JOANNA PERSIO, ESQ.
    19             Joanna.persio@arnoldporter.com
    20

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     2        A P P E A R A N C E S(Cont'd.):
     3        DECHERT LLP
     4        Counsel for Purdue Pharmaceuticals
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     8        BY: DEBRA D. O'GORMAN, ESQ.
     9             Debra.ogorman@dechert.com
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    11        ZUCKERMAN SPAEDER LLP
    12        Counsel for CVS Indiana, LLC and CVS RX
    13           Services, Inc.
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    15             Washington, D.C.        20036-5807
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    17             Phynes@zuckerman.com
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    19        MORGAN LEWIS & BOCKIUS LLP
    20        Counsel for Rite Aid of Maryland
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    22             Philadelphia, Pennsylvania           19103-2921
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     1

     2        A P P E A R A N C E S(Cont'd.):
     3        ROPES & GRAY LLP
     4        Counsel for Mallinckrodt
     5             Prudential Tower
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     7             Boston, Massachusetts         02199
     8        BY: JOSH GOLDSTEIN, ESQ.
     9             Joshua.goldstein@ropesgray.com
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    11             Andrea.Ren@ropesgray.com
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    13        COVINGTON & BURLING LLP
    14        Counsel for McKesson
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    16             850 Tenth Street, N.W.
    17             Washington D.C. 20001-4956
    18        BY: CLAIRE CATALANO DEAN, ESQ.
    19             ccdean@cov.com
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     2        A P P E A R A N C E S(Cont'd.):
     3        BARTLIT BECK LLP
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     8             Peter.bensinger@bartlitt-beck.com
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    11        FOLEY LARDNER LLP
    12        Counsel for Anda, Inc.
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    19        BARNES & THORNBURG LLP
    20        Counsel for H.D. Smith
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    22             Indianapolis Indiana         46204-3535
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     2        A P P E A R A N C E S(Cont'd.):
     3

     4        LOCKE LORD LLP
     5        Counsel for Henry Schein, Inc. and
     6            Henry Schein Medical Systems, Inc.
     7             2200 Ross Avenue - Suite 2800
     8             Dallas, Texas       75201
     9        BY: BRANDAN MONTMINY, ESQ.
    10             Brandan.montminy@lockelord.com
    11             (Telephonically/realtime stream.)
    12

    13        ALSO PRESENT:
    14

    15        VINCE ROSICA, Golkow, Legal Video Specialist
    16        DAN LAWLOR, Golkow, Legal Video Specialist
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      2                      IT IS HEREBY STIPULATED AND
      3               AGREED by and between the attorneys for
      4               the respective parties herein, that
      5               filing and sealing be and the same are
      6               hereby waived;
      7                      IT IS FURTHER STIPULATED AND
      8               AGREED that all objections, except as
      9               to the form of the question, shall be
     10               reserved to the time of the trial;
     11                      IT IS FURTHER STIPULATED AND
     12               AGREED that the within deposition may
     13               be sworn to and signed before any
     14               officer authorized to administer an
     15               oath, with the same force and effect as
     16               if signed and sworn to before the
     17               Court.
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      2                      THE VIDEOGRAPHER:        We are now on
      3               the record.       My name is Vince Rosica.
      4               I'm a videographer for Golkow
      5               Litigation Services.
      6                      Today's date is June 13, 2019,
      7               and the time is 9:10 a.m.
      8                      This video deposition is being
      9               held in New York, New York, in the
     10               matter of National Prescription Opiate
     11               Litigation, MDL No. 2804, for the
     12               United States District Court for the
     13               Northern District of Ohio, Eastern
     14               Division.
     15                      The deponent is Lacey Keller.
     16                      Counsel will be noted on the
     17               stenographic record.
     18                      The court reporter is Annette
     19               Arlequin and will now swear in the
     20               witness.
     21                      *             *              *
     22        L A C E Y         R.   K E L L E R,       called as a
     23                witness, having been duly sworn by a
     24                Notary Public, was examined and
     25                testified as follows:

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      2                      THE WITNESS:      I do.
      3                      Lacey Rae Keller.
      4        EXAMINATION BY
      5        MS. LEVY:
      6               Q.     Good morning, Ms. Keller.           My
      7        name is Jenny Levy, and I'm an attorney
      8        here at Kirkland & Ellis.            I represent the
      9        Allergan defendants in this case.
     10                      Thank you for being here today.
     11        Apologies in advance for my scratchy voice
     12        and sniffles.       I'm feeling very under the
     13        weather, so I will do my best to keep my
     14        germs away from you.
     15                      Have you ever had your deposition
     16        before?
     17               A.     Good morning, Jenny.         Thanks for
     18        having me.      And no.
     19               Q.     This is the first deposition
     20        experience you've ever had?
     21               A.     Correct.
     22               Q.     In the course of your work either
     23        at the New York Attorney General's Office
     24        or previously with SEIU, did you sit in on
     25        any depositions or is this the first time

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      2        you've had this experience?
      3               A.     This is the first time I've had
      4        this experience.
      5               Q.     You've never been to a deposition
      6        before?
      7               A.     That is correct.
      8               Q.     Okay.    Let me tell you, just so
      9        you're comfortable, how this is going to
     10        go.
     11                      We have a court reporter to my
     12        right, your left, who is typing out every
     13        word that I'm saying and every word that
     14        you will say, in addition to our
     15        videographer.
     16                      Because she is typing all of our
     17        words, it's important that instead of the
     18        way we would normally communicate, maybe
     19        nodding our your head or saying "uh-huh,"
     20        that you do your best to speak in words
     21        when you answer my question.
     22                      Does that make sense?
     23               A.     That makes sense.
     24               Q.     Okay.    Thanks.
     25                      And if you don't understand the

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      2        question I'm asking you, please absolutely
      3        feel free to tell me that, and I will do my
      4        very best to rephrase it.            I don't want the
      5        questions to be tricky.           They're not
      6        intended to confuse you.           I would like to
      7        make sure that you understand them before
      8        you answer them.
      9                      Can we agree that if you don't,
     10        you'll ask me to rephrase?
     11               A.     Thanks.     I will.
     12               Q.     Is there any reason that you
     13        can't give truthful, honest testimony
     14        today?
     15               A.     No.
     16               Q.     Okay.    I'm going to ask you
     17        questions.      The attorneys that came with
     18        you today may object to questions that I
     19        ask.    Unless they instruct you not to
     20        answer, I would ask that you please answer
     21        the questions.
     22                      If they instruct you not to
     23        answer, we'll probably quibble about that,
     24        but you'll get to follow your counsel's
     25        advice on that; otherwise, we can take

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      2        breaks?
      3                      If you need a break at any time,
      4        I would ask that you just answer any
      5        pending question I have before we take a
      6        break.
      7                      So if you need to use the
      8        restroom or check your email or are hungry
      9        or any of that, feel free to just tell me
     10        and we can take a break when we get to an
     11        appropriate stopping point.
     12                      MS. LEVY:     Okay.     I would like to
     13               mark as Exhibit 1, the deposition
     14               notice that was issued in this case.
     15                      (Keller Exhibit 1, Track 1
     16               Defendants' Second Amended Notice of
     17               Oral Videotaped Deposition of Lacey R.
     18               Keller, marked for identification, as
     19               of this date.)
     20                      MS. LEVY:     Do you folks want
     21               copies, physical copies of the
     22               exhibits?      If you do, just raise your
     23               hand.    I'm going to pass them down
     24               through Catie.       And share them among
     25               yourselves.

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      2                      If there are any exhibits that
      3               folks would like me to put on the ELMO,
      4               please just say so.
      5        BY MS. LEVY:
      6               Q.     Ms. Keller, have you seen this
      7        deposition notice before?
      8               A.     No.
      9               Q.     This is the first time you've
     10        taken a look at it?
     11               A.     Yes.
     12               Q.     Okay.    If you don't mind, please
     13        turn to the back page that says Exhibit A.
     14                      Exhibit A is a request for three
     15        categories of documents.
     16                      Do you see that?
     17               A.     I do.
     18               Q.     Okay.    Let's start with No. 1,
     19        "All documents or other materials you
     20        reviewed since the date of your report that
     21        have not specifically been identified in
     22        your report in preparation for your
     23        expected testimony."
     24                      Do you see that?
     25               A.     I do.

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      2               Q.     Have you prepared a list of
      3        documents that would respond to No. 1?
      4               A.     I believe I have.
      5               Q.     Okay.    I'm going to mark what
      6        is -- I'm going to hand you what we're
      7        going to mark as Exhibit 2.
      8                      (Keller Exhibit 2, List of
      9               documents that respond to request 1 in
     10               Exhibit A on Exhibit 1, marked for
     11               identification, as of this date.)
     12        BY MS. LEVY:
     13               Q.     Do you see Exhibit 2?
     14               A.     I do.
     15               Q.     Take a look at that.         Is
     16        Exhibit 2 a list of documents that respond
     17        to request 1 in Exhibit A on Exhibit 1?
     18               A.     It's my intention that it does.
     19               Q.     Okay.    That's what I figured.
     20                      How did -- who prepared
     21        Exhibit 2?
     22               A.     Exhibit 2, I'm sorry, yes.           I
     23        did.
     24               Q.     And how did you prepare
     25        Exhibit 2?      What did you do to come up with

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      2        that list?
      3               A.     Specifically to make the list or
      4        for the items?
      5               Q.     To make the list.
      6               A.     To make the list?        To be honest,
      7        we wrote a Python script to go through all
      8        the documents that I used to rely on, and
      9        then I compiled the actual Excel
     10        spreadsheet or list that you guys received.
     11               Q.     You used data science to make a
     12        list.    I'm impressed.
     13                      And so am I correct that
     14        Exhibit 2 reflects all the materials that
     15        were not cited in your report but that you
     16        have reviewed and relied on to form your
     17        opinions since your report?            Is that
     18        correct?
     19               A.     Yes.    There may be some overlap.
     20        There might be some citations here that
     21        were in the original covered items, but I
     22        just didn't want to exclude anything, so to
     23        be thorough, I put them all here.
     24               Q.     Got it.
     25                      And other than the materials

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      2        cited in your report and the materials
      3        listed in Exhibit 2 as additional reliance
      4        materials, are there any other materials
      5        that you relied on in forming your opinions
      6        in this case?
      7               A.     No.
      8               Q.     If we look back at Exhibit 1,
      9        Item No. 2 in Exhibit A in Exhibit 1 asked
     10        for an "itemization of the hours spent, the
     11        compensation paid or to be paid for your
     12        work in this matter and your staff's work
     13        in this matter, including all invoices you
     14        have submitted to counsel."
     15                      Do you see that?
     16               A.     Yes, I do.
     17               Q.     Did you prepare and give to
     18        counsel a list of your invoices that
     19        reflect all of the work you've done in this
     20        case?
     21               A.     Yes, I have.
     22               Q.     Okay.
     23                      (Keller Exhibit 3, Gryphon
     24               Strategies Invoice dated 5/30/19,
     25               Bates-stamped OPIOIDMDL_KELLER_000036

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      2               through 35, marked for identification,
      3               as of this date.)
      4                      MS. LEVY:     Let's go off the
      5               record for just a minute.
      6                      THE VIDEOGRAPHER:        The time is
      7               9:18 a.m.      We are now off the record.
      8                      (Off the record.)
      9                      THE VIDEOGRAPHER:        The time is
     10               9:20 a.m. We are back on the record.
     11        BY MS. LEVY:
     12               Q.     Ms. Keller, take a look at
     13        Exhibit 3 that we've put in front of you.
     14               A.     I have it.
     15               Q.     What is Exhibit 3?
     16               A.     These are our invoices.
     17               Q.     And is Exhibit 3 a comprehensive
     18        list of all invoices that Gryphon
     19        Strategies has submitted in this case?
     20                      MS. CONROY:      Objection.
     21                      You can go ahead and answer.
     22                      THE WITNESS:      Okay.
     23               A.     To the best of my knowledge, yes.
     24               Q.     Okay.
     25               A.     And it's Gryphon.

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      2               Q.     Sorry.    Thank you.
      3               A.     Everyone says Gryphon so...
      4               Q.     The dragon makes it look like it
      5        should be a more dramatic name.              Gryphon.
      6        Okay.    Thank you for correcting me.
      7                      What is Gryphon Strategies?
      8               A.     Gryphon Strategies is a private
      9        investigation consulting firm.
     10               Q.     And you went to work at Gryphon
     11        Strategies in 2017?
     12               A.     Yes.
     13               Q.     From the New York Attorney
     14        General's Office?
     15               A.     Correct.
     16               Q.     You weren't the founder.           It
     17        existed before you got there, correct?
     18               A.     Correct.
     19               Q.     How many individuals, roughly,
     20        work at Gryphon Strategies?
     21               A.     When I started, it was probably
     22        around 50.      My guess is that number is much
     23        larger now.       Probably around 70.
     24               Q.     Does Gryphon have, like, multiple
     25        places of business or is it all located in

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      2        White Plains?
      3               A.     There are multiple offices.            So
      4        the headquarters is in White Plains.               We
      5        have a satellite office in the city here.
      6        And I believe they're in process of opening
      7        a few offices around the rest of the world.
      8               Q.     And where do you work?
      9               A.     I work in New York City.
     10               Q.     How many folks work with you in
     11        New York City?
     12               A.     Around seven to nine, depending
     13        on our intern flux.
     14               Q.     Okay.    And how many individuals
     15        have worked with you on this case?
     16               A.     Sorry, let me just do the math.
     17               Q.     Sure.
     18               A.     Around six.
     19               Q.     Got it.
     20                      Is there anybody above you or
     21        that you report to within Gryphon on this
     22        case or are you the boss?
     23               A.     I'm the boss of our division,
     24        yes.
     25               Q.     And the other individuals that

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      2        have worked on this matter are reporting to
      3        you or work for you; is that fair?
      4               A.     Correct.     They report directly to
      5        me.
      6               Q.     Gotcha.
      7                      Does Exhibit 3 and the work that
      8        is covered by the invoices in Exhibit 3
      9        cover all of the work that Gryphon
     10        Strategies has done on this matter?
     11               A.     For data mining and analytics.
     12        Correct.
     13               Q.     Is there other work besides data
     14        mining and analytics that Gryphon
     15        Strategies has done on this matter?
     16                      MS. CONROY:      Objection.
     17                      You can answer.
     18               A.     Yes.
     19               Q.     And what category of other work?
     20                      MS. CONROY:      Just before you
     21               answer, I don't want -- this is an area
     22               where there is some attorney work
     23               product.      If you inquire a little bit
     24               more, it has nothing to do -- Lacey is
     25               not involved in that.

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      2                      MS. LEVY:     Okay.
      3        BY MS. LEVY:
      4               Q.     For the questions that I ask you
      5        about this other work, I do not want you to
      6        answer any specifics of that.             We are very
      7        worried about attorney-client privilege, so
      8        we don't want, we don't want anything
      9        confidential that attorneys have said to
     10        you or you have said to attorneys or that
     11        you know of that attorneys have said to
     12        Gryphon or Gryphon has said to be revealed
     13        in my questions.
     14                      But, generally, is it true to say
     15        in addition to data mining and analytics,
     16        Gryphon Strategies has performed other
     17        services related to the opioid matter?
     18               A.     That is correct to say.
     19               Q.     And have you been involved in any
     20        work other than data mining and analytics
     21        for this matter?
     22               A.     No.   I have only done data mining
     23        and analytics for this matter.
     24               Q.     Have you participated in meetings
     25        related to the other work that Gryphon

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      2        Strategies is doing or has done for the
      3        opioid matter?
      4               A.     No.
      5               Q.     Has there been any overlap
      6        between your work and the other work that
      7        Gryphon Strategies is doing?
      8               A.     How would you define overlap?
      9               Q.     So is there a wall between you
     10        and your team that Gryphon has put in place
     11        and others at Gryphon who are doing
     12        different work?
     13               A.     No.   We share an office.          So like
     14        we're all in the same work space.              Even
     15        physically, there is not a wall.              But even
     16        metaphorically, no.
     17               Q.     I guess I should be more clear
     18        about that.
     19                      Has Gryphon Strategies put in
     20        place what lawyers would call a Chinese
     21        wall?
     22                      Are you familiar with the term
     23        "Chinese wall"?
     24               A.     Yeah, sort of.
     25               Q.     Has Gryphon Strategies put in

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      2        place a procedure by which your team is
      3        walled off from other teams at Gryphon
      4        doing work on the opioid litigation?
      5               A.     Not explicitly, no.
      6               Q.     Have you had communications, you
      7        personally, with others at Gryphon who are
      8        doing other types of work other than data
      9        mining and analytics about the opioid
     10        litigation or the work that's being done in
     11        the opioid litigation?
     12               A.     Yes.
     13               Q.     Who, just names of individuals,
     14        who specifically have you communicated with
     15        at Gryphon that's not on your team
     16        regarding your work in this case?
     17               A.     So in not great detail, my boss,
     18        Jay Dawdy.      He is the president of the
     19        firm.    Mostly just to update him on what
     20        we're doing with all of our time.              And Eric
     21        Nawrocki.      I can provide a spelling on that
     22        one if that's difficult.
     23               Q.     Who is Eric Nawrocki?
     24               A.     Eric Nawrocki is another managing
     25        director.

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      2               Q.     And what is your title at Gryphon
      3        Strategies?       You're a managing director as
      4        well, right?
      5               A.     Correct.
      6               Q.     How many managing directors are
      7        there?
      8               A.     I think there's around four or
      9        five.    I'd have to check the website to be
     10        certain.
     11               Q.     Have you done any work relating
     12        in any way to the opioid litigation or your
     13        retention in this case with individuals
     14        outside of the New York City office?
     15                      MS. CONROY:      You mean Gryphon?
     16                      MS. LEVY:     Yes.
     17               A.     So Jay Dawdy is primarily based
     18        in the White Plains office.            Eric is based
     19        primarily in the New York City office, if
     20        that helps answer the question.
     21               Q.     And how has the work that you
     22        have done on data and analytics overlapped
     23        with the work that -- with what you've
     24        communicated with others in the firm?                What
     25        is the overlap?

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      2               A.     There's very little.         Their work
      3        is primarily concerned with people and
      4        we're more with the numbers, to the extent
      5        that the people have numbers.             For example,
      6        like numbers of prescriptions in the IQVIA
      7        data, that would be one place where you
      8        could imagine some overlap.
      9               Q.     Have you shared data sets with
     10        other teams in Gryphon working on opioid
     11        matters?
     12               A.     Data sets?
     13               Q.     Yes.
     14               A.     No.
     15               Q.     Have you shared ARCOS data with
     16        other teams in Gryphon?
     17               A.     No.
     18               Q.     Have you shared chargeback data
     19        with other teams in Gryphon?
     20               A.     No.
     21               Q.     Have you shared any of the data
     22        provided to you by the attorneys in this
     23        case with others at Gryphon?
     24               A.     Not in its raw form, no.
     25               Q.     Have you shared in any form?

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      2               A.     I have provided some aggregated
      3        statistics.
      4               Q.     What aggregated statistics have
      5        you provided to others in your firm?
      6               A.     One -- an example would be like
      7        the prescriptions of a physician over time.
      8        Just like in the report, we talk about
      9        Adolf Harper, so the number of
     10        prescriptions that Adolf Harper wrote over
     11        time.
     12               Q.     I think I understand.
     13                      So aggregated statistics relating
     14        to individuals, is that the category of
     15        data that you shared?
     16               A.     Yes, individuals --
     17               Q.     Individual prescribers?
     18               A.     Yeah.    Maybe a pharmacy.
     19               Q.     Is there any other category of
     20        data that you can think of that you shared
     21        with others that are not on your data and
     22        analytics team?
     23               A.     Not at this time, no.
     24               Q.     Okay.
     25                      MS. LEVY:     I think we're up to

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      2               Exhibit 4.
      3                      (Keller Exhibit 4, Resume of
      4               Lacey R. Keller, not Bates-stamped,
      5               marked for identification, as of this
      6               date.)
      7        BY MS. LEVY:
      8               Q.     What is Exhibit 4?
      9               A.     That's a question for me?           Sorry.
     10               Q.     Yes.
     11               A.     Okay.
     12               Q.     It should be an easy one.
     13               A.     Boy, I hope so.        That's my CV or
     14        my resumé.
     15               Q.     Okay.    And going back to
     16        Exhibit 1, Exhibit 1, the last page of
     17        Exhibit 1 on Exhibit A, No. 3 asked for a
     18        "copy of the most current and accurate
     19        curriculum vitae, CV, as of the date of
     20        your deposition."
     21                      Is the document that we've
     22        labeled Exhibit 4 a copy of your most
     23        recent CV?
     24               A.     Yes.
     25               Q.     And when was this created?

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      2               A.     Just before we filed the report.
      3               Q.     And you haven't added anything to
      4        your resumé since then?
      5               A.     No.
      6               Q.     Taking a look at Exhibit 4, and
      7        starting at the top left, you are currently
      8        a managing director at Gryphon where you've
      9        worked from November 2017 to the present,
     10        about a year-and-a-half, correct?
     11               A.     That is correct.
     12               Q.     Did you start at Gryphon as a
     13        managing director or did you start with a
     14        different title?
     15               A.     I started as a managing director.
     16               Q.     How did you get the job at
     17        Gryphon?      Who hired you?       How did that come
     18        about?
     19               A.     Yeah, so at the time, I was
     20        working at the Attorney General's Office
     21        and Jay Dawdy had approached me about
     22        coming to the firm to start their data
     23        mining and analytics practice.             He thought
     24        the work that we were doing at the AG's
     25        office was super innovative and wanted to

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      2        see if I'd be interested in doing that with
      3        him.
      4               Q.     Did you know Jay Dawdy before
      5        that?
      6               A.     No, I didn't.
      7               Q.     How do you spell Dawdy?
      8               A.     D-a-w-d-y.
      9               Q.     Dawdy.    I'm from the south.          We
     10        say "Dowdy."
     11               A.     Yes.
     12               Q.     And so how did he know about you?
     13               A.     Boy, I have to remember.           I
     14        believe we had an intern in common.               And so
     15        I had an intern and then that intern went
     16        to be his intern or staff.            And the intern
     17        had said, boy, there's this lady, you need
     18        to speak with her.         And so I think that's
     19        how we got to know each other.
     20               Q.     Have your job response -- what,
     21        in general, are your job responsibilities
     22        as a managing director at Gryphon?
     23               A.     So generally that means running
     24        the data team and building out that
     25        practice.

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      2               Q.     Do you have clients right now
      3        other than clients related to this
      4        litigation?       Not tell me what they are,
      5        just a "yes" or "no" question.
      6               A.     Yes.
      7               Q.     What percentage of your work is
      8        related to this litigation as opposed to
      9        other clients not related to this
     10        litigation?
     11               A.     I don't have an exact number, but
     12        the vast majority is this litigation.
     13               Q.     Would you say like 75, 80
     14        percentish?       I know you're estimating.
     15               A.     Yeah, the data part of me doesn't
     16        want to do that, but, yeah --
     17               Q.     Okay.
     18               A.     -- or more.
     19               Q.     And not naming other clients,
     20        particularly if they're confidential, but
     21        other than this litigation, what types of
     22        other clients and work are you doing in
     23        addition to this?
     24               A.     So we have governmental clients.
     25               Q.     And your governmental clients, is

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      2        that related to pharmaceuticals or other
      3        issues?
      4               A.     Completely separate issues.
      5               Q.     Okay.    Do you have any other
      6        clients that relate in any way to
      7        pharmaceuticals or opioids?
      8               A.     No.
      9               Q.     Okay.    Now turning to your work
     10        at the New York Attorney General's Office,
     11        how did you get that job?
     12               A.     So I was at the union at the time
     13        and was looking for the next step.               A
     14        friend of mine had said that they were
     15        looking for a researcher at the AG's
     16        office, and I thought that would be at
     17        first a pretty boring job and that I would
     18        just be reading documents all day in a
     19        taupe office.       But after meeting with them,
     20        I realized it would be a pretty exciting
     21        job because they wanted to build out a data
     22        mining practice there and make leads out of
     23        big data.
     24               Q.     I'm smiling because I actually
     25        did some research on you and I watched your

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      2        YouTube video on this, and I've seen how
      3        excitedly you describe particularly how you
      4        thought it was going to be boring.
      5                      Is the work that you did -- you
      6        were at the New York Attorney's General
      7        Office from October 2013 through
      8        November 2017, just over four years,
      9        correct?
     10               A.     That is correct.
     11               Q.     Is the work that you did or the
     12        categories or types of matters you worked
     13        on all summarized on Exhibit 4 in the
     14        section under New York State Attorney
     15        General's Office?
     16               A.     I am sure there's much more that
     17        I worked on or supervised.
     18               Q.     Okay.    Fair enough.
     19                      From your, from the YouTube
     20        video -- you know what YouTube video I'm
     21        referring to?       It was a Washburn alumni
     22        thing?
     23               A.     Yeah.
     24               Q.     From the YouTube video, I -- you
     25        made some comment about why you thought it

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      2        wasn't boring, which is you realized that
      3        you could take data and learn how to chase
      4        leads.
      5                      Do you remember saying that?
      6               A.     Yes.
      7               Q.     Is that a good description of
      8        what you were doing at the U.S. Attorney
      9        General's Office?
     10               A.     It's New York Attorney General's
     11        Office and -- for the record.
     12                      Yeah.
     13               Q.     I'm sorry.      I thought -- I didn't
     14        mean to say U.S. Attorney General, I meant
     15        to say New York.
     16                      So on your CV, you list several
     17        areas in which you used data and data
     18        mining techniques in order to generate
     19        leads on cases.        And one is in the gun and
     20        firearms space.
     21                      And a second one is using data
     22        analytics to figure out leads on, I guess,
     23        vendors with respect to Internet speed?
     24               A.     Oh, yes.
     25               Q.     I also see here, I'm combining

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      2        your CV and your report, but experience
      3        that you have with using data to generate
      4        leads in the Airbnb rental space.
      5                      Is that also part of your work?
      6               A.     Those all three are part of my
      7        work, yes.
      8               Q.     And you also used data analytics
      9        to do modeling of landlord complaints?
     10        Specifically, generate leads with, like,
     11        landlords who are out of compliance with
     12        tax laws?
     13               A.     Oh, yes, that would be the
     14        421(a).
     15               Q.     I see that you, in your
     16        experience, have used data to generate
     17        leads on fake trades in foreign currency?
     18               A.     Yes, I supervised that work, but,
     19        yes.
     20               Q.     In your, in the combination of
     21        your report and other information I could
     22        find about you and your CV, I see one area
     23        where you have, where your work in data
     24        analytics has overlapped with the
     25        pharmaceutical industry, and that is when

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      2        you were modeling data that could help with
      3        the deployment of Naloxone?
      4               A.     Sure.
      5               Q.     Am I correct about that?
      6               A.     Yes, you're correct about that.
      7               Q.     So up until your work on this
      8        case, have you done any other work with
      9        data and analytics related to the
     10        pharmaceutical industry?
     11               A.     Yes.
     12               Q.     What was that?
     13               A.     At a high level, it would have
     14        been pulling publicly available data on
     15        opioids, hospitalizations, opioid
     16        prescribing, so that would be like the
     17        public ARCOS reports.          And, I'm sorry,
     18        those aren't prescribed, those are
     19        shipments.      So the public ARCOS reports and
     20        New York State hospitalization data, is one
     21        example.
     22               Q.     Okay.    So I want to make sure my
     23        record is clear.
     24                      Prior to your work on this case
     25        that you're doing through Gryphon, you had

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      2        prior experience with a project at the New
      3        York Attorney General's Office that related
      4        to, I'm going to say, Naloxone deployment.
      5                      Is that a fair way to categorize
      6        it?
      7               A.     So the Naloxone deployment, yes,
      8        that was the Community Overdose and
      9        Prevention program is what we called it,
     10        the COP program.        And so that was the
     11        deployment of Naloxone around the state and
     12        to police officers.         So we equipped every
     13        police officer with the life-saving Narcan.
     14        And so I managed that program.
     15               Q.     And the way you did that,
     16        describe what data you looked at generally.
     17        We don't need to educate ourselves fully
     18        about the project, but, generally, what was
     19        the data, what did you look at, and what
     20        was your methodology for working on the COP
     21        project?
     22               A.     So, I remember it was the fall
     23        that Philip Seymour Hoffman died that that
     24        was when the office took an interest in
     25        opioids generally.         And so I was tasked

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      2        with finding something that was of
      3        importance to do in the area.
      4                      And so I wouldn't say that it was
      5        really data driven.         I didn't deploy based
      6        off of, you know, this is where the most
      7        overdoses were occurring, because at that
      8        time, that data set really didn't exist in
      9        a robust fashion.
     10                      So it was just a "raise your
     11        hand" program, if you will.            So if a police
     12        department came to us and said, look, we
     13        could use some money to buy this Narcan,
     14        then we would give them that, that funds.
     15               Q.     And so you analyzed a segment of
     16        ARCOS data in your in your work in figuring
     17        out how to best deploy Naloxone.
     18                      Is that true or false?
     19               A.     That's not -- that would be
     20        false.
     21               Q.     Okay.    Did you not -- you did not
     22        use ARCOS data?
     23               A.     No.
     24               Q.     Okay.
     25               A.     Not for the -- I used ARCOS data

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      2        for other things, but not for that, no.
      3               Q.     Okay.    What in the past have you
      4        used ARCOS data for?
      5               A.     So I've only used the public
      6        ARCOS data in the past, and that was mostly
      7        to get a general sense of where the
      8        shipments were going into New York.
      9               Q.     And was that in conjunction with
     10        the Naloxone project or was that for
     11        something else?
     12               A.     I can't be -- I can't really
     13        recall the timing, but it was either around
     14        that time or shortly -- or probably
     15        subsequent.       I'm trying to think of where I
     16        was, but, yeah.
     17               Q.     And what did you do with the
     18        results of your analysis?            What was the
     19        results and what did you do with it?
     20               A.     I wrote a pretty high level memo
     21        about, like, the state of opioids in New
     22        York as much as I could from public data.
     23               Q.     And what did you -- what did it
     24        say?
     25               A.     I mean, I wrote it years ago, so

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      2        I can't remember exactly.            But at a high
      3        level, it would have the number of
      4        shipments into the state.            I think we were
      5        able to get it by ZIP three.             I think we
      6        ended up mapping it to counties because
      7        people have counties here, not ZIP codes.
      8                      The number of deaths over time,
      9        the number of hospitalizations over time,
     10        specifically opioid-related deaths and
     11        opioid-related hospitalizations.
     12                      My guess is it would have also
     13        included some open payments data as well
     14        from Center for Medicaid Studies.              And it
     15        would have just summarized all of those at
     16        a fairly high level.
     17               Q.     And do you know what it would
     18        used for?      Who it was submitted to?
     19               A.     I'm not sure exactly who it was
     20        submitted to.
     21               Q.     Or what happened with it?
     22               A.     I don't know exactly what
     23        happened with it.         It's hard to tell.
     24               Q.     And what year were you conducting
     25        this analysis and drafting this memo?

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      2               A.     I'm sorry, I have to think a
      3        little bit.       I want to say around
      4        2015-2016.
      5                      Things get picked up and put down
      6        quite a bit in government, especially as
      7        more pressing matters come to light so...
      8               Q.     On your -- so other than the work
      9        you've just described in analyzing -- what
     10        do you call that project that you just
     11        talked about?        It's different from the
     12        Naloxone COP project.          What do you call
     13        that segment of work?
     14               A.     So that segment of work is a
     15        pretty typical request of my team at the
     16        AG's offices.        Like, we were the -- we were
     17        a data-driven research team, but
     18        fundamentally we are a research team.                So
     19        give us the facts about whatever.              So, you
     20        know, you could call it briefings or
     21        whatnot, but they were, you know, fact,
     22        factual-driven documents so...
     23               Q.     Opioid research?
     24               A.     Yes.    It was one example, but
     25        I've written them on, you know, payroll

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      2        cards and other unrelated things as well.
      3        That's pretty much what we did at that
      4        office, in addition to data support.
      5               Q.     So if I want to hone in on your
      6        opioid and pharmaceutical experience, I --
      7        you've told me about the Naloxone
      8        deployment COP project.           You've told me
      9        about opioid research and data that you did
     10        with the New York Attorney General's
     11        Office.
     12                      Aside from those two things, do
     13        you have any other experience looking at
     14        pharmaceutical data prior to this case?
     15               A.     Not prior to this case, that I
     16        recall.
     17               Q.     Since you have begun your work on
     18        this case, do you have any additional work
     19        in the pharmaceutical space?             Without
     20        revealing any confidences.
     21               A.     Not that I am currently
     22        contracted for or being paid to do work on.
     23               Q.     Like potential leads or potential
     24        clients you're thinking about, but nothing
     25        that you've actually done yet; is that

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      2        correct?
      3               A.     Correct, nothing that I've
      4        submitted an invoice to or could bill hours
      5        to.
      6               Q.     Is the education in the top
      7        right-hand corner that is reflected in
      8        Exhibit 4, does this continue to be
      9        accurate today?
     10               A.     Yes.
     11               Q.     Do you have a Master's of Arts
     12        from the New School in 2010; is that
     13        correct?
     14               A.     That is correct.
     15               Q.     Bachelor of Business
     16        Administration in Economics from Washburn
     17        University, 2008?
     18               A.     That is correct.
     19               Q.     And a certificate in data
     20        science, it says General Assembly, 2015.
     21                      What does that mean?
     22               A.     General Assembly, I'm not sure if
     23        it's still around, was like an evening boot
     24        camp for-profit -- I think it's a
     25        for-profit institution to learn data

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      2        science.
      3                      So I took a semester-long evening
      4        class while I was at the AG's office to
      5        kind of brush up on my skills because I
      6        wanted to know a little bit more about the
      7        field and where we were headed.
      8               Q.     When you describe your profession
      9        to people at the dinner table, are you a
     10        data scientist?
     11               A.     So that term gets thrown around a
     12        lot.    I would say -- pure data scientist,
     13        would say no.       I use that title because
     14        it's a known quantity.          I would not call
     15        myself a data scientist.           I'm a manager of
     16        data scientists, is a much better
     17        reflection of my --
     18               Q.     Okay.    And what is the difference
     19        between those two things in your mind?
     20        I've never heard the distinction.              I'm
     21        asking very genuinely.
     22               A.     So a data scientist, in my
     23        opinion, are going to be fluent in several
     24        different languages.          And not like French
     25        or Arabic like as you and I would think of

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      2        them, but more like SQL, Python, whatever
      3        programming languages you fancy, and be
      4        able to work in multiple platforms easily.
      5                      I have those skills as well, but
      6        I don't use them every single day like they
      7        do.    And so I'm much more in the managing
      8        and prioritizing of the workflow,
      9        fact-checking, confirming that the process
     10        is right, the assumptions are correct.
     11               Q.     Got it.
     12                      And so if I ask you, what is your
     13        expertise, how do you describe it to me?                 I
     14        am an expert in?
     15               A.     I'm an expert in seeing the big
     16        picture, the data sources that are
     17        available to me, combining them, whether
     18        they be public, private, confidential, and
     19        using them for results.
     20               Q.     I think I know the answer to
     21        these, but I have to ask them anyway.
     22                      You don't have a law degree,
     23        correct?
     24               A.     That is correct.
     25               Q.     And you are not an expert in the

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      2        law, right?
      3               A.     I am not an expert in the law.
      4               Q.     And you don't intend to offer any
      5        legal opinions in this case?
      6               A.     I do not.
      7               Q.     You have not ever worked in drug
      8        enforcement, have you?
      9               A.     No, I have never worked in drug
     10        enforcement.
     11               Q.     You are not an expert on the
     12        Controlled Substances Act, are you?
     13               A.     That is correct, I am not an
     14        expert in the Controlled Substance Act.
     15               Q.     You have not ever worked with the
     16        DEA, have you?
     17               A.     I have not.      I have not worked
     18        with the DEA.
     19               Q.     And you are not an expert in DEA
     20        requirements and regulations, correct?
     21               A.     That is correct.
     22               Q.     You are not an expert or don't
     23        intend to offer yourself as an expert in
     24        what the DEA regulations actually mean,
     25        correct?

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      2               A.     That is correct.
      3               Q.     You do not intend to offer
      4        yourself as an expert in what DEA
      5        registrants should or are supposed to do in
      6        accordance with those guidance and
      7        regulations, correct?
      8               A.     That is correct.
      9               Q.     And from a big picture level, if
     10        I understand your report correctly, what
     11        you have done is offer -- is do analyses
     12        offering 16 different metrics and
     13        illustrate what the results of those
     14        metrics would show at a high level.
     15                      Do you agree with me that that's
     16        what your report does?
     17               A.     Yes.    I didn't actually count how
     18        many metrics, so I'm taking your word that
     19        there are 16.
     20               Q.     I will represent to you that I
     21        count 16.      But what I'm trying to parse
     22        out, I don't mean to be mysterious, is I
     23        want to make sure that I understand the
     24        expertise you do intend to offer and the
     25        expertise you don't intend to offer.

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      2                      So as I understand your opinions,
      3        they are opinions from a data science point
      4        of view that say if you ran these metrics,
      5        here's what the results would look like.
      6                      Is that a fair assessment at a
      7        very, very high level?
      8                      MS. CONROY:      Objection.
      9                      You can answer.
     10               A.     I would say that's a fair
     11        assessment.       I was asked to apply the
     12        compliance metrics to the labeler's data,
     13        including chargebacks and IMS, IQ, yeah.
     14               Q.     And you don't intend to offer any
     15        opinions about which one of those metrics
     16        is the right one, do you?
     17               A.     That is correct.        I don't endorse
     18        any of the metrics or not endorse.
     19        Agnostic would be the correct term, yeah.
     20               Q.     Okay.    And you're not going to
     21        offer any opinions that a particular
     22        registrant should have or is required to
     23        employ which ones of the metrics?              That is
     24        not what you were retained to do, correct?
     25               A.     That is correct.

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      2               Q.     And that is beyond your expertise
      3        to do.
      4                      Do you agree with that?
      5               A.     That is correct.
      6               Q.     And I think, if I'm reading your
      7        report correctly, you don't take any
      8        opinion as to what the DEA or the
      9        Controlled Substances Act means when it
     10        talks about suspicious orders.
     11                      You are not taking a position as
     12        to what specifically the DEA means, right?
     13               A.     Yes, I believe that's right.
     14               Q.     And I think it can make our day
     15        easier if I understand the scope of this.
     16                      What you have done is you've used
     17        a number of different metrics to show that
     18        if a particular defendant had looked at the
     19        data this way, this is what that defendant
     20        would have seen.
     21                      Is that fair?
     22               A.     Yes.
     23               Q.     And when you use the term
     24        "suspicious," which you do quite a number
     25        of times in your report, what you mean by

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      2        that is the result of your own metrics,
      3        right?
      4               A.     Yes, you can characterize it that
      5        way.
      6               Q.     You don't mean to use
      7        "suspicious" as a technical term meaning
      8        suspicious under the Controlled Substances
      9        Act, right?
     10                      MR. LEDLIE:      Object to the form.
     11                      You can answer.
     12               A.     Yes, when I say "suspicious," I
     13        mean that they have either triggered one of
     14        the metrics, which are -- I'll leave it at
     15        that.
     16               Q.     Okay.    And you haven't, you
     17        haven't gone -- have you ever met with
     18        anyone from DEA about this case and your
     19        report?
     20               A.     I have not met with anyone about
     21        this case or my report from the DEA.
     22               Q.     Okay.    Why do you hesitate?
     23               A.     I have spoken to DEA officials
     24        about the ARCOS data and how to process it,
     25        but clarifying questions of what does an S

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      2        mean and what does this correction number
      3        mean like...
      4               Q.     Okay.    When you have spoken to
      5        the DEA, it has been entirely in the
      6        context of the data itself, correct?
      7               A.     Absolutely.
      8               Q.     You've never asked anyone from
      9        DEA, "Do these various metrics make sense
     10        to you"?      You've never asked that question?
     11               A.     Never.
     12               Q.     And you've never asked anybody
     13        from DEA, "Are these metrics in line with
     14        what DEA expects or requires"?             That's
     15        nothing you've ever asked the DEA, correct?
     16               A.     That is correct.
     17               Q.     And that wasn't -- the point of
     18        your report is not to say what the DEA
     19        requires, but rather to say what the data
     20        had available for people to look at.
     21                      Is that a proper simplification?
     22                      MS. CONROY:      Objection.
     23                      You can answer.
     24               A.     I would say, yes, it was what
     25        data was available to apply the -- what

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      2        data was available to apply the compliance
      3        metrics and what those metrics would have
      4        revealed.
      5               Q.     And, again, I think you've
      6        answered this, but I want to be sure.
      7                      You do not offer the opinion that
      8        any defendant had an obligation to apply
      9        any of the particular compliance metrics,
     10        right?
     11               A.     That is correct.
     12               Q.     And it is also beyond your
     13        expertise to opine on what would have
     14        happened in the real world if someone had
     15        applied the metrics?          That is beyond what
     16        you are an expert in, correct?
     17                      MS. CONROY:      Objection.
     18                      You can answer.
     19               A.     Yes.    There is a section in the
     20        report, the small labeler impact section,
     21        that, depending on how this question is
     22        worded, might come in conflict with that,
     23        but that's not the intention.
     24               Q.     We'll get to that.
     25                      But just generally, in the small

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      2        labeler impact, in your own words, you
      3        phrase it as a hypothetical, right?
      4               A.     Correct.
      5               Q.     You aren't suggesting -- the
      6        defendant that's subject to the small
      7        labeler impact is Janssen, correct?
      8               A.     Yes, I believe so.
      9               Q.     And what you do in that section
     10        is you model, hypothetically, if Janssen
     11        had looked at the data this way, then
     12        hypothetically, orders could have been
     13        stopped, right?
     14               A.     That is correct.
     15               Q.     But you do not go further in this
     16        report to opine that Janssen had an
     17        obligation to do that or should have done
     18        that or that the DEA expected Janssen to do
     19        that.
     20                      That's beyond your expertise,
     21        right?
     22               A.     That is beyond, yes.
     23               Q.     Okay.    And, also, you don't know
     24        or you don't have the expertise to know --
     25        you don't consider yourself an expert in

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      2        DEA reporting requirements, do you?
      3               A.     No.
      4               Q.     And you don't know what triggers
      5        a reporting requirement for a manufacturer?
      6               A.     No.
      7               Q.     You don't know what triggers a
      8        reporting requirement for a distributor, do
      9        you?
     10               A.     No.
     11               Q.     And you don't know what triggers
     12        reporting requirements for pharmacies?
     13               A.     No.
     14               Q.     It is beyond the scope of your
     15        expertise to opine on what triggers a
     16        reporting responsibility specifically?
     17        That's beyond what you have been asked to
     18        do here, correct?
     19               A.     Correct.
     20               Q.     And also just to make sure we
     21        narrow in on what your opinions are, you
     22        are not an expert in what DEA does with
     23        suspicious reports?         That is beyond your
     24        expertise as well, right?
     25               A.     That is correct.

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      2               Q.     And I think there are places in
      3        your report where you talk about orders
      4        that could have been stopped.             And I just
      5        want to make sure that I understand the
      6        parameters of what you intend to say about
      7        that.
      8                      When you talk about orders that
      9        could have been stopped, you mean from a
     10        data perspective hypothetically, correct?
     11               A.     Yes.    I mean that the compliance
     12        metrics showed that order or that triggered
     13        that order and so, yes, it could have been
     14        stopped.
     15               Q.     So someone, somewhere could have
     16        stopped those orders?
     17               A.     Yes, they could have seen it or
     18        stopped it.
     19               Q.     But beyond what the data shows,
     20        do you have any opinions whatsoever on how
     21        that would work in the real world?
     22                      MS. CONROY:      Objection.
     23                      You can answer.
     24               A.     No, I have no opinions on the
     25        real world.

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      2               Q.     So going back to what we were
      3        talking about, Section 9, in the small
      4        manufacturer impact -- I think I've gotten
      5        it wrong.      It's called...
      6                      (Document review.)
      7               Q.     Small labeler impact.
      8                      You use the term "labeler" and
      9        "manufacturer" interchangeably, correct?
     10               A.     I do.
     11               Q.     Actually, you just use the term
     12        "labeler"?
     13               A.     I think I use the term "labeler."
     14        I think at the beginning of the report, in
     15        the event that we do say "manufacturer," I
     16        always mean labeler because I...
     17               Q.     Why do you do that, just out of
     18        curiosity?      Most of the time I hear people
     19        talk about manufacturers.            Why do you make
     20        that distinction?
     21               A.     So as I understand it from when
     22        we process the data from the FDA, they call
     23        it the labeler.        So when they say that the
     24        NDC was labeled by that entity, that was
     25        the -- I understand that to be like the

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      2        last person that put that, if you will, a
      3        box together.
      4                      So I don't know how often that
      5        box was created by somebody else and
      6        labeled by someone else.           They might always
      7        be the same.       But to be most correct, I
      8        wanted to use the DEA's and the FDA's
      9        terminology.       I'm not sure which one, where
     10        that term came from, but I saw that as part
     11        of the data set.
     12               Q.     And so going back to the small
     13        labeler impact, when you talk about orders
     14        that could have been stopped, you did not
     15        analyze how that would have happened, who
     16        would have stopped the orders, who had a
     17        duty to stop the orders, what would have
     18        had to happen to stop the orders?              You
     19        didn't do any of that work, did you?
     20               A.     Correct.
     21               Q.     And you certainly don't intend to
     22        opine that Janssen, in particular, should
     23        have stopped those transactions.              That is
     24        beyond what you're saying.            You're simply
     25        saying it could have happened, correct?

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      2               A.     That is correct.
      3               Q.     And really, as you sit here, you
      4        don't even know how Janssen or any other
      5        registrant would actually stop those orders
      6        in practice in the real world?             That is not
      7        something that you have ever studied or
      8        know if it would even be possible, right?
      9               A.     That's correct.
     10               Q.     Okay.    So let's go to the
     11        summary.      Let me mark your report as
     12        Exhibit 5.
     13                      (Keller Exhibit 5, Expert
     14               Analysis of Lacey R. Keller, not
     15               Bates-stamped, marked for
     16               identification, as of this date.)
     17        BY MS. LEVY:
     18               Q.     Do you recognize what we've
     19        handed you as Exhibit 5?
     20               A.     I do.
     21               Q.     What is that?
     22               A.     That is my report.
     23               Q.     How did this document spring
     24        forth into the world?          What -- who typed
     25        it?    Whose computer was it on?           How did it

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      2        get created?
      3               A.     So it was a collective effort by
      4        my team.      So we have folks working on some
      5        of the coding, some of the data loading,
      6        some of the writing.          It sits on my
      7        computer, their computers.            But all of it
      8        is in my team.
      9               Q.     And you said there were roughly
     10        six people working under you on your team
     11        to create Exhibit 5?
     12               A.     Yes.
     13               Q.     Nobody working above you to
     14        create Exhibit 5?
     15               A.     Correct.
     16               Q.     And you communicated with the
     17        lawyers in this case to prepare Exhibit 5,
     18        correct?
     19               A.     Correct.
     20               Q.     And what lawyers specifically did
     21        you communicate with in your work in this
     22        case?
     23               A.     I'd have to think, but primarily
     24        Linda Singer.
     25               Q.     Can you think of any other

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      2        attorneys that you worked with other than
      3        Linda Singer?
      4               A.     Jayne Conroy.
      5               Q.     Anybody else?       Any man attorneys
      6        or just -- did you have an all-women team?
      7               A.     We're a strong team.
      8                      Not that I can think of at this
      9        time.
     10               Q.     And who typed the report?
     11               A.     The report was primarily typed by
     12        one of my staffers and then myself as well.
     13               Q.     Just very generally, like what
     14        was the process in writing it?             Who did
     15        what in the process?
     16               A.     Sure.
     17                      So there's a pipeline.          So we --
     18        you know, someone is usually in charge of
     19        loading the data, so bringing it in.
     20        Another person is in charge of the metrics
     21        and applying them.         Another person is in
     22        charge of pulling charts, tables and
     23        graphs.     And another person is in charge of
     24        making everything look pretty, write the
     25        words.      And then it goes and flows up to

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      2        me.
      3                      And then to the extent that I
      4        interject myself, either willingly or
      5        unwillingly from my staff, along each
      6        different places is how that usually looks.
      7               Q.     And then did you ever -- strike
      8        that.
      9                      For the 16 different analyses or
     10        the 16 different metrics, those metrics,
     11        you were asked to run by the attorneys in
     12        the case?      They were not metrics that you
     13        yourself thought of, correct?
     14               A.     I would say that is correct.            We
     15        didn't create a metric to the extent that
     16        multiple distributor was kind of like --
     17        there was no, "here's how to apply a
     18        multiple distributor metric."             You are just
     19        looking for whether or not they exist or
     20        not.    Everything else was either created by
     21        another entity or found by us, if that
     22        makes sense.
     23               Q.     So I guess that's what I'm trying
     24        to figure out.
     25                      If we look at the index of your

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      2        report, so Exhibit 5, page 2 is the index.
      3        And particularly in J, Compliance Metric
      4        Application.
      5                      Do you see -- are you with me?
      6               A.     I'm with you.
      7               Q.     The twice trailing 12-month
      8        average, which you referred to as the
      9        double national average metric, that's a
     10        metric that the lawyers in the case asked
     11        you to run, correct?          You didn't develop
     12        that?    You didn't think of that yourself,
     13        right?
     14               A.     I would say that's a fair
     15        representation.
     16               Q.     Same is true for the triple
     17        national average right below, right?               The
     18        lawyers asked you to do that analysis; you
     19        didn't generate that?
     20               A.     I would say that's a fair --
     21               Q.     Same with the McKesson 8,000 rule
     22        metric, the lawyers in the case asked you
     23        to run that metric; that's not something
     24        you thought of on your own, right?
     25               A.     Correct.

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      2               Q.     The same with the trailing
      3        six-month threshold, which you referred to
      4        as "common sense," that's something that
      5        the lawyers asked you to run.
      6                      You didn't come up with that
      7        yourself, right?
      8               A.     Correct.
      9               Q.     You who came up with the term
     10        "common sense"?
     11               A.     I've always heard of that metric
     12        being called that.
     13               Q.     That's not your term?          Somebody
     14        else told that to you?
     15               A.     That's correct.
     16               Q.     And you certainly don't use that
     17        term to mean that it's your opinion that
     18        this is the common sense answer.
     19                      That is not how you use that
     20        term, correct?
     21               A.     Correct.     It's any one of these
     22        that has quotes in it is -- well, really,
     23        that is the only one that does after the
     24        correction sheet, so, yes.
     25               Q.     And is it your opinion that J4,

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      2        the maximum monthly trailing six-month
      3        threshold, is the most common sense in the
      4        ordinary use of that term?            That is not
      5        your opinion, is it?
      6               A.     That is not my opinion.
      7               Q.     Okay.    And then No. 5, the
      8        Qualitest, Endo, 25/50 percent national
      9        average, the lawyers in the case asked you
     10        to run that.
     11                      That was not a metric you came up
     12        with, right?
     13               A.     Correct, with a clarification.
     14                      So on some of the labeler
     15        metrics, some of them were found by
     16        attorneys and some we found on our own by
     17        reading documents.
     18               Q.     So that's exactly what I want to
     19        find out.
     20                      Which ones did you find all on
     21        your own that lawyers didn't ask you to do?
     22               A.     I don't know specifically.           I
     23        actually didn't keep track.            It was kind of
     24        a --
     25               Q.     All of the documents that you

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      2        were provided in this case were provided to
      3        you by the lawyers in the case, right?
      4               A.     No.    We had access to anything
      5        that we had asked for, and I also could
      6        search for documents.
      7               Q.     So what documents -- did you get
      8        any documents that did not come to you
      9        through the lawyers in the case?
     10               A.     Yes.
     11                      MS. CONROY:      Objection.
     12        BY MS. LEVY:
     13               Q.     And what types of documents were
     14        those?
     15               A.     There were a few compliance
     16        documents --
     17               Q.     Let me -- I think we might be
     18        talking -- I might be asking the question
     19        in a confusing way.
     20                      Internal company documents that
     21        you reviewed, those you were given access
     22        to by the lawyers in the case, right?
     23               A.     That is correct.        True.    Let's
     24        say relativity.
     25               Q.     Okay.    And how did that process

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      2        work?    Did you say, I'd like to see
      3        documents of X category, provide them to
      4        me?    Or did you search the whole relativity
      5        database and found them on your own?               Just
      6        generally, how did that process go?
      7               A.     A little bit of both.          So to the
      8        extent that lawyers had already identified
      9        documents of categories, so we said give me
     10        compliance documents, those would be
     11        already provided to us.
     12                      To the extent we felt like we
     13        wanted to find more, we'd go looking.
     14               Q.     Going back to the index of
     15        Exhibit 5, No. J5, this Qualitest, Endo
     16        metric, that was a metric that the
     17        attorneys asked you to run, correct?
     18               A.     Correct, or that we found.
     19               Q.     You don't know which?
     20               A.     I don't.     I'm sorry, I don't know
     21        which.
     22               Q.     And what about No. 6, J6, the
     23        Qualitest, Endo 30,000 rule, that's a
     24        metric that the attorneys asked you to run?
     25        That was their idea, correct?

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      2               A.     Or that we found.
      3               Q.     You just don't know?
      4               A.     I just don't know.         I didn't keep
      5        track.
      6               Q.     Same with 7, 8, 9, 10, 11, 12,
      7        whose idea was it to run those metrics?
      8        Are these things that you thought of out of
      9        the blue or metrics that the attorneys
     10        asked you to run?
     11                      MS. CONROY:      Objection.
     12               A.     They're metrics that either the
     13        attorneys asked us to run or that we found
     14        in the compliance documents.
     15               Q.     And you don't know which?
     16               A.     I don't know.       I mean, I do
     17        remember Mallinckrodt was known at the
     18        beginning, but I don't remember at what
     19        point these we found and others were given.
     20               Q.     And then for part 1, the
     21        manufacturer prescriber analysis, was the
     22        methodology to look at IQVIA data and come
     23        up with this analysis, was that your idea
     24        or was that something that the lawyers
     25        asked you to do?

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      2               A.     That was what lawyers had asked
      3        me to do.      They had asked me to apply the
      4        known compliance metrics to labelers' data
      5        which would have included chargebacks and
      6        IQVIA.
      7               Q.     And then for part 2, the
      8        manufacturer to pharmacy analysis, that
      9        also was something that the lawyers asked
     10        you to do; they asked you to apply these
     11        various metrics to chargeback data,
     12        correct?
     13               A.     To chargeback data, correct, or
     14        867 data.
     15               Q.     What is 867 data?
     16               A.     So I want to make sure I get the
     17        definition right because -- so let me flip
     18        to my report.
     19                      (Document review.)
     20               A.     Sorry, I wish you could do a
     21        control F while you're in the room.               It
     22        would make things is so much easier.
     23               Q.     Can you do that?        I'll see if I
     24        can get Catie to narrow it quickly.
     25                      (Document review.)

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      2               A.     No, I can't find the definition.
      3        But I understand it to be -- go ahead -- to
      4        be data that the labelers have at their
      5        hands of where their opioids are going down
      6        to the pharmacy level.
      7               Q.     Do you know anything else about
      8        867 data or does that reflect your entire
      9        understanding?
     10               A.     I mean, I have some backup with
     11        me that I can pull up if you'd like.               But I
     12        don't have a deep, deep knowledge of it.                 I
     13        understand just generally definitionally
     14        what it was and then what was provided to
     15        me.
     16               Q.     And your understanding of what
     17        867 data is comes from what the attorneys
     18        told you in this case, correct?
     19                      MS. CONROY:      Objection.
     20               A.     I also have a few documents that
     21        are in this list and reading through
     22        depositions of, like, understanding what it
     23        was.
     24               Q.     How comprehensive is 867 data?
     25        Who has it and to what extent do they have

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      2        it?    Do you know that?
      3               A.     I only know what 867 data I
      4        received.      And I believe I only received it
      5        from Purdue, but that -- that at least is
      6        all I've seen.
      7               Q.     Okay.    And you didn't do any
      8        analysis on anybody else's 867 data other
      9        than Purdue?
     10               A.     That I was aware of, yes.
     11               Q.     Okay.    What is 852 data?
     12               A.     It's just another type of data
     13        that labelers have to them.
     14               Q.     Can you be more specific than
     15        that?
     16               A.     I don't -- I have never seen it,
     17        so I don't know that much about it.               But I
     18        understand it to be more of a labeler to
     19        manufacturer.
     20               Q.     What it is, who has it, how
     21        comprehensive it is, all of that is beyond
     22        the scope of your expertise, correct?
     23               A.     For 852 data, yes.
     24               Q.     And 867 data, too?
     25               A.     Correct.     I would say I only use

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      2        the data as I saw it and know of that exact
      3        data set and those Bates numbers.
      4               Q.     When you used the term -- strike
      5        that.
      6                      Chargeback data, you are familiar
      7        with and did a number of analyses on
      8        chargeback data, correct?
      9               A.     That is correct.
     10               Q.     I am not an expert in data
     11        science, so I'm going to try to get this
     12        right.
     13                      But in your backup files, you
     14        have an enormous file with all of the
     15        chargeback data that you were given in this
     16        case, correct?
     17               A.     Yes.    I think you're referring to
     18        the aggregated, we call it the chargeback
     19        summary table.
     20               Q.     And the title of that file is
     21        called chargeback_flagging, correct?
     22               A.     So I think there are two tables.
     23        There's one, the base chargebacks table,
     24        and then that table is used to run
     25        flagging.      And when I say "flagging," I

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      2        mean the compliance metrics.
      3               Q.     The metrics that are reflected in
      4        your report.       I tried to print it.          It was
      5        so --
      6               A.     Oh, no.
      7               Q.     It was very hard.
      8                      But if I understand -- I've done
      9        some digging in your backup files.
     10                      You were provided nationwide
     11        chargeback data, correct?
     12               A.     I think so, yes.
     13               Q.     And one of the columns in the
     14        enormous amount of data is Buyer County,
     15        correct?
     16               A.     Correct.
     17               Q.     And that allowed you to look at
     18        chargeback data by county?
     19               A.     Yes.
     20               Q.     So you can isolate a chargeback
     21        in Cuyahoga County or in Summit County,
     22        right?
     23               A.     Yes, to the best that we could
     24        identify the county, because not all
     25        chargeback data had a county.

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      2               Q.     Okay.
      3                      MS. LEVY:     Can we take a break?
      4               Thanks.     Let's go off the record.
      5                      THE VIDEOGRAPHER:        The time is
      6               10:19 a.m. We are now off the record.
      7                      (Recess is taken.)
      8                      THE VIDEOGRAPHER:        The time is
      9               10:37 a.m.      We are now back on the
     10               record.
     11        BY MS. LEVY:
     12               Q.     Ms. Keller, before the break, we
     13        talked about several data sets, including
     14        ARCOS, A-r-c-o-s, data.
     15                      To what extent did you use ARCOS
     16        data for your report in this case?
     17               A.     I believe there is one metric
     18        that required the use of ARCOS data.               And
     19        that would be the Qualitest 25, 50.
     20               Q.     On page 18 of your report?
     21               A.     18 to 19, yes.
     22               Q.     Can you turn with me to page 85
     23        of your report?
     24                      (Witness complies.)
     25               Q.     Specifically, paragraph 159.            In

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      2        159(b) -- well, let me back up.
      3                      Page 85 of your report describes
      4        the methodology you followed in this case,
      5        correct?
      6               A.     To the best that we could, yes.
      7               Q.     And Section 1 in paragraph 159 on
      8        page 85 describes how you treated six of
      9        the labeler defendants.
     10                      Do you see that in paragraph
     11        159(b)?
     12               A.     Yes, table 75.
     13               Q.     Okay.    Table 75 on page 85 shows
     14        how you have grouped particular labels into
     15        combined labeler names.
     16                      Is that what that table reflects?
     17               A.     Yes.
     18               Q.     So how did you come up with these
     19        groupings?      What methodology did you use to
     20        come up with these groupings?
     21               A.     I understood them to be the
     22        subsidiaries or part of the grouped
     23        labeler.
     24               Q.     And how did you arrive at that
     25        understanding?

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      2                      Is that something that the
      3        lawyers told you?
      4               A.     Yes, through our own research,
      5        through what the lawyers told us, through
      6        corporate filing documents that we had
      7        access to, yes.
      8               Q.     Did you review corporate filing
      9        documents in order to come up with these
     10        groupings in table 75?
     11               A.     It was a summary of corporate
     12        filing documents.         So it was like, you
     13        know, for example, this entity and this
     14        entity cite this filing document.
     15               Q.     So you had access to a summary of
     16        the corporate groupings in order to come up
     17        with table 75?
     18               A.     I think that would be correct.
     19               Q.     I don't see that cited anywhere
     20        in your report.
     21                      Where is the cite to whatever it
     22        was that you used to come up with these
     23        groupings?      Where is that summary?           Where
     24        would I go to find it?
     25               A.     We could provide that, I guess,

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      2        if it wasn't part of the documents.
      3               Q.     Who prepared the summary of the
      4        documents that you used to do these
      5        groupings?
      6                      The lawyers prepared that, right?
      7               A.     Yes.
      8               Q.     Basically they told you who to
      9        use and what groupings, right?
     10               A.     That would be correct, yes.
     11               Q.     And table 75, it looks like for
     12        purposes of your report, you have assumed
     13        that the labelers in the right-hand column
     14        are subsidiaries of the parents in the
     15        left-hand column; is that correct?
     16                      MS. CONROY:      Objection.
     17               A.     Yes, I think that's accurate.
     18               Q.     And so you're assuming that
     19        Allergan, Inc. is a subsidiary of Teva; is
     20        that right?
     21               A.     Yes.
     22               Q.     And looking also on table 7 of
     23        your report, which is on, I believe --
     24                      MR. LEDLIE:      29, I believe.
     25        BY MS. LEVY:

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      2               Q.     -- page 29.
      3                      I'm sorry, that is the wrong one.
      4        Page 28 of your report, table 6.
      5                      (Document review.)
      6               Q.     Are you with me?
      7               A.     Yes.
      8               Q.     Okay.    In the left-hand column,
      9        it says Parent Company.           In the right-hand
     10        column, it has different label names.
     11                      Do you see that?
     12               A.     In the right-hand column, it has
     13        different label -- help me out here.
     14        Different than table 77?
     15               Q.     I'm sorry.      Let me reask that in
     16        a less confusing way.
     17                      Right now I am looking at page 28
     18        of your report in table 6.
     19               A.     I'm there.
     20               Q.     Okay.    The left-hand column in
     21        table 6 is labeled Parent Company.
     22                      What does that mean?
     23               A.     It's like the parent company of
     24        the labelers to the right or how we, I
     25        would say, collectively referred to those,

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      2        that company and its subsidiaries
      3        throughout the report or through -- it's a
      4        way to show who's part of -- when I say,
      5        let's say in table 8, when I say Endo, who
      6        is part of that Endo number.
      7               Q.     So in other words, taking the
      8        Endo example, when you refer to Endo, you
      9        are assuming that Endo, Par and Qualitest
     10        are all subsidiaries of Endo, correct?
     11               A.     Correct.
     12               Q.     And these were assumptions you
     13        were asked to make based on the summary you
     14        were provided?        These are not independent
     15        conclusions of your own, correct?
     16               A.     Yes.    To some extent.        I mean,
     17        I've done some research on my own to make
     18        sure that we're getting the odd subsidiary
     19        names, to make sure that those are correct.
     20                      And I want to point out that
     21        table 77 is an ARCOS table.            The groupings
     22        for the chargeback -- or, I'm sorry, for
     23        the IQVIA table -- I'm sorry.             Let me make
     24        sure I'm saying this right.
     25                      Table 75, which is where we

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      2        started, that's an ARCOS table.
      3                      Table 6 is an IQVIA table.
      4               Q.     In both sets of analyses, you
      5        were asked to use the same assumptions as
      6        to whose parent companies go with which
      7        subsidiaries, correct?
      8               A.     That's correct.
      9               Q.     And those were assumptions that
     10        the lawyers asked you to make, correct?
     11               A.     Yeah, or that we knew ourselves,
     12        yes.
     13               Q.     Okay.    So looking specifically on
     14        page 28, we've talked about Endo.              I want
     15        to look down at the Teva parent company.
     16                      And here, you have listed as Teva
     17        as the parent company and then you have
     18        Actavis, Allergan and Teva as the labelers
     19        that belong with that parent.
     20                      Do you see that?
     21               A.     I do see that.
     22               Q.     Did you do independent analysis
     23        to arrive at that specific grouping or is
     24        that one that the lawyers asked you to
     25        make?

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      2               A.     A little bit of both.
      3               Q.     Okay.    What specific independent
      4        analysis did you do to determine that
      5        Allergan is a subsidiary of Teva?
      6               A.     We read online documents, some
      7        corporate history of the companies on their
      8        websites.
      9               Q.     And who did that work?
     10               A.     I reviewed it, as well as another
     11        staff of mine.
     12               Q.     And tell me what you know about
     13        the relationship between Allergan and Teva.
     14                      What did your research on that
     15        show?
     16               A.     I'd have to recall exactly, but I
     17        recall a long history of one -- the company
     18        begetting another and those -- the
     19        corporate history, I would say, is maybe
     20        complicated.
     21               Q.     You are not being offered as an
     22        expert in corporate history, I assume?
     23               A.     No.
     24               Q.     And that is beyond your expertise
     25        or anything that you would be comfortable

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      2        opining on, correct?
      3               A.     Yes, that would be correct.
      4               Q.     You don't know, as you sit here
      5        today, if Allergan is a subsidiary of Teva?
      6        That is not something that you have
      7        knowledge of?
      8               A.     Not that is different than what's
      9        purported in this report, then no.
     10               Q.     So I think I need to get more
     11        clarity on that.
     12                      You have treated Allergan as a
     13        subsidiary of Teva for purposes of some of
     14        your analyses in this report, right?
     15               A.     That's correct.
     16               Q.     But as you sit here today, you
     17        don't know if, in actuality, Allergan
     18        really is a subsidiary of Teva?              That's not
     19        something that you know, is it?
     20               A.     I think that's correct.
     21               Q.     And in the ARCOS data and in the
     22        IQVIA data, you recognize from your data
     23        work that Allergan is, in fact, separate
     24        from Teva?
     25                      They have different NDC labeler

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      2        codes, correct?
      3               A.     In ARCOS, they have different NDC
      4        codes.      In IQVIA, IQVIA has its own IQVIA
      5        code in there, and so that's assigned by
      6        IQVIA.
      7               Q.     In the IQVIA data, Allergan is
      8        also different from Teva, isn't it?
      9               A.     It appears so, yes.
     10               Q.     All right.      So going back to your
     11        report overview on page 16 where you begin
     12        to describe in table 1, the labeler market
     13        shares in Summit County and in table 2, the
     14        labeler market shares in Cuyahoga County.
     15                      Do you see that?
     16               A.     I do.
     17               Q.     And what is the source of the
     18        data that you drew from to create these
     19        market shares?        The sources is IQVIA data,
     20        correct?
     21               A.     That is correct.
     22               Q.     In this IQVIA data, you could
     23        have separated out the entities that you
     24        believe are subsidiaries of Teva, but you
     25        did not do that, right?

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      2               A.     I believe I could.
      3               Q.     And same for Endo, you could have
      4        separated out the entities that were
      5        subsidiaries of Endo in your view, but you
      6        did not do that, correct?
      7               A.     Yes.    I could break Endo into
      8        Endo generic, Endo labs and Par.
      9               Q.     And you could break Teva into --
     10        you could break Allergan out from Teva as
     11        well?    That's something else you could have
     12        done?
     13               A.     I could break Allergan, Teva -- I
     14        could break Allergan and Teva out from
     15        Teva.
     16               Q.     And what would, for example,
     17        Allergan's market share have been if you
     18        had broken it out in table 1 in Cuyahoga
     19        and Summit?
     20               A.     I'd have to run that number.
     21               Q.     You've never run that?
     22               A.     I don't think so, no.
     23               Q.     Okay.    And the same is the true
     24        for the other subsidiaries that you've
     25        wrapped into the parents, you've never run

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      2        them separately, correct?
      3               A.     That is correct.
      4               Q.     And the reason you didn't is
      5        because you were asked to assume these
      6        groupings and to present the data this way;
      7        is that right?
      8                      MS. CONROY:      Objection.
      9               A.     Yes or from our own
     10        understanding.        Yes.
     11               Q.     Well, that's what I want to know.
     12        Which one was it?
     13                      With Allergan specifically,
     14        because that's my client, were you asked to
     15        group it with Teva or did you independently
     16        decide to do it that way?
     17               A.     I would say it would be most
     18        correct to say that we had grouped them
     19        from doing this for a long time and that it
     20        was agreed upon that that was okay.
     21               Q.     Okay.
     22               A.     So the data doesn't come that
     23        way.    I have to process it and do the
     24        groupings.      We presented the groupings.            We
     25        continued with those groupings as agreed

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      2        upon.
      3                      Does that help?
      4               Q.     And so when you talk in table 7,
      5        for example, about Allergan and you do
      6        break it out for table 7, what is the
      7        difference there in Allergan and Teva?
      8        What Allergan products?
      9               A.     I'm sorry, table 7?
     10               Q.     I'm sorry, my fault.         Let me
     11        reask the question.
     12                      Table 6.     I keep saying 7, but
     13        it's table 6.
     14                      In table 6 on page 28, what I
     15        really would like to understand is what you
     16        understand the difference between Allergan
     17        and Teva in that table?
     18               A.     So for that table, I think there
     19        were -- the purpose of this table is to
     20        show compliance metrics over time, and so
     21        there were differences over time.
     22                      And so to the extent that we
     23        could help show that granularity, that was
     24        the purpose of breaking them apart.
     25               Q.     But you didn't ask -- you

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      2        didn't -- you were not asked to and you
      3        didn't look specifically at Allergan?
      4                      MS. CONROY:      Objection.
      5               A.     As far as we were presenting
      6        results, let's say, ala, table 1 and 2,
      7        correct.
      8               Q.     Now beginning on page 16 in
      9        Section J, you describe your compliance
     10        metric application.
     11                      Are you with me?
     12               A.     Yes.
     13               Q.     And you state in paragraph 51, "I
     14        was instructed by counsel to apply metrics
     15        derived and used by any manufacturer or
     16        distributor and also to apply metrics
     17        applied in enforcement actions, McKesson
     18        and Masters, to all data sets to detect
     19        prescribing and purchasing patterns of
     20        unusual size, frequency and pattern."
     21                      Do you see that?
     22               A.     I do.
     23               Q.     When you say "I was instructed by
     24        counsel," who does that refer to?              What
     25        counsel?

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      2               A.     That would refer to Linda Singer.
      3               Q.     And so when we talk about
      4        counsel, it's Linda Singer who asked you to
      5        do these various metrics that we are going
      6        to talk about in a minute?
      7               A.     Linda Singer provided us with the
      8        assignment, yes.
      9               Q.     In No. 1 -- well, this term that
     10        is used in the end of paragraph 51,
     11        "patterns of unusual size, frequency and
     12        pattern" and there is a cite there, what is
     13        that cite?      Do you know?
     14               A.     I understand that to be the Code
     15        of Federal Regulations when it comes to
     16        diversion, but I'd have to have the actual
     17        language in front of me to know.
     18               Q.     I don't mean to give you a memory
     19        quiz on the cites.         That is not the purpose
     20        of the question.
     21                      There are no specific
     22        requirements for how a registrant is
     23        supposed to calculate patterns of unusual
     24        size, frequency, and purchasing patterns of
     25        a -- sorry, let me ask the question again.

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      2                      You are not aware of any specific
      3        rules or regulations for a registrant on
      4        how to calculate patterns of unusual size
      5        or frequency, correct?
      6               A.     So I think, as I stated earlier,
      7        that's not my area of expertise.
      8               Q.     And you're not aware of any?
      9               A.     I wouldn't be able to say, but...
     10               Q.     Okay.    The first metric that you
     11        employ is double the national average.                And
     12        I'm looking now on page 17.
     13               A.     Correct.
     14               Q.     Are you with me?
     15                      And that metric, again, was one
     16        that Linda Singer asked you to do, correct?
     17               A.     Correct.
     18               Q.     And you didn't find it in any DEA
     19        regulations?
     20               A.     Correct.
     21               Q.     You are not aware of any place in
     22        the real world where this metric is used,
     23        correct?
     24                      MS. CONROY:      Objection.
     25               A.     I wouldn't know for sure.

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      2               Q.     Do you have a guess?
      3                      MS. CONROY:      Objection.
      4               A.     No.
      5               Q.     Okay.    And you are -- I think you
      6        already answered this earlier, but you are
      7        not offering any opinion that this metric
      8        is somehow a requirement on registrants,
      9        right?      That is not your opinion?
     10               A.     Correct.     That's not my area of
     11        expertise.
     12               Q.     And you are not offering an
     13        opinion that failure to employ this metric
     14        is somehow unlawful or misconduct?
     15                      That is beyond your expertise,
     16        correct?
     17               A.     Correct.
     18               Q.     Going to the second metric that
     19        you applied, triple national average,
     20        again, that metric you were asked to run by
     21        Linda Singer, correct?
     22               A.     Correct.
     23               Q.     That did not come from any DEA
     24        guidance or any DEA regulations, correct?
     25               A.     Correct.

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      2               Q.     You do not know of any place in
      3        the real world that applies that average,
      4        correct?
      5                      MS. CONROY:      Objection.
      6               A.     I wouldn't know.
      7               Q.     And it is not your opinion that
      8        any registrant should have or had any
      9        requirement to employ that metric in the
     10        real world?       That is not the opinion you're
     11        offering in this case, correct?
     12               A.     Correct, that's not my area of
     13        expertise.
     14               Q.     Looking at No. 3, the McKesson
     15        8,000 rule, again -- I apologize if this is
     16        getting tedious.        The McKesson 8,000 rule
     17        is a metric that you are asked to apply by
     18        Linda Singer, correct?
     19               A.     Correct.
     20               Q.     And you were asked to look at
     21        what would the data show if you used this
     22        set of assumptions, right?
     23                      MS. CONROY:      Objection.
     24               A.     Yes.
     25               Q.     Like No. 1 and 2, the McKesson

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      2        8,000 rule is not a metric that you have
      3        ever seen in any DEA guidance or
      4        regulation, correct?
      5               A.     I think that's correct.
      6               Q.     Are you aware of any limitation
      7        anywhere in the DEA regulations or in the
      8        Controlled Substances Act or any guidance
      9        interpreting them that puts a specific
     10        limitation on dosage units?
     11                      MS. CONROY:      Objection.
     12               A.     I would say that's outside of my
     13        expertise.
     14               Q.     And it is not your opinion in
     15        this case that any particular defendant was
     16        required or obligated to employ this metric
     17        in running its business, correct?
     18               A.     That's correct.        That's outside
     19        of my expertise.
     20               Q.     Even with respect to McKesson, it
     21        is outside your area of expertise to say
     22        that anybody, McKesson or anybody else, had
     23        a duty to run a metric in the way that you
     24        have, right?
     25               A.     Yes, I believe that is correct.

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      2               Q.     Going down to No. 4, Maximum
      3        Monthly Trailing Six-Month Threshold, which
      4        in parentheses says, quote, "common sense."
      5                      I think you told me this before
      6        the break, common sense is not a term that
      7        you came up with, right?
      8               A.     Correct.     I've heard this rule
      9        referred to colloquially as the common
     10        sense rule.
     11               Q.     Who have you heard that
     12        colloquially?       Who has referred to this
     13        rule as the common sense rule?
     14               A.     I honestly couldn't remember.
     15        It's been -- I've heard it so many times
     16        that I --
     17               Q.     Had you heard it from lawyers in
     18        the case?
     19               A.     Sure.
     20               Q.     Have you ever heard it from DEA?
     21               A.     No.   Like I said, I only spoke to
     22        the DEA about the ARCOS data.
     23               Q.     Okay.    And it is not your opinion
     24        in this case that this metric is the most
     25        sensible metric?        Even though the term

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      2        might suggest that, that's actually not
      3        your opinion in this case.            Am I right
      4        about that?
      5               A.     That's correct.
      6               Q.     Okay.    Have you read the Masters
      7        Pharmaceutical opinion from the D.C.
      8        circuit in 2017?
      9               A.     I think I skimmed it a while ago.
     10               Q.     You don't intend to offer any
     11        opinions about what the law is as a result
     12        of that opinion, correct?
     13               A.     That's correct.
     14               Q.     And you don't intend to offer any
     15        opinions as to what the law might require
     16        as a result of that opinion, do you?
     17               A.     That's correct.
     18               Q.     Okay.    Sorry, back to the common
     19        sense threshold.        That is not a threshold
     20        that came from -- where did that threshold
     21        come from?
     22               A.     Do you mean where was the metric
     23        derived or?
     24               Q.     Yes.    Where was metric derived?
     25               A.     So I have it -- whatever citation

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      2        I have there, that's where it would have
      3        been derived from.
      4               Q.     And beyond that, you don't know
      5        anything other than you were asked to run
      6        it, correct?
      7               A.     Yeah, I was asked to review the
      8        metric and implement it on the data.
      9               Q.     With respect to the Qualitest
     10        Endo 25/50 percent national average, that
     11        metric also came -- that metric was
     12        presented to you by the attorneys as
     13        something that you should run based on
     14        documents that you were provided, correct?
     15               A.     It was either a metric that we
     16        found or the attorneys provided.              I
     17        honestly can't remember.
     18               Q.     And for this metric, which was
     19        it?    Did you stumble across a document and
     20        say, hey, we should run this?             Or did the
     21        attorneys provide you documents and say
     22        based on these documents, we'd like for you
     23        to run it as if this were the law of the
     24        land?
     25                      MS. CONROY:      Objection.

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      2               A.     I'd really have to review my
      3        notes to know for sure.           I don't remember.
      4               Q.     Okay.    And you don't recall
      5        seeing this metric in any directive from
      6        DEA or any guidance from DEA?             That's not
      7        your opinion in this case?
      8               A.     That's correct.        I don't recall
      9        seeing it in any guidance, nor is it my
     10        opinion to offer.
     11               Q.     And I think, to short-circuit
     12        this, if we look at page 19, 20, 21, and 22
     13        of your report, those list other metrics
     14        that you were asked to run, correct?
     15               A.     Yes.    I would say I was asked to
     16        review the documents, interpret the metrics
     17        and run them on the data.
     18               Q.     You will not offer any opinion in
     19        this case as to whether these metrics are
     20        appropriate for a registrant to do in real
     21        life, whether a registrant should have done
     22        them or had any requirement to do them in
     23        real life?      That is outside of the scope of
     24        the opinions you intend to offer in this
     25        case, correct?

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      2               A.     Correct.
      3               Q.     With respect to every one of the
      4        metrics that are listed in 19 through 21 of
      5        your report, you have no opinion as to
      6        whether there was a duty to do them,
      7        whether it was feasible in the real world
      8        to do them, or what the result would have
      9        been had a registrant attempted to
     10        implement these metrics?
     11                      All of that is beyond the scope
     12        of what you have been asked to opine on,
     13        correct?
     14                      MS. CONROY:      Objection.
     15               A.     So I would say all the metrics in
     16        17 through 22, so all of them that we've
     17        covered today and that are in the report, I
     18        would not be offering that opinion,
     19        correct.
     20               Q.     Okay.    Let's go to page 23,
     21        Manufacturer to Prescriber Analysis.
     22                      Table 4 reflects your work with
     23        IQVIA -- is that how you pronounce it?                How
     24        do you say it?
     25               A.     I say IQVIA.

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      2               Q.     IQVIA.
      3               A.     I've heard it IQVIA.         I've heard
      4        it all.     I'm from Kansas.         I'm not super
      5        good at pronouncing words.
      6               Q.     Me either.
      7               A.     We said Par-mee-zian cheese for a
      8        long time --
      9               Q.     Really?
     10               A.     -- instead of Parmesan.
     11               Q.     Parmesan.
     12                      IQVIA, I say it both ways.
     13                      You looked at that set of data
     14        and based on your data analytics, you
     15        grouped prescribers by specialty and the
     16        results of that work is reflected in table
     17        4; is that right?
     18               A.     Yes.    And the groupings are in
     19        the methodology.
     20               Q.     Now your report suggests that you
     21        were missing data for 2017, right?
     22               A.     For 2007.
     23               Q.     I'm sorry, for 2007.
     24                      So your analyses skipped 2007; is
     25        that right?

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      2               A.     Yes, it does not include 2007,
      3         which would only increase any of the
      4         numbers or -- depending on the metrics,
      5         either increased the number of transactions
      6         or might impact this.
      7               Q.     Do you know whether the 2007 data
      8         is actually missing or whether it's
      9         actually in your reliance materials but
     10         just in a different format than the rest of
     11         the years?      Have you looked at that issue?
     12               A.     So I actually just -- we just
     13         found this out this week that the 2007 data
     14         is in the production and the reliance
     15         materials that we listed.           It was in such a
     16         different format in function, and we were
     17         provided no data dictionary on how to
     18         process it, that we didn't feel comfortable
     19         with including it because it didn't look
     20         like any of the other years.
     21                      We weren't quite sure if it was a
     22         secondary file because we just had the
     23         Bates number and nothing, like, else to
     24         process it.      So we felt that it was most
     25         conservative to leave it out as opposed to

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      2         maybe including some data erroneously.
      3               Q.     Okay.     That's what I thought you
      4         would say.
      5                      Does anything that you have
      6         subsequently seen in the 2007 data change
      7         your report or your opinions in any way?
      8               A.     So to be honest, we're still
      9         loading that data.         But I would say that it
     10         wouldn't because all it would do is just
     11         create a bigger base on which to run
     12         that --
     13               Q.     And just really fill in the gap
     14         of that one year in a 20-year period that
     15         you didn't have hard data and had to
     16         extrapolate, right?
     17               A.     Correct.      And I would say there's
     18         some metrics that have a lookback period
     19         that are somewhat impacted by that lack of
     20         data because you can't employ those when
     21         you're missing a year of data, so those
     22         would be impacted.
     23               Q.     Do you have any present intention
     24         to create a supplemental report in this
     25         case?

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      2               A.     I don't know.
      3               Q.     Do you have a supplemental report
      4         in process?
      5               A.     No.
      6               Q.     Okay.     And if your opinions
      7         change in any way as a result of additional
      8         analysis of the 2000 [sic] data or for any
      9         other reason, we would ask that you bring
     10         that to the attention of counsel.
     11               A.     Of course.
     12               Q.     Okay.     Page 27 of the report,
     13         paragraph 76, heading No. 1 at the top of
     14         page 27.
     15                      Are you with me?
     16               A.     I am.
     17               Q.     It says, "Defendant access to
     18         IQVIA data."
     19                      And then down in paragraph 78 you
     20         make the statement that "Each of the
     21         defendant labelers had access to IQVIA
     22         XPONENT data."
     23                      Do you see that?
     24               A.     I do.
     25               Q.     That is an assumption that you

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      2         were asked to make.         You did not look at
      3         each labeler and do an analysis of what
      4         data each labeler had during what time
      5         periods in the real world?            You did not do
      6         that, did you?
      7               A.     I would say it's a mix.
      8               Q.     Okay.
      9               A.     It was an assumption that we made
     10         at the beginning of the report.              But we
     11         also, in part of the reliance materials
     12         that are provided to you today, also
     13         include dates in which we identified
     14         defendant access to -- defendant labeler
     15         access, I should be more specific, to the
     16         IQVIA XPONENT data or purchase.              I should
     17         say purchase, not access.
     18               Q.     So let's go through on page 28 in
     19         table 6.
     20                      For Endo, did you an analysis of
     21         what IQVIA data Endo had in its files, what
     22         type of IQVIA data Endo actually had, and
     23         for what years in the 20-year time period
     24         that you looked at?         Is that something that
     25         you did?

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      2               A.     I would say yes.
      3               Q.     Okay.     And what is the answer for
      4         Endo?
      5               A.     I'd have to pull up my files to
      6         look specifically.
      7               Q.     You don't know?
      8               A.     I don't remember, no.
      9               Q.     Okay.     Do you know -- can you
     10         say, as you sit here, are you going to give
     11         the opinion that Endo actually had the full
     12         set of IQVIA data in its files for the
     13         whole 20-year period?          Is that an opinion
     14         you intend to offer in this case?
     15               A.     So I would say it's an assumption
     16         of the report but not an opinion, yes.
     17               Q.     Okay.     And so I just want to --
     18         I'm not trying to be tricky.            I'm looking
     19         at the first statement in 78.             You say,
     20         "Each of the defendant labelers had access
     21         to IQVIA XPONENT data."
     22                      What you mean by that is they
     23         could have purchased that data, right?
     24               A.     I would say that's correct, if
     25         they didn't already purchase some form of

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      2         it, yes.
      3               Q.     And in -- some of the labelers or
      4         some of the defendants in this case might
      5         have purchased some data for some time
      6         periods.     And you do not know and did not
      7         do a deep analysis of every single labeler,
      8         every single time period?           You didn't do a
      9         look at what each labeler had in the real
     10         world, right?
     11               A.     We had a -- we had a high level
     12         review, but I couldn't write a report on
     13         each labeler's access on every year, no.
     14               Q.     And the metrics that you run that
     15         flow from the IQVIA data are based on the
     16         assumption that any of these labelers could
     17         have had it all, but not assuming that they
     18         actually did have it all in the real world?
     19               A.     Yes.
     20               Q.     And --
     21               A.     When you say "it all," I would
     22         say -- I want to clarify that, if you're
     23         saying that the Allergan data is it all.                 I
     24         don't know what the "all" could be from
     25         IQVIA.     You know, I know only what Allergan

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      2         had produced.       So to that extent.
      3               Q.     And so when you're talking about
      4         what Allergan produced, let's look at -- I
      5         think I know what you're referring to, but
      6         I want to make sure we're clear.              It's
      7         footnote --
      8               A.     Actually I think it's in that --
      9               Q.     I think it's on page 28 and
     10         footnote 81 in your report.
     11                      When you talk about the data that
     12         Allergan produced, is that what you're
     13         referring to?
     14               A.     Yes.    When I talk about the IQVIA
     15         data that we're using throughout the
     16         report, that was the Bates number given to
     17         me for that production.
     18               Q.     And you have no idea whether
     19         Allergan had that data in its possession
     20         during the time period you're analyzing
     21         between 2000 and -- or 1997 and 2017?
     22                      You don't know whether Allergan
     23         had that body of data then or purchased it
     24         later like for litigation?            You don't know
     25         that, do you?

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      2               A.     I would not know that, no.
      3               Q.     Okay.     And so you're not
      4         assuming -- let me phrase it differently.
      5         Strike that.
      6                      When you say in paragraph 78 that
      7         each of the defendant labelers had access
      8         to IQVIA data, you mean had access to the
      9         data that is referred to in 81, the
     10         footnote?
     11                      MS. CONROY:       Objection.
     12               A.     I would say they could have had
     13         access to the data referred to in footnote
     14         81.
     15               Q.     And you've drawn the exact
     16         distinction that I'm trying to hone in on.
     17                      They could have had access.             You
     18         don't know and you did not analyze on a
     19         labeler-by-labeler basis who did have
     20         access to it and specifically when they had
     21         access to it and specifically which piece
     22         of footnote 81 that each labeler had access
     23         to?   You did not drill down and look at the
     24         minutia of that, did you?
     25               A.     I would say some of the reliance

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      2         that I've read today does look at that, but
      3         not every year for every labeler.              It
      4         goes -- it reviews -- I don't even want to
      5         the say what percentage, but we did look at
      6         a high level to make sure.            Or I would say
      7         the materials that we've provided to date
      8         will reflect, let's say, purchase orders
      9         from Purdue for several years of Xponent
     10         data and reveal -- and show what data or
     11         what baskets of data, I think is what they
     12         referred to them, might have been included
     13         as part of that purchase.
     14               Q.     I think I understand.
     15                      You have seen documents that
     16         reflect some purchases in some time periods
     17         of some Xponent IQVIA data, right?
     18               A.     Correct.
     19               Q.     You cannot say for Allergan what
     20         data Allergan had in what time period.
     21         That's not something you can do, right?
     22               A.     If it's in the reliance, then I
     23         could.     But other than that, no.
     24               Q.     Gotcha.
     25                      All you know about who had what,

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      2         when is what is in your reliance materials?
      3               A.     Correct.
      4               Q.     And for the Allergan data that
      5         you referred to in footnote 81, you do not
      6         know when that data was acquired or what
      7         portion of that data was received during
      8         the 20-year time period by Allergan or any
      9         other defendant in this case?
     10                      You only know snippets from other
     11         documents; is that right?
     12                      MS. CONROY:       Objection.
     13               A.     Yes, I have documents that show
     14         purchases.      Again, I don't have that data
     15         from that time provided to me.
     16               Q.     Okay.     I think I understand.
     17                      And the thing I'm getting at, to
     18         demystify it, is you are not offering any
     19         opinions that the defendants in this case
     20         actually had all this data in their hands.
     21                      Your opinion is, if they had it
     22         and if they looked at it in the way I did,
     23         here's what the metrics would have shown.
     24                      Do you see the distinction I'm
     25         drawing?

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      2                A.    I think I see the distinction.
      3         If we're talking about IQVIA, chargebacks,
      4         they of course had.
      5                Q.    Okay.     And you agree with me if
      6         we are talking about IQVIA?            We'll talk
      7         about chargebacks in a minute.             Am I right?
      8                A.    I think so.
      9                Q.    Okay.     Let's look at page 30 of
     10         your report.
     11                      (Witness complies.)
     12                Q.    Page 30 in table 9.          In table 9,
     13         you take four of the metrics and show a
     14         summary of what it would look like if these
     15         metrics would have been run, correct?
     16                A.    Yes.    We show what number of
     17         prescriptions would have been flagged by
     18         the compliance metrics if they were run,
     19         yes.
     20                Q.    And when you say in the
     21         right-hand column any flag, again, this is
     22         depending on the metrics, you get different
     23         numbers.
     24                      If you use double national
     25         average, you get a different number from

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      2         triple national average, from McKesson
      3         8,000, and from common sense.
      4                      Each of these metrics generates a
      5         different number of flags, right?
      6               A.     Correct.
      7               Q.     You do not intend to offer any
      8         opinion in this case as to which one of
      9         these is right.        I think you've told us
     10         that, correct?
     11               A.     Right.
     12               Q.     And relatedly, you don't intend
     13         to offer any opinion that any particular
     14         set of these prescriptions are suspicious
     15         prescribing as the DEA would define it?
     16         That is not what you're here to do,
     17         correct?
     18               A.     Correct.      Whenever we use the
     19         word "suspicious," we mean that it tripped
     20         one of the metrics.
     21               Q.     When you use the term
     22         "suspicious," you mean flagged by your
     23         metrics?
     24               A.     That's precisely what we mean.
     25               Q.     And that is all that you mean by

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      2         that?
      3               A.     Correct.
      4               Q.     And so under your metrics, in
      5         table 10, we can see the number of
      6         physicians in Summit and Cuyahoga County
      7         who would have been flagged by the
      8         compliance metrics that you use, right?
      9               A.     Correct.
     10               Q.     And depending on which metric you
     11         use, your metrics would generate thousands
     12         and thousands of physicians in these two
     13         counties who get flags, right?
     14               A.     I would say they're not my
     15         metrics, but by applying these metrics,
     16         yes, you would have.
     17               Q.     And I think I know the answer
     18         now, but you are not suggesting that there
     19         are actually, looking at the first row,
     20         4,207 family or general physicians in
     21         Summit and Cuyahoga County that are
     22         actually prescribing suspiciously?               That is
     23         not what you mean to suggest here, correct?
     24               A.     Correct.      What I mean to say is
     25         that they were -- they tripped one of the

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      2         compliance metrics.
      3               Q.     Okay.     And in figure 2, figure 2
      4         reflects what the dosage unit numbers look
      5         like between some really tiny colorful
      6         chart on the bottom left-hand side.
      7                      I think the orange chart at the
      8         top is the dosage units reflected by any
      9         flagged prescription of any of your
     10         compliance metrics.
     11                      You see the orange one on top?
     12               A.     It's black and white, but...
     13               Q.     Oh, I'm sorry about that.            You
     14         see the line at the top?
     15               A.     I think it is orange.           The top
     16         one mathematically should be any metric.
     17               Q.     Okay.     And, again, when we're
     18         looking at these, this is not information
     19         that you are suggesting that the labelers
     20         actually had, correct?
     21               A.     Yes.    I'm saying that they could
     22         have had.
     23               Q.     Could have had.
     24                      And this is not -- you're not
     25         opining on anything that the labelers could

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      2         have or should have done with this data?
      3         That is not what you're offering here?
      4               A.     It's a little confusing.            The
      5         whole analysis is if they had applied, this
      6         would be the results.
      7                      But I am not saying that they
      8         should have.       That would not be my expert
      9         opinion.
     10               Q.     Okay.     And you say in paragraph
     11         82 that you've done a diligent search and
     12         you haven't seen any labelers reporting any
     13         of these physicians to law enforcement.
     14                      Do you see where it says that in
     15         82?
     16               A.     Correct.      I do see that.
     17               Q.     My question is:        What was the
     18         diligent search that you describe there?
     19               A.     So we were reviewing --
     20         specifically, especially for the examples
     21         in the report, searching for their names,
     22         for documents within the production for
     23         those names would be one example of how we
     24         did that search.
     25               Q.     Flip with me to page 32 of your

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      2         report, table 11.
      3               A.     Yup.
      4               Q.     In your prior answer when you say
      5         "those names," you're referring to the
      6         physicians that are listed in table 11,
      7         right?
      8               A.     The physicians in table 11, as
      9         well as any exemplar physicians in the
     10         report.     I think Yang is the only one
     11         that's not part of table 11.
     12               Q.     Why is he not in table 11?
     13               A.     So from what I -- so table --
     14         this is very confusing for people and I
     15         apologize.
     16                      These -- the intention of table
     17         11 was to identify the physicians that
     18         labelers had documented somewhere that were
     19         suspicious.      They said either for Purdue,
     20         for example, that would be your do-not-call
     21         list regency rule.         I could not find Yang
     22         on those documents.
     23               Q.     But you don't know, as you sit
     24         here today, whether these doctors were
     25         actually reported to authorities?              You

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      2         don't know that one way or the other?
      3               A.     I would say I don't know that one
      4         way or the other.
      5               Q.     Okay.     And you don't know if
      6         authorities actually investigated these
      7         guys?    That is beyond what you would know,
      8         correct?
      9                      MS. CONROY:       Objection.
     10               A.     To the extent that there isn't
     11         news articles.       I mean, I think I do cite
     12         some news articles about some of these
     13         doctors, so I would assume an arrest -- or
     14         there was an investigation leading to an
     15         arrest.
     16               Q.     Other than the public
     17         information, you don't have any knowledge
     18         about investigations that might or might
     19         not have gone on about these physicians,
     20         correct?
     21               A.     Correct.
     22               Q.     And you did not take a look at
     23         what proportion of these doctors'
     24         prescriptions were lawful versus unlawful?
     25         That is not something that you were asked

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      2         to do here?
      3               A.     Correct.      I would not know what
      4         was lawful versus unlawful.
      5               Q.     Okay.     And did you talk to
      6         anybody at DEA and ask if these doctors
      7         ever were on DEA's radar screen or what
      8         they knew about these doctors and when?
      9               A.     No.    Like I said earlier, the
     10         only contact I've had with the DEA is just
     11         to talk about our ARCOS data process.
     12               Q.     And turning to page 33 of your
     13         report, figure 3, for one of those
     14         prescribers, this is an illustration of
     15         Dr. Sinoff's dosage units compared to other
     16         physicians in his specialty between '97 and
     17         2017.
     18                      Is that what this chart reflects?
     19               A.     Yes.
     20               Q.     The limit of your opinion is:             If
     21         the metrics I employed had been used, this
     22         is what they would show, correct?
     23               A.     I would say that there were -- to
     24         make this graph "no metrics needed to be
     25         applied," I just graphed the IQVIA data for

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      2         this prescriber.
      3               Q.     Well, you had to figure out a
      4         national average, you had to figure out
      5         what specialty, isolate the specialty,
      6         create an average, and then run the metric,
      7         right?
      8               A.     Yes, I did have to calculate an
      9         average for that specialty for that year.
     10         But then as far as flagging, that would be
     11         recorded in a separate table.
     12               Q.     Looking at figure 3, you're not
     13         going to offer any opinions as to, you
     14         know, whether a labeler should have sliced
     15         the data or looked at the data this way?
     16                      The "should have done" or
     17         "required to do" is beyond your opinion,
     18         correct?
     19               A.     Correct.
     20               Q.     You are not intending to offer
     21         any opinions as to what point in the
     22         timeline reflected in figure 3 a labeler
     23         might have a reporting duty with respect to
     24         this doctor, correct?
     25                      That's beyond the scope of what

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      2         you have expertise to do?
      3               A.     Correct.
      4               Q.     You don't intend to offer any
      5         opinions as to what might have happened if
      6         someone reported Dr. Sinoff to someone
      7         else, what might have happened in the real
      8         world if that had happened?            That is beyond
      9         what you will offer in this case, correct?
     10               A.     Correct.
     11               Q.     Somewhere in the report you
     12         conclude by using a phrase "that orders
     13         might have been stopped."
     14                      You haven't looked at and you
     15         don't know the process by which orders get
     16         stopped, do you?
     17               A.     Not thoroughly, no.
     18               Q.     Okay.     And you don't have the
     19         expertise to offer opinions about how a
     20         distributor or a manufacturer or a pharmacy
     21         would stop an order?          That is not -- that
     22         is beyond the limits of your expertise,
     23         correct?
     24               A.     Correct.
     25               Q.     Okay.     And for each of the

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      2         doctors that are analyzed in pages 32
      3         through 52 of your report, again, your
      4         opinions offered at trial will be limited
      5         to this is what the data could have shown,
      6         but you do not intend to offer any opinions
      7         as to what should have been done, what was
      8         required to be done, or what would have
      9         happened in the real world had an action
     10         been taken, correct?
     11               A.     That's correct.
     12               Q.     Okay.     Page 54 of your report in
     13         paragraph 115 -- sorry.           Let me back up.
     14                      Page 53 gives us the heading
     15         "Small Labeler Impact."
     16                      We talked a little bit about this
     17         analysis before the break, correct?
     18               A.     Correct.
     19               Q.     I believe you agreed with me that
     20         the small labeler impact analysis is
     21         hypothetical only, correct?
     22               A.     Yes, hypothetical only.
     23               Q.     You do not intend to offer any
     24         opinions that this analysis should have
     25         been done by Janssen or anyone else,

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      2         correct?
      3               A.     Correct.
      4               Q.     You have no idea how many opioids
      5         went into Cuyahoga and Summit County, how
      6         many of those opioids were excessive versus
      7         medically necessary?          You have no idea of
      8         that, do you?
      9               A.     That's outside of my expertise,
     10         correct.
     11               Q.     Okay.     And you do not intend to
     12         offer any opinions in this case that the
     13         actions of any manufacturer would have or
     14         could have prevented excess orders into
     15         Cuyahoga and Summit County?            That is beyond
     16         your expertise?
     17                      MS. CONROY:       Objection.
     18               A.     Sorry, I think so, yes.           I would
     19         say throughout the report, we say if they
     20         had used the compliance metrics, they could
     21         have been identified, but nothing about
     22         should.
     23               Q.     And when you say "could have had
     24         a curtailing affect on the excess of
     25         opioids prescribed in the counties," do you

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      2         see where it says that in 115?
      3               A.     Yes, I'm there.
      4               Q.     That is hypothetical only.            You
      5         do not know whether there was, in fact, an
      6         excess of opioids or to what extent the
      7         opioids in Cuyahoga or Summit County were
      8         excessive?      That is not something you know,
      9         correct?
     10                      MS. CONROY:       Objection.
     11               A.     Correct.
     12               Q.     And you don't know and it would
     13         be outside of your expertise to know how or
     14         whether Janssen's actions could have
     15         curtailed that and to what extent excessive
     16         prescribing could have been curtailed?
     17         That is outside of what you've been asked
     18         to do here, correct?
     19                      MS. CONROY:       Objection.
     20               A.     Outside of what we've offered
     21         here of the hypothetical situation of what
     22         the impact on the prescriptions would have
     23         been, then no.
     24               Q.     Okay.     Page 56 and 57 talk about
     25         a baseline year analysis.

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      2                      Are you with me?
      3               A.     Yes.
      4               Q.     I am not data scientist, so let
      5         me say that.       I'm just a lawyer.         But I
      6         understand this analysis to be a
      7         supplemental analysis that looks at what
      8         would have been the change to certain of
      9         your metrics if you had used 1997 as a
     10         baseline year as opposed to using the
     11         year-over-year actual averages.
     12                      Is that a fair simplification?
     13               A.     That is a fair simplification.
     14               Q.     Okay.     And what you conclude
     15         about that is reflected in tables 30
     16         through 32 on page 57, correct?
     17               A.     Yes.
     18               Q.     You do not have any opinion as to
     19         whether it's more appropriate to use '97 at
     20         a baseline year or to use the
     21         year-over-year averages that are reflected
     22         elsewhere in your report.
     23                      You are not taking a position on
     24         that, correct?
     25               A.     Correct.      It's another

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      2         hypothetical situation.
      3                Q.    It's just another option to show
      4         the data, correct?
      5                A.    That's a great way to say it.
      6                Q.    And then in table 30, table 30
      7         shows the additional physicians that would
      8         have been flagged if you used '97 as the
      9         baseline; is that right?
     10                A.    Correct.
     11                Q.    And under the, air quote, "common
     12         sense" metric, if you used the '97
     13         baseline, you would have gotten 8,736 more
     14         physicians flagged than if you used the
     15         year-over-year metrics, right?
     16                A.    Yes.
     17                Q.    You have no opinion on whether
     18         there were really 8,700 suspicious
     19         prescribers in Cuyahoga and Summit County?
     20         You have no opinion whatsoever on that, do
     21         you?
     22                A.    Correct.
     23                Q.    Okay.     Part 2 of your report is
     24         Manufacturer to Pharmacy Analysis.
     25                      And this analysis uses chargeback

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      2         data as opposed to IQVIA data, correct?
      3               A.     Correct.
      4               Q.     We talked about this before the
      5         break, but you were provided a gigantic
      6         chargeback data file, correct?
      7               A.     That is not a full
      8         representation.
      9               Q.     Okay.     Sorry.     Let me get in your
     10         words.
     11                      What did you have with respect to
     12         chargeback data?
     13               A.     I have thousands of chargeback
     14         files that were produced by defendants.                So
     15         those are, the Bates for those are in my
     16         report somewhere.         And so to create the
     17         massive chargeback file that you're looking
     18         at that you tried to print out, which
     19         probably broke your whole computer, was an
     20         amalgamation of those data sets to make
     21         them processable.
     22               Q.     And, again, this data science is
     23         too hard for me, but to the extent that my
     24         lawyer brain can understand it, what I
     25         believe you did was you put all of those

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      2         different kinds of files that you received
      3         from different productions of labelers into
      4         a chargeback file, and then you ran the
      5         metrics in various ways and created a file
      6         that's called chargeback_flagging that's
      7         giant in itself and shows you the times
      8         that the flags hit based on each of the
      9         metrics you ran.
     10                      Is that essentially what you did
     11         in your analysis?
     12               A.     Yes.    So the process -- and I
     13         actually wrote the chargebacks scripts, so
     14         I can talk a lot about it.            And so what it
     15         does, for some labelers, we had like two
     16         files.     Mallinckrodt produced two.            Those
     17         were just stacked on top of one another and
     18         put into the table.
     19                      Some had literally thousands of
     20         files that had to be appended onto one
     21         another because they were chunked in such a
     22         way to make them smaller, maybe more
     23         manageable for processing.            I don't know
     24         the reasons behind that production.               So
     25         those, again, were stacked on top of one

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      2         another.
      3                      And then relevant fields moved
      4         over into the main chargeback table.               So
      5         relevant fields would be date, who they
      6         went to, DEA numbers if they were there, so
      7         on and so forth.
      8               Q.     And you had the buyer county, so
      9         you could look at it -- you could look at
     10         the flags and your metrics specific to
     11         Cuyahoga and Summit County, correct?
     12               A.     Yes.    So if the county wasn't
     13         provided in the data, some had it, some did
     14         not, we would find that county, either
     15         using ZIP code, buyer DEA, registrant
     16         information.       From the ARCOS data, that
     17         would be another touch point for the ARCOS
     18         data.    Or through just geolocation, which
     19         would be like a lat/long, latitude and
     20         longitudinal.
     21               Q.     Part of what a data scientist
     22         does and part of what's reflected in your
     23         invoices is, as I understand it, actually
     24         making the data usable so you can analyze
     25         it, right?

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      2               A.     That's the part they don't ever
      3         tell anybody.       That is kind of the un-sexy
      4         part of the job is cleaning the data and
      5         putting it together.
      6               Q.     Okay.     Looking at page 58 of your
      7         report, part L is where you describe the
      8         results of the analysis that you ran,
      9         right?
     10                      And if I understand the process,
     11         you made the data, and it seems like it
     12         wasn't easy, but you made the data usable
     13         and then you ran your metrics over it.                And
     14         what is presented in the analysis, similar
     15         to what we talked about earlier, is what
     16         the results would be if these metrics were
     17         run, what your metric show.
     18                      Do I have that right?
     19               A.     Yes, I would say the data wasn't
     20         unusable, so I don't want to characterize
     21         it that way, but we made it that an
     22         easy-to-flag format.          And, yes, we applied
     23         the metrics and here's what the results
     24         were.
     25               Q.     And, again, like the other

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      2         analyses we've talked about, you do not
      3         intend to offer any opinions that any
      4         labeler should have done this; is that
      5         right?
      6               A.     Correct.      It's a --
      7               Q.     You have no opinions as to
      8         whether there was any requirement by any
      9         defendant in this case to do analyses like
     10         you have done here, correct?
     11               A.     Correct.
     12               Q.     Okay.     What your part L of your
     13         report shows us is merely if the data is
     14         looked at in this way, here's what it would
     15         show.
     16                      Do I have that right?
     17               A.     I think that is a nice
     18         representation.
     19               Q.     Okay.     Paragraph 125 refers to
     20         chargebacks as a -- let me strike that.
     21                      Do you see paragraph 125 of your
     22         report on page 58?
     23               A.     I am there.
     24               Q.     Okay.     In the third sentence
     25         there, you say, "For Mallinckrodt, between

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      2         2009 and 2012, 96 percent of oxycodone
      3         orders and 98 percent of oxycodone 30
      4         orders were subject to chargeback request
      5         and hence would be in the chargeback data."
      6                      And then you have a footnote
      7         there.
      8                      Do you see that?
      9               A.     Yes.
     10               Q.     And then you go on to say, "In
     11         2017, Teva stated that about 51 percent of
     12         controlled substance transactions resulted
     13         in a chargeback."
     14                      And then you have a cite there.
     15                      Is that correct?
     16               A.     Yes.
     17               Q.     Do you see that?
     18                      Okay.     The only information that
     19         you rely upon to know the percentages of
     20         how many of Mallinckrodt and Teva's sales
     21         were subject to chargebacks is reflected in
     22         those two footnotes in the reliance
     23         materials you looked at that's cited there,
     24         right?
     25               A.     Yes.

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      2               Q.     And you don't know more broadly
      3         if those percentages could be expanded over
      4         different years for different products?
      5                      That's beyond what you looked at?
      6               A.     That's correct.
      7               Q.     Okay.     And just in general, from
      8         a data perspective, using like the higher
      9         the percentage of orders that are subject
     10         to a chargeback, the more useful that tool
     11         would be, correct?
     12                      MS. CONROY:       Objection.
     13               A.     I wouldn't say useful.           It would
     14         just provide more data on which to flag.
     15               Q.     And that's what I wanted to
     16         check.     Because in that next sentence in
     17         paragraph 125, you say, "Even with only
     18         partial coverage of downstream customer
     19         purchases, chargebacks were a useful tool
     20         in monitoring suspicious transactions at
     21         the pharmacy level from a manufacturer's
     22         perspective."
     23                      Do you see where I read that?
     24               A.     I do.
     25               Q.     Okay.     And the extent to which

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      2         monitoring chargebacks could be a useful
      3         tool varies depending on how many
      4         chargebacks there are, right?
      5               A.     I don't want to speak to its
      6         usefulness, but I would say the more data
      7         you have, the more of a complete picture
      8         you have.
      9               Q.     If you have one order, two
     10         orders, you can't use that to analyze
     11         chargebacks, correct?
     12               A.     Of course --
     13                      MS. CONROY:       Objection.
     14               A.     -- in this hypothetical, yes, if
     15         you had two, that's a pretty difficult --
     16               Q.     Too small to analyze?
     17               A.     Yeah.
     18               Q.     So when you say here -- is there
     19         a threshold number beyond which I would not
     20         consider that data really useful to me?
     21               A.     No.    I don't have a hard
     22         threshold that I would set, no.
     23               Q.     In looking at table 34 on page
     24         59, in the left-hand column we have the
     25         parent companies.

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      2                      Are you with me?
      3               A.     Yup.    Sorry.
      4               Q.     The next column says Labeler
      5         Names, and that shows what companies you
      6         aggregated into the parent company.
      7                      Am I right about that?
      8               A.     Yes.
      9                      And I think throughout this
     10         section we keep things -- keep companies
     11         generally separated based off the
     12         productions.
     13               Q.     Exactly where I was going.
     14                      So here, I represent Allergan,
     15         and so I'll just look at Allergan, for
     16         example.
     17                      Here, you break out Allergan from
     18         Teva in the chargeback analysis, right?
     19               A.     Correct.      Because of the
     20         different productions.
     21               Q.     The data that is reflected in
     22         table 34, this shows nationwide data.                This
     23         is not limited to Cuyahoga and Summit
     24         County, right?
     25               A.     I honestly don't remember.            I'd

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      2         have to consult the code that pulled that
      3         table to be for certain.
      4               Q.     Okay.     You don't know one way or
      5         the other as you sit here whether this
      6         is -- the number of chargebacks in the
      7         right-hand column, so the 7,519,723 for
      8         Endo, is that total number of chargebacks
      9         or is that in Cuyahoga and Summit County or
     10         you don't know?
     11               A.     I'd have to check the code.             I'm
     12         really sorry.       Usually I put in the paren
     13         what it is, and this one slipped by me.
     14               Q.     So I'll represent to you -- I
     15         don't mean this to be a trick.             I will
     16         represent to you that from our analysis of
     17         your data, this appears to be the
     18         nationwide chargeback data.
     19               A.     Okay.
     20               Q.     And so for Cuyahoga -- do you
     21         know how many counties are in the United
     22         States, roughly?
     23               A.     Well, over 3,000.
     24               Q.     And so for each county, for
     25         example Allergan, do you see there that it

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      2         says 13,986 total chargebacks in the data?
      3                      That do you understand that to be
      4         the total number of chargebacks that you
      5         found in the Allergan data?
      6               A.     Yes, after processing, yes.
      7               Q.     And then -- and that's 16 years
      8         of data, right?
      9               A.     Yes.
     10               Q.     And if you divide that by 3,000
     11         counties, you only have a, on average,
     12         couple chargebacks per county, right?
     13               A.     Sure.     I don't want to do mental
     14         math on camera, but sure.
     15               Q.     I won't make you, I won't make
     16         you commit to actual numbers, but I think
     17         you get my point.
     18                      For -- I assume you're not going
     19         to offer the opinion that analyzing a
     20         handful of chargebacks less than a dozen
     21         over a 20-year time period would be a
     22         useful tool for suspicious order
     23         monitoring.
     24                      You would agree with me that it
     25         would not in fact be a useful tool for that

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      2         based on a matter of data, correct?
      3                      MS. CONROY:       Objection.
      4                A.    Let me think about this a little
      5         bit.    I think it really depends on the data
      6         and...
      7                Q.    So I'm going to mark as
      8         Exhibit 6, a very, very long piece of
      9         paper.
     10                      (Keller Exhibit 6, Spreadsheet,
     11                not Bates-stamped, marked for
     12                identification, as of this date.)
     13         BY MS. LEVY:
     14                Q.    I'm going to tell you what this
     15         is in a minute.        But take a look at it and
     16         see if you recognize what this data is
     17         before I describe it to you.
     18                      (Document review.)
     19                A.    I do recognize it.
     20                Q.    You do or don't?
     21                A.    I do.
     22                Q.    Okay.     This is what we were
     23         talking about earlier, like, the ginormous
     24         amount of information in the file that you
     25         have.

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      2                      If you look at the top left-hand
      3         corner, that says "chargeback_flagging."
      4                      Do you see that?
      5               A.     Um-hmm.
      6               Q.     Okay.
      7                      MS. LEVY:      [Directed to court
      8               reporter] What exhibit are we on, 6?
      9                      THE REPORTER:        (Nodding
     10               affirmatively.)
     11         BY MS. LEVY:
     12               Q.     So the chargeback_flagging file
     13         has a very long number of columns that go
     14         from left to right.
     15                      Do you see that?
     16               A.     Um-hmm.
     17               Q.     And reflected in each of the
     18         columns are the metrics that you ran across
     19         the chargeback data and the flags that came
     20         up as a result; is that right?
     21               A.     I think that's correct.
     22               Q.     And so in other words, when I
     23         looked across all of this data, the only
     24         values in each of these columns are zero or
     25         1.

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      2                      That's like a data science thing,
      3         yes?
      4                A.    Yeah, flagged or not flagged,
      5         yeah.    It's not meant to be a joke or
      6         anything.
      7                Q.    We don't talk like that as
      8         lawyers, but I think how I interpret this
      9         data is, if there is a zero in the column,
     10         that means it did not trigger a flag under
     11         that particular metric.           And if there is a
     12         1, this metric did trigger a flag.
     13                      Is that correct?
     14                A.    That's great.
     15                Q.    Okay.     And so if you look at, up
     16         here in the top left, "query," it says
     17         "from chargeback_flagging."
     18                      That is, you understand, to be
     19         your chargeback flagging reliance file,
     20         correct?
     21                A.    Yeah, the table name is familiar
     22         to me.
     23                Q.    And where it says "Where labeler
     24         name equals Allergan and buyer_state equals
     25         Ohio and_county in Cuyahoga and Summit,"

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      2         what does all that mean in data-speak?
      3                A.    So this looks like a SQL query to
      4         me that's pulling from a schema name DBO to
      5         a chargeback flagging table, which is
      6         probably your renaming of our table, which
      7         is totally fine.        And it's pulling data
      8         where it is Allergan as the labeler, where
      9         the state is Ohio, and Cuyahoga and Summit
     10         are the counties.         So good job at SQL.
     11                Q.    And is this the way you would
     12         query it if you want to see how many
     13         Allergan chargebacks got a flag in Cuyahoga
     14         and Summit County?         Is that the methodology
     15         you'd use?
     16                A.    I would take it one step further.
     17         If I wanted to look at those that were
     18         flagged for Allergan and Summit or
     19         Cuyahoga, I would say where one of these
     20         would be equal to 1.
     21                Q.    So you would have to add up
     22         everything in this table that got a 1 and
     23         that's how you would know how many flags it
     24         got?
     25                A.    Or a really massive "or" clause

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      2         where you would say where two times the
      3         national average is equal to one or three
      4         times the national average is equal to one
      5         or so on and so forth.
      6               Q.     But in Exhibit 6, each one of
      7         those queries appears separately from right
      8         to left.
      9                      Do you see that?
     10               A.     They're columns, not queries,
     11         but, sure.
     12               Q.     Okay.     So what this shows us is,
     13         there were a total of 15 chargebacks over
     14         this 20-year period for Allergan drugs,
     15         right?
     16               A.     I'm not sure that that is correct
     17         because this appears to be an aggregation.
     18         Like I said, the chargeback flagging table
     19         is an aggregation of chargebacks, and I
     20         would have to look at this myself.               A
     21         couple of them have 2s next to them so like
     22         at line 7, there is a value of 2.              So this
     23         could be 15, 16, 17, 18.
     24               Q.     So I apologize.        And you have --
     25         I accept your correction.

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      2                      So in the first column to the
      3         right of the row number, we see total
      4         number of chargebacks, and there is a value
      5         of 1 listed for all of them except for row
      6         7, 13 and 15, and that has two chargebacks
      7         in each of those, correct?
      8               A.     7, 13 and 15, correct, have two
      9         chargebacks.
     10               Q.     And so what that tells us is
     11         there were 18 chargebacks, not 15, but 18
     12         chargebacks over this 20-year time period
     13         for the Allergan labeler code, correct?
     14               A.     That were submitted to us or that
     15         I had in the data set, yes.
     16               Q.     Okay.     And I'm going to pass over
     17         to you, just to make this easier and
     18         faster, my version of this.
     19                      (Handing.)
     20               A.     Do we need to mark this?
     21               Q.     And I will represent to you that
     22         I have highlighted the three transactions
     23         or the three rows that reflect any flag
     24         from your metrics.         So take a look at that
     25         and -- is yours highlighted too?

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      2               A.     Yes.    Would you like this back?
      3               Q.     Yes.
      4                      (Handing.)
      5               Q.     Thank you.       This would make it
      6         easier.
      7                      So what I've done in the
      8         highlighted -- we highlighted everything
      9         that had a flag.
     10                      Do you see that?
     11               A.     Yes, sorry.       Yes.
     12               Q.     And so what this shows us is that
     13         in the 20-year time period, you came up
     14         with or your data would reflect four
     15         chargebacks that would get a flag if you
     16         applied all of your metrics in total for
     17         Allergan.
     18                      Do you see that?
     19               A.     I'm trying to look at this
     20         without grids, but I'm going to take your
     21         word for it.
     22                      (Document review.)
     23               A.     But I see where you're flagging
     24         the 1s.     And there are a line, and so that
     25         reflects that group of chargebacks to that

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      2         buyer ID.
      3               Q.     And then if you just look at row
      4         11, for example, the total doses, what does
      5         total doses mean?
      6               A.     So one could think of that as the
      7         number of pills it's like the dosage units.
      8         And so generally, that's a field in the
      9         data.
     10               Q.     And if you look at the doses in
     11         row 11, that's 200 doses.           And then right
     12         beside it, it says total MMEs is 2,000.
     13                      Do you see that?
     14               A.     Correct.
     15               Q.     So it means 200 pills at 10
     16         milligrams a pill in that order, correct?
     17               A.     Because it is hydrocodone, yes,
     18         you can do that math.
     19               Q.     And so that reflects -- if you go
     20         over to data date, that reflects 9/1/2005,
     21         an order of 200 pills of 10-milligram
     22         hydrocodone for a chain pharmacy in Summit
     23         County, correct?
     24               A.     Yes, it's a chargeback request
     25         for that.      I wouldn't say it's an order.

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      2               Q.     And my point from this data is --
      3         did you look at what product this is?                You
      4         didn't go behind any of the flags and look
      5         for what product this is or how many
      6         prescriptions this would fill?             That's not
      7         something you did, is it?
      8               A.     So to the extent that we needed
      9         the product to get the MME conversion
     10         factor, I would have looked at that on the
     11         aggregate.
     12                      To the extent that the product
     13         mattered for a particular flag, because I
     14         think some flags go to the NDC, I would
     15         have looked at that.
     16                      For this specific order on this
     17         specific date to this specific buyer, I did
     18         not look at that particular NDC code.
     19                      And to your second question, I
     20         did not, across the board, analyze how many
     21         prescriptions that would or should or could
     22         have filled.
     23               Q.     Okay.     And so I think just taking
     24         a step back, there comes a point when you
     25         have so little data that it is not useful

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      2         for using as an order for suspicion.
      3                      Would you agree that that is true
      4         in the abstract?
      5                      MS. CONROY:       Objection.
      6               A.     As like the example that you
      7         pointed out earlier, one or two, yes,
      8         unusable.
      9               Q.     Okay.     And in here, you do not
     10         intend to offer any opinions that a flag
     11         for a single order should have been labeled
     12         by Allergan as suspicious?            That is beyond
     13         what your offering in this case, correct?
     14                      MS. CONROY:       Objection.
     15               A.     Yes, because you used the word
     16         "should."      No, I'm not.
     17               Q.     Okay.     Which of the orders that
     18         were subject to the chargebacks in
     19         Exhibit 6 are suspicious in your analysis?
     20               A.     So I think that's what we were
     21         covering earlier.         And for one, when I
     22         answer this question, when I say
     23         suspicious, they triggered the compliance
     24         metrics.
     25                      So those would be this order here

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      2         on row 15.      I'm taking your math for it,
      3         but it looks to be generally right.               Row 11
      4         and row No. 4.
      5               Q.     And you don't intend to offer any
      6         opinion that actually in the real world,
      7         these were suspicious orders or DEA would
      8         consider these suspicious orders, correct?
      9               A.     Correct.
     10               Q.     Okay.     And the same analysis,
     11         this one in Exhibit 6 is unique to
     12         Allergan.
     13                      Did you isolate for any other
     14         labeler the exact number of chargebacks in
     15         Cuyahoga and Summit County?
     16               A.     Where we would, like, create a
     17         table like 34 for Summit and Cuyahoga, no.
     18               Q.     Okay.     Why didn't do you that?
     19         There are many other places in your report
     20         that you looked specifically at Cuyahoga
     21         and Summit County.         Why did you not do that
     22         for purposes of table 34?
     23               A.     Honestly, I have no idea, but
     24         it's easy to run and could be done no
     25         problem, and I'd be happy to do that for

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      2         you guys.
      3               Q.     If you look at table 38 on page
      4         61, this gives you -- the table is called
      5         "Number of flagged buyers attributed to
      6         each labeler."
      7                      Again this is on a national
      8         level, not Cuyahoga and Summit, right?
      9               A.     I would think this would be
     10         Cuyahoga and Summit.
     11               Q.     Do you know one way or the other?
     12                      (Document review.)
     13               A.     It should be Cuyahoga and Summit.
     14               Q.     Okay.     And the numbers for
     15         flagged buyers varied depending on which
     16         one of the metrics or matrices you run
     17         across table 38, right?
     18               A.     Correct.
     19               Q.     So if you run -- for Allergan, if
     20         you ran the double national metric, you
     21         would find one flagged buyer in Cuyahoga
     22         and Summit County?         Is that what that
     23         means?
     24               A.     Correct.
     25               Q.     And you would find zero for some

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      2         of these and two they hit on any flag.
      3                      Is that a correct reading of this
      4         table?
      5               A.     Correct.
      6               Q.     And again, I think you've now
      7         said this many, many times, but it's not --
      8         you do not intend to offer any opinion that
      9         these are, in fact, suspicious orders or
     10         suspicious purchases by buyers.              That is
     11         beyond what you are able to do and beyond
     12         your expertise, correct?
     13                      MS. CONROY:       Objection.
     14               A.     Correct.
     15               Q.     And that's true for Allergan, but
     16         also all of the other labelers on the
     17         left-hand column?
     18               A.     I would say so, yes.
     19               Q.     Okay.     And the same with table 39
     20         and the dosage units, I think generally the
     21         same thing applies.
     22                      The number of flagged dosage unit
     23         changes, depending on which one of your
     24         metrics are applied, correct?
     25               A.     Correct.

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      2               Q.     And for Allergan specifically,
      3         where there's no value in a column, that
      4         means there's no flagged dosage units under
      5         that metric, right?
      6               A.     Correct.
      7               Q.     And then where there is a value
      8         for Allergan under these columns, that is
      9         the total amount of dosage units
     10         attributable to Allergan in this 20-year
     11         period that got a flag; is that right?
     12               A.     Based on the data that we had
     13         available, yes.
     14               Q.     And the dosage units are pills
     15         basically, correct?
     16               A.     Correct.
     17               Q.     So 200 pills in 20 years for
     18         Allergan under the "common sense, masters"
     19         column.
     20                      Do you see that?
     21               A.     Correct.      I do see it.       That
     22         should be the right answer, sorry.
     23               Q.     Okay.     And 200 pills, you don't
     24         have any idea how many prescriptions that
     25         would fill, right?

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      2               A.     No.
      3               Q.     It could be just one prescription
      4         or two prescriptions, right?
      5                      MS. CONROY:       Objection.
      6               A.     I would have no idea.
      7               Q.     Okay.     And the same is true for
      8         all of the labelers listed in table 39, you
      9         don't have any opinion on whether the
     10         dosage units listed in these tables were
     11         actually suspicious or improper or not?
     12         You don't have any opinion on that, do you?
     13               A.     That's correct.
     14               Q.     Okay.
     15                      MS. LEVY:      Let's take a -- would
     16               you rather take a short break or break
     17               for lunch?
     18                      MS. CONROY:       Do you think the --
     19               well, isn't food there?           Do you know?
     20                      MS. VENTURA:       Yes.
     21                      MS. LEVY:      There is.      Are you
     22               hungry yet?
     23                      THE WITNESS:       Yes, always.
     24                      MS. LEVY:      Let's go off the
     25               record.

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      2                      THE VIDEOGRAPHER:         The time is
      3               12:05 p.m.       We are now going off the
      4               record.
      5                      (Recess is taken.)
      6

      7

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      2

      3                 A F T E R N O O N           S E S S I O N
      4                     (Time noted:        1:06 p.m.)
      5                      THE VIDEOGRAPHER:         The time is
      6               1:06 p.m.       We are back on the record.
      7                      *          *          *
      8         L A C E Y        R.    K E L L E R,          resumed
      9                 and testified as follows:
     10         EXAMINATION BY (Cont'd.)
     11         MS. LEVY:
     12               Q.     Ms. Keller, I have a few more
     13         questions to ask you based on my review of
     14         the material at lunch and then I will pass
     15         you off to some of the other defendants'
     16         counsel in this room to ask questions.                But
     17         I do have a few more things that I wanted
     18         to follow up on based on our conversation
     19         this morning and some other things that I
     20         had flagged in your report that I meant to
     21         ask you about --
     22               A.     Sure.
     23               Q.     -- and I have not yet done so.
     24                      If we look at, back to your
     25         report marked I think as Exhibit 2 and we

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      2         look at paragraph 2 on page 9.             I'm sorry,
      3         Exhibit 5.
      4               A.     I'm sorry, we're at the report?
      5               Q.     Yeah, your report on page 9,
      6         paragraph 22, that is under the heading
      7         "Scope of report."
      8               A.     Sure.
      9               Q.     You mention in the first sentence
     10         in paragraph 22 that your report "focuses
     11         specifically and exclusively on
     12         manufacturers' anti-diversion and
     13         suspicious order monitoring programs."
     14                      Do you see that?
     15               A.     Correct, I do see that.
     16               Q.     Okay.     I want to make sure that I
     17         understand the limitations of what you mean
     18         by that.
     19                      When you talk about in that
     20         sentence in 22, focusing on manufacturers'
     21         suspicious order monitoring programs,
     22         you're referring to what we've already been
     23         talking about all day today, which is what
     24         might have been or could have been in a
     25         hypothetical world had your metrics been

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      2         employed, right?
      3                      MS. CONROY:       Objection.
      4               A.     Yes, I think that's a correct
      5         characterization.
      6               Q.     And your analysis does not
      7         include, for example, an analysis of
      8         Allergan and a look at every single order
      9         that it did investigate.
     10                      You didn't conduct such an
     11         analysis for Allergan or any other labeler,
     12         correct?
     13               A.     Let me think about that for a
     14         second just to make sure I'm clear.
     15                      I was... I think that is correct.
     16         I didn't look at the practices, I didn't
     17         evaluate the practices of Allergan.               I
     18         didn't look at how each process was -- how
     19         each order was processed, monitored,
     20         flagged, unflagged or released, et cetera.
     21               Q.     And to be clear, you had some
     22         information about suspicious order
     23         monitoring programs for the various
     24         labelers.      You had some information, but
     25         you didn't do an analysis of which ones of

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      2         the orders were investigated versus weren't
      3         investigated.
      4                      That was beyond what you did,
      5         right?
      6               A.     I think -- I think that's
      7         correct.
      8               Q.     Yeah, I'm not trying to be
      9         tricky.     I just want to make sure.
     10                      You never looked at for any of
     11         the flags that came up for any of your
     12         metrics in the real world whether a labeler
     13         actually did investigate those particular
     14         transactions?       That, you never looked at,
     15         right?
     16                      MS. CONROY:       Objection.
     17               A.     I think that's correct.           I did
     18         have access to the Mallinckrodt peculiar
     19         orders data, but I didn't go as far as
     20         beyond looking at that data set.
     21               Q.     And so for the set of
     22         transactions that are flagged under
     23         different matrices, you can't say which
     24         ones of those actually got investigated,
     25         which ones didn't, which ones were

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      2         legitimate, which ones weren't legitimate?
      3         That is not something that you did in
      4         connection with your work in this case,
      5         right?
      6               A.     Yes, I would not be able to state
      7         which ones were legitimate or not.
      8               Q.     Okay.     And the extension of that
      9         is, you have no opinion, you cannot opine
     10         on what the impact would have been if a
     11         labeler had investigated because you don't
     12         know what those investigations would have
     13         found, what would have happened after that,
     14         correct?
     15               A.     Yes, I think we've covered this
     16         one earlier, but with the exception of the
     17         hypothetical Janssen analysis, that is a
     18         correct statement.
     19               Q.     Okay.     I forgot to talk to you
     20         about your addendum.          You provided an
     21         addendum to your expert report.
     22                      Do you know what I'm talking
     23         about when I say the addendum?
     24               A.     Yes, I do.
     25               Q.     So how did this addendum come

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      2         about?     Tell me the story of the addendum.
      3               A.     Yes.    So --
      4                      MS. CONROY:       Is it marked?
      5                      THE WITNESS:       I don't know
      6               that --
      7                      MS. CONROY:       Can we just mark it?
      8                      MS. VENTURA:       Just a second.
      9                      MS. LEVY:      It's Tab 3 in my
     10               binder.
     11                      Mark this as Exhibit 7.
     12                      (Keller Exhibit 7, Expert
     13               Analysis - Addendum: Lacey R. Keller,
     14               marked for identification, as of this
     15               date.)
     16         BY MS. LEVY:
     17               Q.     Exhibit 7 is your addendum,
     18         correct?
     19               A.     Correct.
     20               Q.     Okay.     So what's the story as to
     21         how this came about?
     22               A.     So one is a -- let me make sure
     23         I've got this all here.
     24                      So one is the persistent flagging
     25         as I would say is similar to the

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      2         methodology that was contained in McCann's
      3         report, so I wanted to enact this here just
      4         to see what would be the results of the
      5         data after reviewing his report, also a
      6         similar 12-month trailing average.               And
      7         then the final metrics are the Purdue
      8         metrics that we became aware of at the last
      9         moment, right before filing, and did not
     10         have time to enact.         So I wanted to have a
     11         chance to adopt it or implement the Purdue
     12         metrics because I thought it was important
     13         to do so.
     14                Q.    Your original report was dated
     15         April 15th, correct?
     16                A.    Correct.
     17                Q.    This addendum, do you remember
     18         the date of it?        I don't see it on here.
     19                A.    I do not.
     20                Q.    I'll represent to you that the
     21         addendum was submitted on May 11th.
     22                      Does that sound about right to
     23         you?
     24                A.    That seems generally correct.
     25                Q.    Was there any reason that you

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      2         could not have done your persistent
      3         flagging analysis in advance of your
      4         April 15th report?
      5               A.     Mostly just time.
      6               Q.     What do you mean by that?
      7               A.     Just ran out of time already
      8         preparing we had there, so it was a very
      9         natural place to just let's do what we have
     10         here and then we'll do that as a separate
     11         addendum.
     12               Q.     And you didn't get any additional
     13         information between April 15th and May 11th
     14         that would have created that analysis?
     15               A.     Correct.
     16               Q.     You had the information all
     17         along, correct?
     18               A.     Correct.
     19               Q.     You just ran out of time to do it
     20         before April 15th?
     21               A.     Correct.      Because I believe the
     22         first McCann report uses the persistent
     23         flagging methodology that he had filed.                So
     24         yes, we could have filed this with the
     25         April 15th.      I just ran out of time.

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      2                      And the Purdue metrics that we
      3         found, like I said, we literally found them
      4         days before, and I just didn't feel that it
      5         was prudent to implement something that I
      6         found doing a document review.
      7               Q.     You do not take an opinion in the
      8         addendum as to whether the persistent
      9         flagging approach makes any sense or not?
     10         That's outside the scope of your opinion,
     11         right?
     12                      MS. CONROY:       Objection.
     13               A.     Yes, as with all the other
     14         metrics or approaches, I'm agnostic.
     15               Q.     And did you ever ask DEA, does
     16         this make any sense to you, DEA to put a
     17         flag on and keep it for perpetuity?               Did
     18         you ever ask that question of DEA?
     19               A.     No.    Like I said earlier, my only
     20         correspondence with the DEA has been over
     21         basic ARCOS processing.
     22               Q.     Okay.     And you don't intend to
     23         offer any position at trial as to whether
     24         it makes more sense to employ the
     25         persistent flagging approach or the

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      2         continuous evaluation approach?
      3               A.     Sure.
      4                      If you want to -- what I think
      5         you're saying is one where we reset the
      6         flags every month or every X time period
      7         versus leaving the flag on once it's
      8         flagged?     Yes, I have no opinion on
      9         whether -- on either -- sorry, I'm getting
     10         hung up on my words -- on whether each one
     11         is correct or not correct.            We just
     12         implement them.
     13               Q.     If we look at your addendum on
     14         page 9, table 1, and if we compare that
     15         side by side with, I think it's table 36 at
     16         page 34 in your report.
     17                      (Document review.)
     18               A.     I'm going to bet that you may
     19         want table 7.
     20               Q.     Table 7 on page 29.          These two
     21         reports or these two tables represent the
     22         results -- the composite results of this
     23         analysis under the two different
     24         approaches, correct?
     25               A.     Correct.

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      2               Q.     And if you look at -- for these
      3         two analyses, you just picked four of the
      4         metrics.     You didn't do them all.
      5                      Do you see that?
      6               A.     So it wasn't happenstance like
      7         cherry-picking or not.          No, that wasn't the
      8         case.
      9                      So with some of the metrics where
     10         they could have applied to IQVIA, I did.
     11         Where it came to the labeler's own metrics,
     12         it felt most appropriate to apply those
     13         only to the chargeback, their own data
     14         so...
     15               Q.     And that was most appropriate
     16         because that's the data set that those
     17         metrics were designed to look at, right?
     18               A.     Correct.      In reading the metrics
     19         and the documentation behind them, it
     20         looked as if they were designed to apply to
     21         pharmacies or to sales data or to some sort
     22         of internally housed data set, so that was
     23         my intention, yes.
     24               Q.     I was going to ask you about
     25         that.    That's important to keep straight

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      2         because if you apply a metric that is
      3         designed to look at distributor orders, if
      4         you apply it to pharmacies, the results are
      5         going to be in some ways skewed, right,
      6         because the metric is not designed to apply
      7         to that kind of data?          Is that what you're
      8         getting at?
      9               A.     I would say it's more that I felt
     10         like it was most honest or most like in the
     11         truest sense of the metric to apply it to
     12         the data set that it was intended for.                Not
     13         to mix distributor versus manufacturer
     14         metrics, but just to the data set that it
     15         was designed for.
     16                      The larger ones, the double
     17         national, triple national, common sense,
     18         and McKesson, were kind of at a -- I viewed
     19         them as a different level as the
     20         manufacturer's own metrics.            Because I
     21         don't know that, let's say, Purdue would
     22         know Mallinckrodt's metric.            But these
     23         other metrics are like in a different
     24         realm, if you will, is because they were
     25         the result of an enforcement action or --

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      2         so to me, they got a different treatment
      3         among the data sets.
      4                      Any metric could have been ran
      5         against all the data, and I could do that
      6         very easily for you and would be happy to,
      7         but it was my intention to try to keep
      8         things to their truest sense.
      9               Q.     I think I understand what you're
     10         saying.
     11                      You tried to apply the metric
     12         designed for that type of data to that type
     13         of data?
     14               A.     That's a very nice way of saying
     15         it much more succinctly than I did.
     16               Q.     And so for these four metrics,
     17         common sense, I'm using that term in air
     18         quotes for the video, air quote words for
     19         the transcript, the metric that is referred
     20         to, air quote, common sense, double
     21         national average, triple national average,
     22         and McKesson 8,000, those were the ones you
     23         picked to run over the IQVIA data for the
     24         tables that we see in table 1 of the
     25         addendum and table 7 of your original

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      2         report, right?
      3               A.     Yes, those four metrics we ran on
      4         the IQVIA data, correct.
      5               Q.     The results of the metrics change
      6         a little bit depending on whether you do
      7         the resetting flags or the persistent
      8         flagging, correct?
      9               A.     Correct.      As --
     10               Q.     Go ahead.      I didn't mean to cut
     11         you off.     Go ahead and finish your answer.
     12               A.     I was going to say, yes, it
     13         depends on what metric you're looking at
     14         there.
     15               Q.     But if you look at column 1,
     16         "Defendant labeler flagged physicians,"
     17         that number actually doesn't change between
     18         the two analyses, right?
     19               A.     Right.     Because that one makes
     20         sense, right?       Because once a foot position
     21         is flagged, at some point that is a 1 or a
     22         zero, so it doesn't really, it won't -- it
     23         doesn't change whether you leave that flag
     24         on or not.
     25               Q.     A number of physicians get

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      2         flagged in these counties varies wildly
      3         depending on which metrics you use, right?
      4               A.     Yes.    Like you can see here
      5         anywhere between 1 and 75 percent.
      6               Q.     And you take no position as to
      7         which one is right or which one is closest
      8         to right, do you?
      9               A.     That would be correct.
     10               Q.     But it doesn't make much sense as
     11         a matter of common sense that 8 out of 10
     12         physicians in these counties are
     13         prescribing suspiciously.
     14                      That is not what you mean to
     15         suggest with this analysis, correct?
     16                      MS. CONROY:       Objection.
     17               A.     So I'm going to break that into
     18         two pieces.
     19                      One, I'm making no assessment of
     20         the real world of who is suspicious or not.
     21         I will say with physicians, with that count
     22         of physicians specifically, if you get
     23         flagged once, and I think we say this in
     24         the report, if you get flagged once or you
     25         get flagged hundreds of times for every

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      2         month that you've ever prescribed, you're
      3         still counted the same.
      4                      So that's why that number looks
      5         as it does compared to the prescriptions.
      6               Q.     The number is -- the percentage
      7         of physicians is grossly larger than the
      8         percentage of physicians in the real world
      9         that actually prescribe suspiciously.                It's
     10         not meant to represent that, right?
     11                      MS. CONROY:       Objection.
     12               A.     I wouldn't know.
     13               Q.     Okay.     I mean, you could design a
     14         metric that uses a parameter that all
     15         opioids are suspicious and 100 percent of
     16         prescribers who prescribe them should be
     17         suspicious.      You can define it that way and
     18         get 100 percent suspicious under some
     19         metric, right?       That's something you could
     20         do if you used the right definition?
     21               A.     I would say that would be
     22         something that someone could do.              I don't
     23         know that I would do it, but that could be
     24         done if asked of someone.
     25               Q.     It would not be useful to

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      2         describe a metric so comprehensive that it
      3         captured 100 percent of the prescribers in
      4         a jurisdiction?        That would not be a useful
      5         thing to do, would it?
      6               A.     I would say, you know, I'm not --
      7         I don't want to weed into or wade into
      8         evaluating metrics, so I'm not really going
      9         to pontificate on that.
     10               Q.     Well, if we take a step back to
     11         what you do as a data scientist to generate
     12         leads, if you create a metric that captures
     13         everybody who is doing something, that
     14         doesn't generate any leads for you, does
     15         it?
     16               A.     Or it generates all the leads
     17         but --
     18               Q.     It generates the lead of
     19         everybody in the whole --
     20               A.     -- it doesn't prioritize them.
     21               Q.     Right.
     22                      So when you're looking to create
     23         sensible useful metrics, the ideal way to
     24         do so is to create metrics that come up
     25         with, as close as you can, to the actual

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      2         behavior you're trying to analyze, correct?
      3                      MS. CONROY:       Objection.
      4               A.     I'm not really in a position to
      5         evaluate metrics.         I think we've talked
      6         about that earlier.         So I don't really want
      7         to wade into that.
      8               Q.     Well, I understand that you're
      9         not offering any opinions about
     10         specifically in this case what the metrics
     11         should be or shouldn't be.            I understand
     12         that and you've testified a great deal
     13         about that.
     14                      But stepping back, like for
     15         example, your other work in the New York
     16         Attorney General's Office, when you
     17         designed metrics to analyze data and target
     18         gun traffickers -- that was something that
     19         you did, right?        When you're doing that,
     20         you're trying to design metrics that
     21         isolate the bad guys, right?
     22                      MS. CONROY:       Objection.
     23               A.     Correct.
     24               Q.     And the most -- you know, in the
     25         ideal world, what someone should do to try

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      2         to look for aberrant behavior is to create
      3         sets of metrics that get as close to as you
      4         can isolating the behavior that you're
      5         targeting?      I mean, that's the goal in
      6         doing all this, yes?
      7               A.     I would think from a logical
      8         perspective, that makes sense.
      9               Q.     And metrics that are overly
     10         comprehensive that capture everybody or the
     11         vast majority of people doing something as
     12         opposed to just the bad guys, those are
     13         less helpful than more targeted metrics
     14         designed more closely to target bad
     15         behavior, as a conceptual matter that would
     16         be true, right?
     17                      MS. CONROY:       Objection.
     18               A.     Yeah, I guess I don't -- I don't
     19         really...
     20                      I think when you're looking for
     21         bad -- I think when's designing metrics,
     22         you have different goals in mind for
     23         whatever you're doing, right?
     24                      For gun trafficking, for example,
     25         maybe I'm only looking for straw purchasers

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      2         or whatnot.      That is a very unique fact
      3         pattern.
      4                      I think by looping things into
      5         bad guys or good guys or suspicious
      6         activity or not, there is a lot that's
      7         packed into that that I don't really want
      8         to blanket state like a metric that should
      9         or shouldn't do anything when it comes to
     10         that.
     11               Q.     I mean, if I'm a labeler and I
     12         design a metric that captures 80 percent of
     13         prescribers, that's not going to be very
     14         helpful to me, is it?
     15                      MS. CONROY:       Objection.
     16               A.     I wouldn't know.
     17               Q.     Page 13 of your original report,
     18         if you can flip with me to that.
     19                      (Witness complies.)
     20               Q.     I'm confused on where I want to
     21         look at.     Just a minute.
     22                      What is LRX data?
     23               A.     So I haven't seen it, so I can't
     24         speak definitively.         But what I have read,
     25         as I understand it to be longitudinal -- I

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      2         think that's what it stands for like
      3         longitudinal data from IQVIA that allows
      4         you to see a little bit more granular, a
      5         little bit more granularity about the -- I
      6         think it has patient, prescriber, pharmacy,
      7         like all of that in the data.
      8                      And again, this is a little bit
      9         hearsay because I have never seen the data,
     10         so I can't speak to that definitively.
     11               Q.     Okay.     You don't know really know
     12         what it looks like because you've never
     13         seen it?
     14               A.     Correct.      I've seen references to
     15         it.
     16               Q.     Looking at page 13 of your
     17         report, in paragraph 40, this is under
     18         limitations of your analyses, I assume,
     19         from what you just told me, that you did
     20         not do any analysis on LRX data if you
     21         haven't ever seen it?
     22               A.     Correct, I did not do any
     23         analysis on LRX data.          The only reason why
     24         I know it exists, I think, is from that --
     25         if that cite doesn't capture it, somewhere

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      2         I have a cite that would -- that -- where
      3         we know it exists.
      4               Q.     And when you make the blanket
      5         statement in paragraph 40 about LRX data
      6         being used in investigations of suspicious
      7         prescribers and downstream customers, the
      8         only information you have about that is
      9         what is cited in footnote 10, correct?
     10                      MS. CONROY:       Objection.
     11               A.     I'm sure there's more, but I
     12         believe so.      And I can't recall which of
     13         those many cites for that paragraph are
     14         there, which has the reference to the LRX
     15         data, but...
     16               Q.     You don't know which
     17         manufacturers had or didn't have it?
     18               A.     I don't -- so I would know from
     19         the cite here who references that, but I
     20         did not, as we were discussing earlier, do
     21         a comprehensive review of who purchased or
     22         didn't purchase.
     23               Q.     Or what time periods it might
     24         have been purchased or what portion of it
     25         might have been purchased, that's not an

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      2         analysis that you did?
      3               A.     Correct.      I did not look at who
      4         purchased, when, where, why or how LRX
      5         data.
      6               Q.     And both with respect to LRX
      7         data, but also more broadly with respect to
      8         Xponent data and IQVIA data in general,
      9         there is no requirement that a manufacturer
     10         buy that data, right?
     11               A.     I wouldn't be able to say that.
     12               Q.     You don't know one way or the
     13         other?
     14               A.     It's outside of my expertise.
     15               Q.     Okay.     IQVIA data, you're aware
     16         that the IQVIA data for a particular drug
     17         reflects the labeler that holds that drug
     18         today for the entirety of the IQVIA
     19         database?      You're aware of that, right?
     20               A.     So I would say what we understood
     21         based off the files that we received, we
     22         were given, maybe you can call it a control
     23         file, that had the keys to the codes of
     24         which labeler were what.           We had asked
     25         repeatedly for historical versions of this

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      2         file so that we could identify the labeler
      3         historically.       But, yes, I think that file
      4         was dated fairly recently.
      5               Q.     You just said it a thousand times
      6         better than I could.
      7                      You were unable to tell from the
      8         code that IQVIA provides how long a
      9         particular labeler had held that product?
     10         In other words, you couldn't tell who had
     11         the product historically, right?
     12               A.     Correct, even though we had asked
     13         for historical versions of that file.
     14               Q.     And so the limitations of that
     15         data would not allow you to separate out
     16         for Allergan a time period that it didn't
     17         have one of the products, that's not
     18         something you could do with the IQVIA data
     19         that you were given?
     20               A.     Correct.      If they were assigned
     21         whatever code they were in the control file
     22         that we were given as part of the Allergan
     23         production, then that's what was applied
     24         for the entire data set.
     25               Q.     And so for Allergan and its

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      2         product, Kadian, for example, if IQVIA has
      3         Kadian under the Allergan labeler code
      4         today, your analysis would have Kadian as
      5         an Allergan product for the whole 20-year
      6         time period because you had no way to
      7         understand or take out any other time
      8         periods?     Am I right about that?
      9                A.    That's correct.        We had asked for
     10         that file.      It wasn't either available or
     11         producible, so, yes.
     12                Q.    And if you came to understand
     13         that Allergan did not own Kadian for a
     14         portion of that time period, that would
     15         change your analysis, correct?
     16                A.    Someone else would have been
     17         attributed that Kadian product in the data
     18         set.    It's not to say that that point of
     19         data would drop out completely or anything
     20         like that.      And it wouldn't change my
     21         fundamental findings of applying the
     22         compliance metrics.         It might change a few
     23         numbers in the tables, what's attributed to
     24         Allergan or not, but I wouldn't say -- I
     25         wouldn't characterize that as changing my

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      2         analysis.
      3               Q.     The flags would still be there,
      4         they would just be somebody's else's flags,
      5         not Allergan's, right?
      6               A.     Depending on the purchasing
      7         history, but, yes.
      8               Q.     Got it.
      9                      And the same would be true for
     10         any other labeler who had historically
     11         changed possession of products over time,
     12         right?
     13               A.     Correct, which is why we asked
     14         very hard to obtain that file.
     15               Q.     And IQVIA could not provide it,
     16         could they?
     17                      MS. CONROY:       Objection.
     18               A.     I don't know who it was asked of
     19         or where.      I know I had requested it and
     20         was very firm in those requests.              I don't
     21         know if it was requested of defense or by
     22         IQVIA directly.        That's beyond me.
     23               Q.     Because that was data that you
     24         really wanted to see and it would have been
     25         important for you to know, right?

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      2                      MS. CONROY:       Objection.
      3               A.     Yes, it would -- you know, I want
      4         things to be most accurate and so I want --
      5         if I had historical knowledge I would have
      6         liked to have applied that, yes.              But I
      7         don't -- I don't know that it -- like I
      8         said earlier, I don't know -- it doesn't
      9         fundamentally change the results.
     10               Q.     It doesn't change the number of
     11         flags?
     12               A.     I mean each flag depends on the
     13         purchasing history of a particular
     14         prescribing history, so it's a little bit
     15         more complicated than that, but the flags
     16         would still exist, but --
     17               Q.     They'd be attributed to different
     18         defendants?
     19               A.     Correct, with a big asterisk
     20         there.
     21                      MS. LEVY:      Okay.     Let's mark this
     22               document as Exhibit 8.
     23                      Do you have more copies of this,
     24               Jayne?     These are the corrections you
     25               brought today.

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      2                      MS. CONROY:       We have a copy over
      3               here.     I think I gave everybody --
      4                      MS. LEVY:      We passed them out.
      5               Okay.     Let's mark this as Exhibit 8.
      6               I've got another one that I can ask
      7               about.
      8                      (Keller Exhibit 8, "Corrections
      9               to Expert Analysis," prepared by Lacey
     10               R. Keller, not Bates-stamped, marked
     11               for identification, as of this date.)
     12         BY MS. LEVY:
     13               Q.     Who created Exhibit 8?
     14               A.     I did.
     15               Q.     Did you use fancy data science or
     16         is it a plain old Excel or Word document?
     17               A.     That is a plain old Word document
     18         that actually started with old chicken
     19         scratch of my reports.          For nicety for you
     20         guys, I didn't hand you the chicken
     21         scratch.
     22               Q.     How did Exhibit 8 come about?
     23         Like how, when, and why was it created?
     24               A.     So I would say I compiled it, we
     25         compiled it last night to send to you just

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      2         to make sure that everything was nice and
      3         neat as opposed to, you know, all over my
      4         report here.
      5                      I would say it's the culmination
      6         of, since I filed it, a review of the
      7         report trying to make things correct.                I'm
      8         sure there is some typos and such, but
      9         these were substantive changes that I
     10         wanted to point out.
     11               Q.     And are these changes that are
     12         reflected in the right-hand column, are
     13         these things that others pointed out to you
     14         or that you just discovered on your own the
     15         more you read it after the fact?
     16               A.     Every single one of them, I
     17         discovered.
     18               Q.     Okay.     This is a classic woman
     19         second-guessing and second-guessing and
     20         second-guessing her own work.
     21                      Okay.     And so none of these were
     22         like the lawyers telling you to change it
     23         from something to another?            These are just,
     24         these are just corrections you discovered
     25         you want to make on your own?

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      2               A.     Correct.
      3               Q.     And you said this was prepared
      4         last night.
      5               A.     For production to you guys I
      6         think just to make today easier.              I had
      7         them for quite some time and was putting
      8         them, but, yes, the document here.
      9               Q.     I just want to run through this
     10         quickly.
     11                      In paragraph 33, you say that
     12         "would" should be "could."            And that
     13         relates to what we've already talked about
     14         today, is that you are not saying what
     15         would have happened, you're saying
     16         hypothetically what could happen, correct?
     17               A.     Correct.      You've made a lot of
     18         these quite easy to explain now.
     19               Q.     In paragraph 86, the 7,000 to
     20         5,000, how did you discover that
     21         discrepancy?
     22               A.     I went through after filing the
     23         report and, like you said, we always check
     24         and recheck our work, and I just -- I
     25         wanted to make sure that every number was

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      2         as right as I could make it.            So that one,
      3         I just reran it and realized that there was
      4         a discrepancy there.
      5               Q.     Okay.     And the change in
      6         paragraph 125 for table 35, last column, it
      7         says the second, third and fourth "no"
      8         should be a "yes."
      9                      So where you say "no, Endo did
     10         not use chargeback in SOM program," you
     11         mean -- so let me speak in a way that our
     12         court reporter can transcribe.
     13                      Turning to table 35, on page 59
     14         of your report and looking at that in
     15         conjunction with Exhibit 8, your
     16         corrections, you note that in table 35, in
     17         the last column of that table, the second
     18         "no" should be a "yes"; is that right?
     19               A.     Yes.    So Endo's "no" in the "used
     20         chargeback in SOMS program" should be
     21         "yes," followed by "Par and Qualitest."
     22                      And that's to jive with the
     23         language below.
     24               Q.     Okay.     The metrics that you've
     25         used, I'm getting to the end of my

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      2         questioning, the metrics that you've used
      3         in your report in its addendum, these
      4         metrics could have been used by others
      5         other than the defendants in this case,
      6         right?
      7                      MS. CONROY:       Objection.
      8               A.     Because you used the word
      9         "could," I would say yes.
     10               Q.     The DEA could have run these
     11         metrics had it chosen to do that, right?
     12               A.     I would think so, yes.
     13               Q.     Law enforcement of other types,
     14         other than DEA, could have run these
     15         metrics if they had chosen to do that?
     16               A.     I would think so, yes.
     17               Q.     Cuyahoga, Summit County could
     18         have run these metrics if their law
     19         enforcement wanted to run them?              They could
     20         have done that?
     21               A.     Correct.      Anyone who had access
     22         to the data or had access to the metrics
     23         could run them.
     24                      MS. LEVY:      I'm going to mark the
     25               invoices.

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      2               A.     Do me a favor and get your
      3         invoices, which I believe we marked
      4         previously as Exhibit 3.
      5                      MS. LEVY:      Did we mark the
      6               invoices?
      7                      MS. CONROY:       Yes.
      8               A.     We did.
      9                      MS. LEVY:      Okay.     We already have
     10               them marked as Exhibit 3.
     11                      (Keller Exhibit 9, Word document
     12               prepared by Keller, not Bates-stamped,
     13               marked for identification, as of this
     14               date.)
     15         BY MS. LEVY:
     16               Q.     I'm going to hand you Exhibit 9,
     17         and I will represent to you that Exhibit 9
     18         was created by asking data entry folks to
     19         put into a table the information that came
     20         from your invoices in Exhibit 3.
     21                      You've never seen Exhibit 9
     22         before, correct?
     23               A.     That is correct.
     24               Q.     And this is something that we
     25         created, not something that came from you.

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      2         But do you recognize the content of the
      3         information generally?          I'm not asking you
      4         to tell me whether it's correct or not, but
      5         do you recognize what the types of
      6         information in here are?
      7               A.     Yes.    The case names look similar
      8         to ones that are in the invoices.
      9               Q.     Okay.     And for purposes of these
     10         questions, I will ask you to accept that
     11         this is an accurate extraction from the
     12         invoices here, but I recognize that you
     13         just have to accept my assumption on that.
     14         I'm not asking you to compare thing by
     15         thing.     But if you accept that assumption,
     16         then I'd like to go through and ask, just,
     17         you know, what do these descriptions mean.
     18                      What does opioid DMA mean in the
     19         Project column on the first page of
     20         Exhibit 9?
     21               A.     It means -- I mean, there's a
     22         number in front of it, which is some
     23         computer-generated case number by the
     24         OpenAir system.
     25                      Opioid DMA is data mining

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      2         analytics.
      3               Q.     Data mining?
      4               A.     Analytics.
      5               Q.     Analytics.
      6               A.     So anywhere you see DMA, that's
      7         data mining analytics.
      8               Q.     Got it.
      9                      And there are four invoices that
     10         are dated May 31st, 2018.
     11                      Do you see that --
     12               A.     I think --
     13               Q.     -- far left column.
     14               A.     Yeah.     It looks like the line
     15         items are entered, so just give me a
     16         second.
     17               Q.     Oh, right.
     18                      And these line items are all
     19         related to travel, correct?
     20               A.     Can I move this?         Sorry.
     21                      (Document review.)
     22               A.     So the first four appear to be
     23         line items for travel, yes.
     24               Q.     And they reflect that there was a
     25         meeting on May 24th in D.C.?

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      2               A.     Correct.
      3               Q.     Who was that meeting with?
      4               A.     I don't recall specifically who
      5         was in the room.        I remember it was at -- I
      6         remember meeting like Paul Farrell and some
      7         attorneys.      Linda Singer of course was
      8         there.     And then there is a lot of faces I
      9         don't remember or know.
     10               Q.     A lot of other people, but you
     11         don't know who?
     12               A.     Correct.      It was --
     13               Q.     How many people were there for
     14         that meeting?
     15               A.     Oh, I couldn't guess.           It was a
     16         room smaller than this for sure.
     17               Q.     Less people than in this room
     18         today?
     19               A.     Maybe the same but in a much
     20         tighter quarters.
     21               Q.     Was anyone from DEA at that
     22         meeting?
     23               A.     Like I said, I don't know who was
     24         exactly in that meeting.           I didn't -- we
     25         didn't do like a check-in, but I don't

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      2         recall somebody being introduced as, hi,
      3         I'm so-and-so from the DEA.
      4               Q.     Did you understand that meeting
      5         to be -- were there any other experts in
      6         the meeting aside from you?
      7               A.     At that time, I wasn't even an
      8         expert, so I wouldn't have even known then
      9         who would have been an expert or was an
     10         expert.
     11               Q.     What did you do at the meeting?
     12               A.     So that was... if I recall, I
     13         think it was a preliminary meeting about
     14         the ARCOS data.        I think we had just gotten
     15         maybe the first or second production about
     16         it and everyone kind of putting their heads
     17         together of what the heck is this and how
     18         do we use it.
     19               Q.     I don't see a hotel, so I would
     20         assume that was just a single
     21         there-and-back meeting?
     22               A.     Yeah, I specialize in those.
     23               Q.     So do I.
     24                      Okay.     And then we see another
     25         set of line items underneath the travel

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      2         ones that are the next four entries in gray
      3         that are charges for data mining and
      4         analytics.
      5                      Do you see that?
      6               A.     Correct.
      7               Q.     But the one right before we get
      8         to data mining and analytics says "air gap
      9         server for ARCOS."
     10                      What is air gap server?
     11               A.     So you'll see a couple charges
     12         throughout here that are just to charge for
     13         our server space.
     14               Q.     Like the hosting fee?
     15               A.     Exactly.
     16               Q.     Because it's a ginormous amount
     17         of data?
     18               A.     Yes.    It doesn't just sit
     19         somewhere for free if you want it to be
     20         super secure.
     21               Q.     And then data mining and
     22         analytics reflect various numbers of hours
     23         and various billing rates.            One is $250 an
     24         hour, one is 475 and one is 275.
     25                      Do you see that?

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      2               A.     Yes.
      3               Q.     475 is you, correct?
      4               A.     That is me.
      5               Q.     You're the only person that bills
      6         at the 475 rate on these, on this matter?
      7               A.     I believe so, yes.
      8               Q.     Okay.     So anywhere we see a 475,
      9         I can know that's work you did personally?
     10               A.     Correct.
     11               Q.     And those are your hours.
     12                      And then what is the difference
     13         between the 250 and the 275, just out of
     14         curiosity?
     15               A.     Our analysts are generally paid
     16         on the lower end of the scale.             I don't
     17         know exactly the structure.            The data
     18         scientists and the more senior staff, more
     19         senior than analysts, I should say, get
     20         paid at that 275.
     21               Q.     It's like a sliding scale of
     22         seniority?
     23               A.     Exactly.
     24               Q.     What are "investigative services"
     25         that are reflected on 6/22/2018 invoice?

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      2               A.     Yeah.     So some of the earlier
      3         invoices when we were first setting up the
      4         firm, they just -- so the firm would bill
      5         everything as investigative services
      6         because it's all that they had and never
      7         bothered to change it to data mining and
      8         analytics.      And you'll notice that that
      9         disappears after some point in time,
     10         probably in the fall where we open up the
     11         "own data mining" categories, because I
     12         wanted to have my own for tracking so...
     13               Q.     So here, it looks like the
     14         opposite to me, because it starts out being
     15         described as "data mining and analytics" in
     16         5/31/2018, but then it changes to
     17         "investigative services" from their amount
     18         if you look down that.          And sometimes it's
     19         called "U.S. jurisdiction."
     20                      But I think the 5/31/18 is the
     21         last time we see "data mining and
     22         analytics."      Am I right about that?
     23               A.     I'd have to put them in order to
     24         look, but that's how the -- when I asked
     25         the billing team to put this together for

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      2         me, that's how it was described to me is at
      3         some point, the case was opened and called
      4         data -- investigative services and then at
      5         some point, it was data mining analytics.
      6                      I recognize that there's these
      7         three here that say "data mining and
      8         analytics" instead of "investigative
      9         services," but, again, this is from the DMA
     10         side of things, not from the investigation
     11         side of things.
     12               Q.     And is there any substantive
     13         difference in what the people are doing
     14         when it's described as data mining and
     15         analytics versus investigative services?
     16               A.     When it's on this paper, no.
     17               Q.     Okay.     As opposed to what?
     18               A.     If there were -- as we talked
     19         earlier, Gryphon has two lines of -- or
     20         multiple lines of business, and we
     21         discussed the investigative side and not if
     22         the -- I can't speak to what their stuff is
     23         billed as, for example.
     24               Q.     Okay.     And so all the entries
     25         that have the description "investigative

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      2         services," those are people that are doing
      3         work with the data sets that are described
      4         in your report?
      5               A.     Correct, you could understand
      6         them to be that.
      7               Q.     What is DMA methodology and data
      8         overlays, what does that mean?             DMA
      9         methodology and data overlays at the bottom
     10         of the first page of this exhibit, what
     11         does that mean?
     12               A.     So that's the case where we -- if
     13         there is not a specific jurisdiction to
     14         bill that case towards -- so you'll notice
     15         some of these are for Summit County,
     16         Cuyahoga.      At some point, those become
     17         Bellwether, et cetera.          Methodology and
     18         data overlays are the analysis and work
     19         that we do that could touch multiple
     20         jurisdictions, right?          So like a great
     21         example is the ARCOS data.            There's a good
     22         chunk of time that goes into understanding
     23         it, processing it, filtering it, making
     24         sure that you're looking at the right
     25         thing, because it's not an easy thing to

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      2         just ingest.
      3               Q.     So this, in the fourth column
      4         where we're talking about in reference to,
      5         that is how you know internally who pays
      6         which part of the bills?           That's what that
      7         column is designed to help be used for?
      8         Whether it should be allocated to Cuyahoga,
      9         to Summit or is relevant to multiple
     10         analyses?
     11               A.     Yeah, I guess the invoice is
     12         reflected as that.         We actually view that
     13         as the case title when we're billing
     14         against it.
     15               Q.     On the second page of Exhibit 9,
     16         at the top, there is an entry in the
     17         reference to column that says, "DMA Ohio
     18         5."
     19                      What's that mean?
     20               A.     So there were five counties in
     21         Ohio.    Some of these are just shorthand,
     22         you know, we just call them internally, not
     23         thinking that they would ever been produced
     24         as exhibits.       There were five counties that
     25         we were producing analysis on in Ohio, so

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      2         those were part of this.
      3               Q.     And so those hours would be
      4         relevant to all five counties?
      5               A.     Correct.
      6               Q.     And I think I can guess what you
      7         would say if I looked down to "DMA
      8         Cleveland," that's relevant to work about,
      9         specific to Cleveland?
     10               A.     Precisely.
     11               Q.     And in the fifth column, which
     12         the heading in the column indicates that it
     13         came from the description part of your
     14         actual invoices, under "Description," on
     15         the top of page 2 where it says "United
     16         States," what does that mean?
     17               A.     I have no idea.        I asked our
     18         billing team why it says United States.
     19         Sometimes it says U.S.          I don't know if
     20         it's to delineate whether or not it's a
     21         U.S. versus international investigation
     22         because they are an international firm.
     23         But as far as I'm concerned, it doesn't
     24         reflect anything for us.
     25               Q.     Have you done any international

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      2         analysis in conjunction with this case?
      3               A.     No.
      4               Q.     Have you done any work for the
      5         United States of America as opposed to the
      6         Ohio counties in conjunction with this
      7         matter?
      8               A.     No.
      9               Q.     Under the project name, which is
     10         the third column, flipping through this
     11         document to page 4 of Exhibit 9, at the
     12         top, the first set of white ones, November
     13         of 2018, they say "labeler flagging."
     14                      What's labeler flagging?
     15               A.     That's the -- that's an analysis
     16         of flagging metrics similar to what's in
     17         the report here to labelers' data.
     18               Q.     Same question with "Bellwether
     19         follow-up" at the bottom of the page, what
     20         does that mean?
     21               A.     So, one, I've been informed that
     22         it's Bellwether without the A, so
     23         apologies.      And then, two, at some point in
     24         time -- so we had been billing Summit and
     25         Cuyahoga separately, and the request to us

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      2         for analysis started grouping them more
      3         frequently, so we just pushed them into one
      4         case.
      5               Q.     These invoices that you provided
      6         us in Exhibit 3 and that have been
      7         summarized in Exhibit 9, they cover a time
      8         period from May 31st, 2018, to May 30th,
      9         2019.
     10                      Is that correct -- is that the
     11         correct time period for which Gryphon
     12         Strategies has actually billed for work on
     13         this matter?
     14               A.     Correct.      You know, we invoice
     15         monthly, so I don't know exactly at what
     16         point in May that I would have started on a
     17         case, but, yes.
     18               Q.     And obviously you've done work in
     19         June, this month?
     20               A.     Correct, yes.        Those have not
     21         been --
     22               Q.     Those have not been billed yet?
     23               A.     Yes.
     24               Q.     Do you know, as you sit here
     25         today, the amount of hours that you've put

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      2         in, in June?
      3               A.     No, I don't, but I'm sure they're
      4         somewhere similar as to what we've done in
      5         the past or so.
      6               Q.     Did the information contained in
      7         Exhibit 3 and summarized in Exhibit 9
      8         reflect the entirety of the work that
      9         you've don't in this case?
     10               A.     On this case, yes.
     11               Q.     Is there any work related to
     12         opioids for this litigation that you've
     13         done that's not reflected in these
     14         exhibits?
     15               A.     For this litigation, this is
     16         complete.
     17               Q.     What is the distinction you're
     18         drawing there?       What would be incomplete?
     19         What other work that you've done that is
     20         not for this litigation?
     21                      MS. CONROY:       Objection.      That's
     22               actually beyond the scope, if that's
     23               what your question means.
     24         BY MS. LEVY:
     25               Q.     I'm asking you, personally, what

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      2         work have you done that is not reflected in
      3         this litigation that relates to opioids?
      4               A.     So there are other cases around
      5         the country that I've done work on.
      6               Q.     Okay.     Understood.
      7                      Have you done any work for free,
      8         pro bono?
      9               A.     Yes, but not on opioids.
     10               Q.     I meant with respect to this
     11         litigation.
     12                      Have you done any work with
     13         respect to opioids or this litigation under
     14         any organization other than Gryphon?
     15               A.     For this litigation, no.
     16               Q.     For other litigations, have you?
     17         For other cases in this litigation, have
     18         you billed through somewhere else other
     19         than Gryphon?
     20               A.     No.
     21               Q.     All of your work on opioids has
     22         gone through Gryphon Strategies?
     23               A.     I want to make sure I'm super
     24         clear.     Because like we discussed earlier,
     25         I did work at the AG's office.             Of course I

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      2         didn't bill for that.          They're not part of
      3         this litigation.        So that's what I'm
      4         struggling with, making sure that I say the
      5         right thing.
      6               Q.     You haven't received any payment
      7         for your work on the opioid litigation that
      8         we don't see in these exhibits, correct?
      9               A.     That's correct.
     10               Q.     What is your compensation
     11         structure at Gryphon?
     12               A.     We're all salaried.
     13               Q.     What is your salary annually?
     14               A.     180.
     15               Q.     And is that -- the salary is the
     16         same regardless of what you bill?
     17               A.     There is a salary and then there
     18         is a bonus at the end of the year.
     19               Q.     How is the bonus calculated?
     20               A.     I would love to know.           But my
     21         boss decides what it is at the end of the
     22         year.
     23               Q.     Did you get a bonus at the end of
     24         2018?
     25               A.     I did.

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      2               Q.     What was your bonus?
      3               A.     It was either 20 or 25,000 I
      4         actually can't remember.
      5               Q.     And you don't know how it was
      6         calculated?
      7               A.     No.
      8               Q.     Is it based on the amount that
      9         you bill or the amount you bring in?
     10               A.     Yes and no.       I don't really know
     11         exactly.     I've asked my boss for more
     12         complete metrics.         I am metric person.
     13         Some of it is time with the firm, some of
     14         it is billable, some of it is just a factor
     15         X, I think.
     16               Q.     But you, Lacey Keller, are
     17         getting paid 180,000 a year regardless of
     18         what Gryphon is billing, correct?
     19               A.     Correct.
     20               Q.     Plus whatever bonus you get?
     21               A.     Correct.
     22               Q.     Got it.
     23                      And have you calculated how much
     24         money Gryphon has brought in as a result of
     25         the opioid litigation?

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      2               A.     No.
      3               Q.     If I represent to you that your
      4         own hours total 470 hours over the course
      5         of the last year, does that sound about
      6         right to you?
      7               A.     470 hours?
      8               Q.     I'm sorry, 870 hours.
      9               A.     That probably feels about right.
     10               Q.     And are you aware that Gryphon
     11         Strategies has invoiced over a
     12         million-and-a-half dollars for work that
     13         you and your team have done on the opioid
     14         litigation for these particular matters?
     15               A.     That probably makes sense.
     16                      MS. LEVY:      Okay.     I do not have
     17               any further questions for this witness.
     18               I will pass you along to the next
     19               co-defendant who wishes to be in this
     20               seat.
     21                      Let's go off the record for a
     22               minute so we can change questioners.
     23                      THE VIDEOGRAPHER:         The time is
     24               2:04 p.m.      We are now off the record.
     25                      (Recess is taken.)

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      2                      THE VIDEOGRAPHER:         The time is
      3               2:18 p.m.      We are now back on the
      4               record.
      5         EXAMINATION BY
      6         MS. LUCAS:
      7               Q.     Good afternoon, Ms. Keller.             I'm
      8         Amy Lucas.      I represent Janssen and J&J.
      9                      Can you turn to Exhibit 5, which
     10         is your report, at page 6 and look at
     11         paragraph 4, please?
     12               A.     Sure.
     13               Q.     It says, "The work I've done
     14         throughout my career relates directly to
     15         analysis undertaken in this report."
     16                      Is that accurate?
     17               A.     Correct.
     18               Q.     And you believe that, correct?
     19               A.     Correct.
     20               Q.     So if you take a look at
     21         paragraph 6 down at the bottom, the second
     22         sentence -- or the first about when you
     23         were the at New York AG's office, the
     24         second sentence says, "Frequently I was
     25         given a subject area to investigate without

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      2         having any prior expertise in the area.                I
      3         would then educate myself through research
      4         and talking with subject matter experts to
      5         allow me to help them identify new areas of
      6         investigation."
      7                      Is that accurate?
      8               A.     That is.
      9               Q.     In circumstances where are you
     10         were given an area to investigate without
     11         having prior expertise in the area, why
     12         would you educate yourself through research
     13         and talking with subject matter experts?
     14               A.     So that I can best do my job.
     15               Q.     It's important to you to
     16         understand the subject area that you're
     17         working in, right?
     18               A.     Of course.
     19               Q.     And you wouldn't want to offer
     20         opinions in a subject area without doing
     21         the work to understand that subject area,
     22         right?
     23               A.     Yes.
     24               Q.     I think you said earlier that you
     25         did not consider yourself to have expertise

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      2         in the area of manufacturers'
      3         anti-diversion and suspicious order
      4         monitoring programs before you were
      5         retained in this matter; is that correct?
      6               A.     That is correct.
      7               Q.     And you also said earlier that
      8         you never worked at the DEA, correct?
      9               A.     That is correct, I never worked
     10         at the DEA.
     11               Q.     And other than speaking to
     12         someone at DEA regarding the ARCOS data,
     13         you hadn't spoken to anyone else at the
     14         DEA, correct?
     15               A.     That is correct.
     16               Q.     You've also never worked as a
     17         detective on a DEA task force, right?
     18               A.     That is correct.
     19               Q.     You've never investigated any
     20         doctor who was suspected of overprescribing
     21         opioids for purposes of bringing charges
     22         against that doctor, correct?
     23               A.     That is correct.
     24               Q.     You've never spoken to anyone who
     25         has investigated a doctor suspected of

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      2         overprescribing, correct, for purposes of
      3         bringing charges?
      4               A.     Not that I can recall right now.
      5               Q.     You have never worked on any
      6         investigation by any doctor by any state
      7         medical board related to suspected
      8         overprescribing, correct?
      9               A.     Correct.
     10               Q.     You've never spoken to anybody
     11         who does such investigations, correct?
     12               A.     I don't think I have, no.
     13               Q.     You have never managed a
     14         registrant's suspicious order monitoring
     15         program, correct?
     16               A.     That is correct.
     17               Q.     What did you do to educate
     18         yourself on manufacturers' anti-diversion
     19         and suspicious order monitoring programs in
     20         connection with your work in this matter?
     21               A.     I read documents through
     22         discovery, so their own protocols, all of
     23         which are in my reliance materials.
     24               Q.     And those are the documents cited
     25         in your report in your reliance materials,

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      2         correct?
      3               A.     Correct.
      4               Q.     Other than reading those
      5         documents, what else did you do to educate
      6         yourself on manufacturers' anti-diversion
      7         and suspicious order monitoring programs?
      8               A.     I reviewed some depositions.
      9               Q.     Which depositions did you review?
     10               A.     I wouldn't be able to recall from
     11         memory right now, but those are definitely
     12         in my reliance materials.
     13               Q.     Anything else?
     14               A.     I believe I already cited the
     15         Masters decision and things like that.                So
     16         I believe that's all.
     17               Q.     Did you talk to any subject
     18         matter experts other than the one DEA
     19         employee regarding ARCOS data?
     20               A.     We might have random -- like
     21         there might have been one phone call, but I
     22         don't know that they would be subject
     23         matter experts in the area.
     24               Q.     Who was the phone call with that
     25         you have in mind?

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      2               A.     I remember having a call on a
      3         Saturday morning with someone who might
      4         have worked at the DEA, but I actually
      5         can't remember.        It was like, you need to
      6         talk to this person, and we briefly
      7         discussed compliance metrics.
      8                      And I don't remember a ton of the
      9         details from the conversation other than I
     10         was particularly interested in grouping or
     11         not grouping by drug code.            That's --
     12               Q.     What do you mean by that?
     13               A.     So when you're applying
     14         compliance metrics, you can choose -- some
     15         of them call for applying certain drug
     16         codes.     So a great example is the 8,000
     17         rule, right?       It says it should only apply
     18         to hydrocodone and a few other ones.               And
     19         so that hydrocodone would be considered its
     20         own drug code or drug grouping.
     21                      And so when applying other
     22         compliance metrics, did it make sense or
     23         not make sense, depending on the metric, to
     24         group by a drug code if there is any
     25         ambiguity in the documentation.

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      2               Q.     And what did -- this person was a
      3         current DEA employee?
      4               A.     I believe a former.
      5               Q.     And what did this person say?
      6               A.     I don't really recall because it
      7         didn't really change how we were going to
      8         do it.     I think, if I recall, there was
      9         some hedging of, well, it could be this or
     10         it could be that, so we just continued with
     11         exactly how we had planned.
     12               Q.     Other than asking a former DEA
     13         employee about grouping by drug code for
     14         compliance metrics, have you had any other
     15         conversations with any subject matter
     16         experts regarding your work in this matter?
     17               A.     Not that I can recall at this
     18         time.
     19               Q.     How long did that call last?
     20               A.     Oh, less than an hour for sure.
     21               Q.     And when was that call?
     22               A.     I don't recall the exact date.
     23         Like I said, I remember it being a Saturday
     24         morning because I remember walking my dog
     25         while I was on the call.

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      2               Q.     Do you know what makes an order
      3         reportable to the DEA as a suspicious
      4         order?
      5               A.     No, I do not.        As we discussed
      6         earlier, outside of my expertise.
      7               Q.     Do you know whether DEA expects
      8         registrants to conduct due diligence into
      9         flagging orders -- into flagged orders to
     10         determine whether they're actually
     11         suspicious before reporting it?
     12               A.     Again, as discussed earlier,
     13         outside of my expertise.
     14               Q.     Did you ever discuss whether
     15         to -- strike that.
     16                      Did you ever discuss whether to
     17         consider due diligence in running the
     18         metrics that you ran?
     19               A.     So --
     20               Q.     Let me start over.
     21                      You said earlier that in your
     22         report, if something is suspicious, you
     23         mean it just was tripped by one of the
     24         metrics, right?
     25               A.     That is correct.

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      2               Q.     And just because you used the
      3         word "suspicious" in your report, that
      4         doesn't mean it's suspicious as the DEA
      5         defines under the Controlled Substances
      6         Act, correct?
      7               A.     That's accurate.
      8               Q.     So did you ever consider whether
      9         you should take due diligence into account
     10         in creating your definition of suspicious?
     11               A.     So I'm pausing for this because
     12         there's the addendum that does the
     13         persistent flagging which assumes no due
     14         diligence because once the flag is
     15         triggered, it stays on for the perpetuity
     16         of the data set.
     17                      So in the sphere that is around
     18         that, then, yes.        And if we're talking
     19         about anything outside of that, then no.
     20               Q.     Are you aware whether -- strike
     21         that.
     22                      Did you look at any documents or
     23         deposition testimony regarding Janssen's
     24         due diligence of flagged orders?
     25               A.     I might have read a document or

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      2         two.    But, again, evaluating due diligence
      3         or any of that is outside of the scope of
      4         my expertise.
      5                Q.    So even if you evaluated it, you
      6         would not have incorporated any documents
      7         related to Janssen's due diligence of its
      8         flagged orders into your opinions?
      9                A.    I think the answer to that would
     10         be yes.     If I read a document, it doesn't
     11         impact the findings of the report.               The
     12         report was to apply the known compliance
     13         metrics to labelers on data.
     14                Q.    I want to ask you about the known
     15         compliance metrics.
     16                      Do you know what -- strike that.
     17                      A compliance metric is the same
     18         way of saying an algorithm, right?
     19                A.    Sure.
     20                Q.    Okay.     The SOMS algorithm, do you
     21         know what Janssen used for its suspicious
     22         order monitoring algorithm?
     23                A.    If it's not in my report, then
     24         no.    Or if it's in my report, then, yes.
     25         But if it's not in my report, then, no.

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      2         But I don't believe that we had a Janssen
      3         algorithm.
      4               Q.     I'll represent to you we haven't
      5         found one.
      6                      Why is it that you didn't use
      7         Janssen's suspicious order monitoring
      8         algorithm or compliance metric in your
      9         report?
     10               A.     If it's not here, then, which I
     11         don't think it is, I didn't know of it.                So
     12         if there was one, I'd be happy to implement
     13         it.
     14               Q.     How did you choose the compliance
     15         metrics that got included in the report?
     16               A.     As we were stating earlier, some
     17         were provided by counsel, others we found.
     18               Q.     So there was no instruction by
     19         anyone to make sure you included all of the
     20         defendants' algorithms in your report?
     21               A.     Well, I would say that's correct,
     22         there was no explicit instruction to
     23         include all or exclude all, include what
     24         you could find and go from there.
     25               Q.     Is it your understanding that

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      2         nobody could find Janssen's suspicious
      3         order monitoring algorithm?
      4               A.     I just wanted to look at one
      5         thing really quick.
      6                      (Document review.)
      7               Q.     What page are you on?
      8               A.     I'm trying to find it.           I'm
      9         sorry.
     10               Q.     Are you looking for the metrics?
     11               A.     Yeah.     I'm looking actually for
     12         the footnote about Janssen that describes
     13         the SOMS program.
     14                      (Document review.)
     15               A.     Because as I understood it, there
     16         wasn't one to implement.           But I just...
     17         that's what I wanted to review.
     18                      (Document review.)
     19               A.     So, yes, it was my understanding
     20         that there wasn't a metric.
     21               Q.     It was your understanding?
     22               A.     Correct.
     23               Q.     Did you ask anybody to confirm
     24         that?
     25               A.     I did.

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      2                Q.    Who did you ask?
      3                A.    Evan Janush, I think is his last
      4         name.    J-a-n-u s-h.
      5                Q.    And your understanding is that
      6         Mr. Janush told you that Janssen did not
      7         have a suspicious order monitoring
      8         compliance metric or algorithm?
      9                A.    Correct, that we could implement,
     10         yes.
     11                Q.    Did you find that footnote?
     12                A.    Yes.    I was on page 28 here.
     13         Footnote 83 is what I was looking for just
     14         to make sure.
     15                Q.    And footnote 83 says, "Janssen
     16         used chargeback and value track data on
     17         occasion for size only."
     18                      Is that what you were thinking
     19         of?
     20                A.    That is exactly what I was
     21         thinking of.
     22                Q.    And what makes you think that
     23         that supports the notion that Janssen did
     24         not have a suspicious order monitoring
     25         algorithm?

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      2               A.     So in some of these footnotes, we
      3         cite when SOMS programs were developed and
      4         what Bates numbers support those
      5         development.       And I wanted to make sure
      6         that Janssen didn't have one.
      7               Q.     Are you aware that -- have you
      8         ever spoken to James Rafalski?
      9               A.     I might have, but I'm not sure.
     10               Q.     Have you read his report?
     11               A.     Yes.
     12               Q.     You're aware that he's a
     13         plaintiff's expert in this case?
     14               A.     Yes.
     15               Q.     And are you aware that he
     16         evaluated Janssen's suspicious order
     17         monitoring program and, in particular, the
     18         algorithm that Janssen used?
     19               A.     If it was part of his report,
     20         then it would have been, yes.
     21               Q.     And so if you read his report and
     22         you understood that, then why is Janssen's
     23         suspicious order monitoring algorithm not
     24         part of your report?
     25                      MS. CONROY:       Objection.

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      2               A.     I believe his report was filed at
      3         the same time ours was.
      4               Q.     And so you learned that Janssen
      5         had a suspicious order monitoring algorithm
      6         after your report was already in?
      7               A.     Do you have Rafalski's report?
      8         I'd like to review it just to make sure
      9         that I know --
     10               Q.     I don't.
     11               A.     So I don't know what algorithm
     12         was discussed.       I mean, his report was
     13         quite lengthy, if I recall.            And so I'd
     14         have to look at it to know exactly what the
     15         algorithm was.
     16               Q.     But if you would have had the
     17         algorithm, you would have incorporated it
     18         into your report; is that correct?
     19               A.     Absolutely.
     20                      MS. CONROY:       Objection.
     21         BY MS. LUCAS:
     22               Q.     What are the Janssen products at
     23         issue in this litigation?
     24               A.     I don't know that I can name them
     25         by name.     It would be anything that

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      2         appeared in the IQVIA data or your own
      3         chargeback data.
      4               Q.     If you can take a look at page
      5         14, paragraph 44.
      6                      (Witness complies.)
      7               Q.     "I implemented the manufacturer
      8         and distributor-developed compliance
      9         metrics as documented without endorsement."
     10                      What does that mean to you?
     11               A.     That means what we were stating
     12         earlier on the record about I'm not
     13         endorsing saying one metric is better than
     14         another.
     15               Q.     "I implemented the metrics using
     16         a close reading of the best information
     17         available for produced documents and
     18         instruction by counsel, providing the most
     19         accurate reflection of labeler defendants'
     20         monitoring programs as they were
     21         represented in their own operating
     22         procedures and documentation."
     23                      What does that mean?
     24               A.     Sure.
     25                      So when you're reading a metric,

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      2         sometimes people explain -- you know, it
      3         may say take the 30 day average.              Well,
      4         what does that mean?          Does that mean a
      5         rolling 30 day or calendar 30 day?
      6                      So, you know, what I'm trying to
      7         encapsulate there is there might be -- you
      8         know, we're trying to do the best that we
      9         can, given the documents, to implement them
     10         to their truest meaning based off of
     11         testimony, depositions, the documents
     12         themselves.      That's what I'm trying to
     13         represent there.
     14               Q.     So what you did, though, here was
     15         you implemented metrics that Janssen didn't
     16         use, correct?
     17               A.     I couldn't speak to whether
     18         Janssen did or did not use a metric.
     19               Q.     Do you have any reason to believe
     20         that Janssen used any of the metrics listed
     21         in your report?
     22               A.     I wouldn't know.
     23               Q.     Let me ask it again.
     24                      Do you have any reason to believe
     25         that Janssen used any of those metrics

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      2         listed in your report, yes or no?
      3                      MS. CONROY:       Objection.
      4               A.     It's really outside the scope of
      5         my expertise.
      6               Q.     You haven't seen any information
      7         to suggest that Janssen used any of those
      8         metrics, correct?
      9               A.     I have not read a document that
     10         led me to believe that, correct.
     11               Q.     Therefore, since you didn't use
     12         Janssen's algorithm in your report, you
     13         don't have any opinion on what Janssen's
     14         algorithm would or would not have flagged,
     15         correct?
     16               A.     That is correct.         And I would
     17         like to know, just so if we're going to
     18         continue to talk about an algorithm, maybe
     19         what it was, so I can be a little bit more
     20         informed.
     21               Q.     One of the great things about
     22         deposing people is I get to ask the
     23         questions.      Your counsel can provide that
     24         to you afterwards.
     25                      MS. CONROY:       Objection.      Assumes

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      2               that it exists.
      3                      MS. LUCAS:       I think Mr. Janush
      4               knows about our -- Janssen's algorithm.
      5         BY MS. LUCAS:
      6               Q.     So I wanted to talk about your
      7         small labeler opinion.
      8                      And that applies only to Janssen,
      9         correct?
     10               A.     That is correct.
     11               Q.     And why is that?
     12               A.     So small labeler, I don't mean
     13         any offense to that because I understand
     14         Johnson & Johnson is a very large company,
     15         but when it comes to opioids, you have very
     16         few as it pertains to the market share,
     17         right?     You're a much lower market share.
     18               Q.     Actually, if you want to turn
     19         really quickly to page --
     20               A.     16 you're probably looking for.
     21               Q.     I am.
     22                      Page 16, table 1 and table 2.
     23         That reflects Janssen's market share in
     24         Summit County and Cuyahoga County, correct?
     25               A.     Yes.

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      2               Q.     And the largest percentage on
      3         that table is 0.9 percent, and the smallest
      4         one is 0.1 percent, correct?
      5               A.     That appears to be correct.
      6               Q.     Did you calculate those numbers?
      7               A.     I didn't do it by hand, but an
      8         algorithm did.
      9               Q.     How did you do that?
     10               A.     SQL query.
     11               Q.     And you concluded that Janssen
     12         had between 0.1 percent and 0.9 percent
     13         market share in Summit and Cuyahoga,
     14         correct?
     15               A.     Yes, depending on the metric and
     16         depending on the county.
     17               Q.     And other manufacturers, either
     18         defendants or otherwise not named in the
     19         complaints, had between 99.1 and 99.9
     20         percent of the market share, correct?
     21               A.     Yes.    I'm assuming you're taking
     22         the hundred minus yourselves and that's
     23         everybody else, yes.
     24               Q.     So then back to your small
     25         labeler opinion, why then did you conduct

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      2         the small labeler impact analysis as to
      3         Janssen?
      4               A.     It was asked of me to see what
      5         would happen if -- again, this is a
      6         hypothetical scenario.          And let me just
      7         flip to there just so I'm on the right
      8         page.
      9                      Do you have it.
     10               Q.     Small labelers starts on page 53.
     11               A.     Thank you so much.
     12                      (Document review.)
     13               A.     So it would be if a labeler, like
     14         yourselves, had identified a suspicious
     15         physician -- and when I say identified
     16         suspicious, I mean using the metrics -- and
     17         then flagged them and reported them and
     18         they were taken off-line completely, what
     19         would be the downstream impact of that.
     20               Q.     And why did you conduct that
     21         analysis?
     22               A.     It was requested.
     23               Q.     Who requested it?
     24               A.     Linda Singer.
     25               Q.     When did she request that you do

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      2         the small labeler analysis?
      3               A.     At some point in March or April.
      4               Q.     Did you have any input into the
      5         methodology of the small labeler impact
      6         analysis?
      7               A.     Of course.
      8                      MS. CONROY:       Objection.
      9         BY MS. LUCAS:
     10               Q.     What exactly were your
     11         instructions from Ms. Singer, to the best
     12         of your recollection?
     13               A.     I would say pretty much as
     14         written was it's a hypothetical scenario,
     15         assuming that, let's say, a physician is
     16         flagged, he then or she was reported and
     17         taken off-line for the duration of his or
     18         her prescribing habits or prescribing
     19         history, I should say.          How we went about
     20         doing that was on our own.
     21                      And even --
     22               Q.     So let me just make sure I
     23         understand.      You were instructed to work
     24         backwards from a hypothetical scenario
     25         where a physician is flagged and reported

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      2         and taken off-line and then figure out how
      3         to create that methodology?
      4                      MS. CONROY:       Objection.
      5               A.     I'm not sure I would characterize
      6         it that way.       We were given an assignment
      7         of someone is -- a physician is flagged and
      8         then there is, you know, a lot of things
      9         that have to come after that, but assuming
     10         once they've been flagged, they're taken
     11         off-line, what is the impact on the rest of
     12         the county.
     13               Q.     You said a lot of things have to
     14         happen after the flagging.
     15                      What are those things that have
     16         to happen after a physician is flagged?
     17               A.     So like I said earlier, I'm not
     18         an expert in due diligence or reporting
     19         requirements to the DEA.
     20                      So with that in mind, to make
     21         this work, I had to make the assumption
     22         that once flagged, they stopped
     23         prescribing.
     24               Q.     At the moment the flagging
     25         happened; is that correct?

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      2               A.     I believe so, yes.         I'd have to
      3         look at the code to be for certain.
      4               Q.     So in order for this analysis to
      5         work, you had to assume that the prescriber
      6         was taken off-line the moment the metrics
      7         used were tripped and there was a flag,
      8         correct?
      9                      MS. CONROY:       Objection.
     10               A.     I would say for this hypothetical
     11         situation to present itself, yes, once
     12         someone was flagged and they were taken
     13         off-line, what their, what amount of
     14         prescriptions were then taken off-line.
     15                      I'm trying to say it the best way
     16         I can.     I'm sorry if I'm not being clear.
     17               Q.     Do you believe that your small
     18         labeler impact opinion is an accurate
     19         representation of what happens in the real
     20         world?
     21               A.     I'm not really an expert to say
     22         that.
     23               Q.     Do you have any beliefs on
     24         whether it's an accurate representation of
     25         what would happen in the real world?

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      2               A.     Any beliefs?       Outside of my
      3         expertise here.
      4               Q.     You haven't considered it at all?
      5               A.     Not as an expert.
      6               Q.     As a non-expert?
      7               A.     I mean, of course you think about
      8         things, but I'm not here to talk about
      9         those.
     10               Q.     What do you think about it?
     11               A.     I mean, I think it's a -- I
     12         guess, I mean it's like you give it
     13         fleeting thoughts of like -- I don't even
     14         really know how to talk about like random
     15         thoughts that you have like while riding a
     16         bicycle on the way to work about things.
     17         Like, you know, I'm thinking about my small
     18         labeler impact; I don't really carry it
     19         down the logical path of, well, does due
     20         diligence actually happen or does this
     21         actually happen.        I don't go into that
     22         great detail.       So maybe it was a
     23         mischaracterization to say do I think about
     24         it.   I don't know.        I've kind of walked
     25         myself into --

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      2               Q.     Well, if you want to go back to
      3         page 11, paragraph 34:          "I was asked by
      4         plaintiff's counsel to include additional
      5         analysis that examined what would have
      6         happened if a labeler with a comparatively
      7         small market share had reported and stopped
      8         supplies to suspicious prescribers.
      9                      "I demonstrated that if Janssen,
     10         the defendant labeler with the second
     11         smallest market share in Summit and
     12         Cuyahoga Counties, had reported suspicious
     13         activity, prescriptions for millions of
     14         dosage units could have been stopped in
     15         Summit and Cuyahoga Counties."
     16                      That's very definitive.           Do you
     17         believe that is an accurate statement?
     18               A.     It's a hypothetical situation.
     19         As we discussed in that section, it's a
     20         hypothetical analysis.
     21               Q.     Right, but paragraph 34 says you
     22         were asked to examine what would have
     23         happened.
     24                      Are you saying now that your
     25         small labeler opinion is not a statement of

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      2         your opinion of what would happen?
      3               A.     So I would say that the change
      4         that we made earlier in the corrections
      5         where we went from "would" to "could,"
      6         those should have been throughout.               I
      7         didn't really get to talk about every
      8         single change here.         But, again, these are
      9         "could" statements, and I think we stated
     10         that pretty definitively in the first part
     11         of this deposition.
     12               Q.     Right.     I asked because I noticed
     13         that the corrections didn't apply to this
     14         paragraph.      And so you are now saying that
     15         you meant to say "could" have happened?
     16               A.     I would be most comfortable with
     17         saying "could."
     18               Q.     And "could" means that it's
     19         feasible, correct?
     20               A.     I think that's what that word
     21         means, yes.
     22               Q.     Do you believe that your small
     23         labeler impact opinion is feasible in the
     24         real world?
     25               A.     I'm not here -- I won't talk

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      2         about real world.         It's outside of my
      3         expertise.
      4               Q.     So you're not offering any
      5         opinion about whether your small labeler
      6         impact opinion could happen in the real
      7         world, right?
      8                      MS. CONROY:       Objection.
      9               A.     So I think we've said here that
     10         this was what could happen.            I'm not
     11         offering an opinion about what would happen
     12         or should happen.
     13               Q.     Right.
     14                      But you're also not offering an
     15         opinion about what could happen as applied
     16         in the real world, right?
     17               A.     I guess I'm not really
     18         understanding the difference between that
     19         question and the one that I just answered.
     20               Q.     Well, because you said this is
     21         all hypothetical.
     22               A.     Sure, but it relies on real-world
     23         data.
     24               Q.     Which data?
     25               A.     The IQVIA data.

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      2               Q.     It is then your opinion that this
      3         could happen in the real world, correct?
      4               A.     It seems a little... it's a lot
      5         of time to spend on a hypothetical, but,
      6         yes, if all of the assumptions that were
      7         outlined in the report that the labeler was
      8         -- or that the labeler identified the
      9         prescriber and that all the different steps
     10         were taken to take them off-line, then,
     11         yes, it could happen in the real world.
     12               Q.     Well, the only two assumptions I
     13         think I heard were that one of the metrics
     14         was tripped and a flag went up, correct?
     15               A.     That is one part of the
     16         hypothetical.
     17               Q.     And Janssen would report that
     18         prescriber to law enforcement as
     19         suspicious, right?
     20               A.     So as part of the hypothetical,
     21         they would be tripped, Janssen could report
     22         them.    That prescriber, through whatever --
     23         or they could be reported, or they could
     24         stop prescribing, whatever the means are to
     25         get them to stop prescribing.

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      2                      But the whole point of the
      3         analysis is that that prescriber who was
      4         flagged then stops prescribing.              I don't
      5         really claim or really fill out the blanks
      6         between what gets from A to B.
      7               Q.     You said that your assumption is
      8         that the prescriber would stop prescribing
      9         immediately upon the metric being tripped,
     10         right?
     11               A.     Correct.
     12               Q.     Do you have any basis to believe
     13         that those assumptions would happen in the
     14         real world?
     15               A.     It's really outside of my
     16         expertise.
     17               Q.     You don't know?
     18               A.     I don't know.
     19               Q.     Have you ever thought when you
     20         were thinking about this analysis whether
     21         it was flawed?
     22                      MS. CONROY:       Objection.
     23               A.     I think --
     24                      MS. CONROY:       Which analysis?        The
     25               hypothetical you're talking about or --

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      2                      MS. LUCAS:       Her small labeler
      3               analysis.
      4                      MS. LEVY:      Okay.     I just want --
      5               it's a pretty broad question.
      6                      MS. LUCAS:       The report, no.
      7               We've been talking about the small
      8               labeler.      Let me ask it again.
      9         BY MS. LUCAS:
     10               Q.     You said earlier that, you know,
     11         sometimes you thought about the analysis
     12         and the small labeler impact.
     13                      Did you ever think that it was
     14         flawed?
     15               A.     No.    But I will say I always
     16         think about where things could go wrong.
     17         That's the point of being a good analyst
     18         and data scientist.         It's always are we
     19         looking for the right things, have we
     20         applied things correctly, are we making
     21         conservative assumptions.
     22               Q.     Where do you think things could
     23         have gone wrong in the small labeler
     24         analysis?
     25               A.     So the whole hypothetical I think

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      2         is maybe what's at issue here.             That's the
      3         hypothetical situation that I was asked to
      4         enact, so that is what it is.
      5               Q.     Do you think there is anything
      6         that could have gone wrong in the small
      7         labeler analysis in the assumptions that
      8         you were making?
      9                      You just said "I want things to
     10         be accurate."
     11                      Do you think this is accurate?
     12               A.     I think it is an accurate
     13         implementation of the hypothetical
     14         situation that we were asked to enact.
     15               Q.     We'll come back to this one in a
     16         minute.
     17                      I want to talk about chargeback
     18         analysis for a moment.
     19                      Can you take a look at page 59
     20         and table 35.
     21                      (Witness complies.)
     22               Q.     And I think we said -- you said
     23         earlier that you changed -- table 35 is the
     24         use of chargeback data for compliance,
     25         right?

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      2                A.    Correct.
      3                Q.    And you changed in your
      4         corrections the Endo, Par and Qualitest nos
      5         in that far right column of whether they
      6         used chargeback in suspicious order
      7         monitoring program from "no" to "yes."                But
      8         Johnson & Johnson and Janssen is listed as
      9         no without any citation.
     10                      Why is that?
     11                A.    So it's hard to cite to a
     12         document that I don't have.            If there was a
     13         "yes," then there would be a document to
     14         cite to.
     15                Q.    And did somebody tell you to
     16         assume "no" for these purposes?
     17                A.    I was told, and I think reflects
     18         similarly in the footnote earlier that we
     19         discussed, maybe it was 83.
     20                      Give me one second.
     21                      (Document review.)
     22                Q.    Well, let me ask you a different
     23         way.
     24                      When you say "suspicious order
     25         monitoring program," are you talking about

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      2         only the algorithm?
      3               A.     Yes, I think that would be a
      4         better characterization.
      5               Q.     So you're excluding from
      6         suspicious order monitoring program, any
      7         follow-up due diligence that the suspicious
      8         order monitoring department did when an
      9         order was flagged, right?
     10                      MS. CONROY:       Objection.
     11               A.     Yeah, I would say that's outside
     12         of the scope.       So to the extent that there
     13         was an algorithm that we could implement
     14         and chargebacks were used as part of that
     15         algorithm, then they get the "yes" here.
     16               Q.     Got it.
     17                      And so...
     18                      (Document review.)
     19               Q.     All right.       Take a look at page 4
     20         of the --
     21                      MS. LUCAS:       Do we have the errata
     22               sheet marked?
     23                      MS. CONROY:       Yes.
     24                      MS. LUCAS:       From 5/11?
     25                      Has this been marked?

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      2                      MS. VENTURA:       No.
      3                      (Keller Exhibit 10, Expert
      4               Analysis - Errata Sheet: Lacey R.
      5               Keller, not Bates-stamped, marked for
      6               identification, as of this date.)
      7         BY MS. LUCAS:
      8               Q.     If you look at page 4, table 4.
      9                      MS. CONROY:       Do you have another
     10               copy?
     11                      MS. LUCAS:       Sure.    I'm sorry,
     12               Jayne.
     13         BY MS. LUCAS:
     14               Q.     This identifies a number of
     15         pharmacies flagged by running your
     16         compliance metrics over each labeler's
     17         chargeback data, correct?
     18               A.     Sorry.     Give me one second.
     19                      (Document review.)
     20               A.     Yes.
     21               Q.     And for Janssen, it says total
     22         buyers 12.
     23                      Does that mean total buyers in
     24         all or total buyers in the chargeback data?
     25               A.     That would be total buyers that

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      2         appeared in the chargeback data.
      3               Q.     And for seven of them, you say
      4         that seven were flagged by any metric,
      5         correct?
      6               A.     Sorry, just a second.           I just
      7         want to make sure.
      8                      So your question earlier, it says
      9         total buyers, 12.         Yes, total buyers in the
     10         chargeback data.        And then seven of which
     11         were flagged by any metric.
     12               Q.     Did you do any research yourself
     13         to determine whether any of those buyers
     14         were actually suspicious?
     15                      MS. CONROY:       Objection.
     16               A.     That would be outside of the
     17         scope of my expertise.
     18               Q.     And if you take a look back at
     19         your report in Exhibit 5 at page 28, table
     20         6, this is about IQVIA data.
     21                      I want to confirm what I think is
     22         going to be the case based on what you just
     23         told me.
     24                      In paragraph 80, it says,
     25         "Janssen discusses using IQVIA data for

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      2         one-off investigations of suspicious
      3         activity."
      4                      There's no citation there.            What
      5         is the basis for that statement?
      6                      (Document review.)
      7               A.     If it's not in my reliance, then
      8         it would have been from an attorney.
      9               Q.     And the reason that you have "no"
     10         listed in the table, whether Janssen used
     11         IQVIA data for compliance, is because you
     12         were considering only the algorithm,
     13         correct?
     14               A.     Yes.    And now that I'm thinking
     15         about this, this citation here, chargeback
     16         and value track should really -- that
     17         citation makes more sense on the table
     18         later in the document.
     19                      But again, yes, if there is an
     20         algorithm that would have referenced using
     21         IQVIA data in some way, that's the
     22         intention of giving a "yes" there.
     23               Q.     Do you believe the IQVIA data
     24         that forms the basis of part one of your
     25         report, the prescriber opinions, is

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      2         accurate?
      3               A.     I have to assume that it is.
      4               Q.     Is it important that that data be
      5         accurate?
      6               A.     Yes.
      7               Q.     If the IQVIA data turned out to
      8         not be accurate, would that potentially
      9         affect your opinions?
     10                      MS. CONROY:       Objection.
     11               A.     It really would depend on the
     12         error or what might be considered accurate.
     13         As we were talking earlier, the data was
     14         thought to be missing 2007.            The inclusion
     15         of that would lead to a potentially
     16         additional flagging.
     17                      So depending on characterization,
     18         that could be accurate/inaccurate.               You
     19         know, that's a term of art, so it really
     20         depends.
     21                      MS. LUCAS:       I'm going to mark
     22               this Exhibit 11 an FDA report stating,
     23               "FDA reports quality problems for data
     24               provided by the firm IQVIA that were
     25               used to inform estimates for some

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      2               controlled substances."
      3                      (Keller Exhibit 11, Press release
      4               entitled "FDA reports quality problems
      5               for data provided by the firm IQVIA
      6               that were used to inform estimates for
      7               some controlled substances", marked for
      8               identification, as of this date.)
      9         BY MS. LUCAS:
     10               Q.     Have you seen this document
     11         before?
     12               A.     This document, no, but I do
     13         remember reading the press release when it
     14         came out.
     15               Q.     And when did you review the press
     16         release?     In May of 2008?
     17               A.     2018, I believe.
     18               Q.     I'm sorry, 2018.
     19                      And did you have any concerns
     20         when you read this report about IQVIA data
     21         inaccuracies when you read it in 2018?
     22               A.     I mean, it really depends on
     23         which data set.        IQVIA offers many.
     24               Q.     Did you ever ask anyone whether
     25         the data set that you had might be subject

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      2         to the inaccuracies that are reported in
      3         this press release?
      4               A.     I mean, the data set was provided
      5         by Allergan.       We did not purchase it.
      6               Q.     Do you know where Allergan got
      7         the data set?
      8               A.     I do not.      But I assume that it's
      9         IQVIA.
     10               Q.     Did you ever ask anyone, though,
     11         whether anybody had checked to see whether
     12         the data set suffered from the same
     13         inaccuracies that are in this report in
     14         Exhibit 11?
     15               A.     I need to review the inaccuracies
     16         here before I answer that.
     17                      (Document review.)
     18               Q.     Well, it says, "While conducting
     19         analyses," this is fourth paragraph, "While
     20         conducting analyses to estimate the amount
     21         of prescription opioids sold in the U.S.,
     22         FDA found a discrepancy in the IQVIA data
     23         that showed a more than 20 percent drop in
     24         the reported amount expressed in kilograms
     25         of Fentanyl sold for a minimum of the past

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      2         five years compared to what IQVIA's
      3         database had previously reported."
      4                      Is that something that would have
      5         been relevant to your analysis?
      6               A.     It really depends on what data
      7         set's impacted, whether or not the data set
      8         was purchased prior to or after this.
      9         There's lots of factors that could go into
     10         that.
     11               Q.     And did you ask anyone whether
     12         the data set you had might be affected by
     13         this inaccuracy?
     14               A.     I really just needed to take the
     15         data set as it was presented.
     16               Q.     Is that a no?
     17               A.     Yes.    Yes, that is a no, to make
     18         that clear.
     19               Q.     And then if you look at the
     20         second to last paragraph of the document,
     21         third to last says, "Since the FDA
     22         identified these issues, our scientists
     23         have being looking methodically at the
     24         IQVIA data for similar errors relating to
     25         other opioids and non-opioid controlled

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      2         substances."
      3                      And then the next paragraph says,
      4         "As a result of this work, we identified
      5         additional data quality issues related to
      6         several other controlled substances with
      7         similar weight-based conversion factors
      8         including oxymorphone and hydrocodone.
      9         These additional errors raised serious
     10         concerns about systemic issues with IQVIA's
     11         data and quality control procedures."
     12                      Is that something that you would
     13         want to know, whether these errors affected
     14         the data set you were working on?
     15                A.    I would definitely like to know
     16         the extent of the errors, what particular
     17         NDC codes they affected and whether this
     18         data set would be affected.            But, again,
     19         there's lots of unknowns here, which data
     20         set.    Is at the IQVIA XPO or other data
     21         sets.
     22                Q.    So it would be important to know
     23         if the data set you were working with was
     24         affected by these errors, correct?
     25                      MS. CONROY:       Objection.

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      2               A.     Yes.
      3               Q.     I want to go back through --
      4                      MS. CONROY:       Is this a good time
      5               for a break?        We've been going for
      6               about an hour.        Is this a good time for
      7               a break if we finished with this
      8               document?
      9                      MS. LUCAS:       Yeah, we can take a
     10               short break.
     11                      THE VIDEOGRAPHER:         The time is
     12               3:05 p.m.      We are now off the record.
     13                      (Recess is taken.)
     14                      THE VIDEOGRAPHER:         The time is
     15               3:23 p.m.      We are back on the record.
     16         BY MS. LUCAS:
     17               Q.     Ms. Keller, can you take a look
     18         at page 30 of the report at Exhibit 5 and
     19         look at table 9?
     20                      (Witness complies.)
     21               Q.     It's the total prescriptions
     22         flagged by compliance metrics by labeler.
     23               A.     Yup.
     24               Q.     Then it lists the manufacturers
     25         and the number of prescriptions that were

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      2         flagged by the different standards and then
      3         any flag.
      4                      Do you see that?
      5               A.     Yes.
      6               Q.     Did you ever consider what
      7         percentage of prescriptions were being
      8         flagged by these metrics in relation to the
      9         total number of prescriptions for each
     10         manufacturer?
     11               A.     It doesn't appear to be one of
     12         these tables, but it would be possible to
     13         pull.
     14               Q.     Did you consider it?
     15               A.     I don't remember if I pulled that
     16         exact breakdown, but it's definitely a way
     17         that you can pull the data.
     18               Q.     Do you know about what percentage
     19         of the prescriptions were flagged?
     20               A.     By each metric?        Yes.     That's on
     21         table 7.
     22               Q.     No, by prescriber.
     23               A.     By each prescriber?
     24               Q.     Right.
     25               A.     So we do that --

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      2               Q.     Or, sorry, by labeler.           Strike
      3         that.
      4                      Do you know each labeler, what
      5         percentage of their prescriptions were
      6         being flagged?
      7               A.     Not with me, no.
      8               Q.     Do you have any opinions on what
      9         percentage of doctors in the Cuyahoga and
     10         Summit County areas were prescribing
     11         irresponsibly?
     12               A.     No.    I stated earlier in
     13         testimony today, that's outside of my
     14         expertise.
     15               Q.     I have a few more questions about
     16         your small labeler impact opinions, if you
     17         want to go back to page 53.
     18               A.     Thank you.
     19                      (Document review.)
     20               Q.     I wanted to confirm, in your
     21         small labeler analysis, were doctors
     22         flagged for their prescriptions of Janssen
     23         products only or did you flag a doctor
     24         based on number of non-Janssen
     25         prescriptions so long as that doctor

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      2         prescribed any Janssen product?
      3               A.     Give me one moment to re-review
      4         the methodology here.
      5                      (Document review.)
      6               A.     So I'd have to look at the code
      7         to make sure I'm saying this most
      8         accurately, and I would be happy to do
      9         that, but I think what we did was you had
     10         to have six months of consecutive
     11         prescribing Janssen products first.               And
     12         then once you reached that threshold, you
     13         were then flagged.         And I think we say
     14         here, in paragraph 114, that we used
     15         Janssen drugs as well as everybody else's.
     16               Q.     Where do you see that?
     17               A.     The very last statement.            Oh,
     18         hang on, actually.         Maybe I am misstating
     19         that.    Give me one second.
     20               Q.     Okay.
     21                      (Document review.)
     22               A.     I don't know that we actually
     23         specifically addressed whether we flagged
     24         them based off of all drugs or just Janssen
     25         products.      I'd have to consult the code to

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      2         be for certain.
      3               Q.     Let's quickly run through the
      4         code.    Exhibit 12.
      5                      (Keller Exhibit 12, Report on
      6               Script.SQL, not Bates-stamped, marked
      7               for identification, as of this date.)
      8         BY MS. LUCAS:
      9               Q.     If you can take a look at page 7
     10         through 12.      Pages 7 -- starting at the
     11         middle where it says "drop table" through
     12         page 12 that ends kind of towards the
     13         middle-ish where it says "B, year" and then
     14         the next word is "select," that's our
     15         understanding of the small labeler
     16         analysis.
     17                      Could you confirm that, please?
     18                      (Document review.)
     19               A.     Sorry, dense code.
     20                      (Document review.)
     21               A.     Yes, this appears to be the small
     22         labeler analysis.
     23               Q.     And by looking at this analysis,
     24         does that tell you whether or not doctors
     25         were flagged based on Janssen prescriptions

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      2         or all labelers' prescriptions?
      3               A.     It will, but I have to find it.
      4         Sorry.
      5                      (Document review.)
      6               A.     So what this appears to me is
      7         that Janssen -- so you first have to
      8         prescribe a Janssen product for six months.
      9         And after that point, the first flag that
     10         you're flagged on is the flag no matter
     11         what the labeler is.
     12               Q.     Where do you see that in the
     13         code?
     14               A.     It's through a series of steps.
     15         So first there is a chunk of code that
     16         identifies the first date of flagging.                And
     17         there is a chunk of code with a bunch of
     18         nested queries.
     19               Q.     What page are you on, 7?
     20               A.     I start on 7.
     21                      It's actually really hard to read
     22         formatted this way, so I'm sorry.              It's
     23         really hard to follow.          But the gist of it
     24         is, yes, you first have a date you're
     25         flagged, your earliest flag date.              And then

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      2         there is a date in which you are -- your
      3         first date of -- your sixth month of
      4         prescribing a Janssen product.             And
      5         whatever flag date that occurs after that
      6         six month of prescribing Janssen, then you
      7         would be...
      8               Q.     So let me make sure I understand
      9         this correctly.
     10                      This small labeler analysis
     11         requires, in order for someone to be
     12         flagged, first requires prescribing a
     13         Janssen product for six months, correct?
     14               A.     Correct, for six -- I believe
     15         it's even more stringent.           It's six months
     16         within a year.
     17                      Because I think we partitioned it
     18         by data date, which would give it a year.
     19         But, again, it's definitely six months of
     20         Janssen prescribing.          And then after which,
     21         that point in time, then the first date of
     22         flagging.
     23               Q.     Okay.     So in order for a
     24         prescriber to be flagged, it would have to
     25         be six months of Janssen prescribing and

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      2         then one of these three metrics being
      3         tripped, not just for a Janssen product but
      4         it could be for any opioid product,
      5         correct?
      6               A.     Correct.      For the three products
      7         that -- so we exclude one because -- and I
      8         believe that's the McKesson 8,000 because
      9         Janssen doesn't have those drugs, and so it
     10         wouldn't really be paying attention to that
     11         line of business.
     12                      And so our assumption would be,
     13         yes, any of the other three metrics could
     14         have been applied.
     15               Q.     But let me just say, does the --
     16         strike that.
     17                      Does the small prescriber
     18         analysis include flags that Janssen should
     19         have seen for Endo's medications?
     20               A.     I'm not going to talk about what
     21         should have been seen.
     22               Q.     I'm meaning that like in could it
     23         be tripped.
     24               A.     Yes, because the assumption with
     25         IQVIA, just like Allergan has access to

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      2         data on Purdue, is that, yes, Janssen could
      3         see prescriptions being written about other
      4         labelers.
      5               Q.     So in addition to the assumptions
      6         that we talked about before that Janssen --
      7         that one of the flags was tripped and then
      8         Janssen reported and then immediately the
      9         prescriber stopped prescribing after being
     10         reported to law enforcement authorities,
     11         the other assumption that's baked into here
     12         is that Janssen was monitoring other
     13         manufacturer's medications being
     14         prescribed, correct?
     15                      MS. CONROY:       Objection.
     16               A.     I wouldn't say that they are
     17         monitoring, but --
     18               Q.     Under this hypothetical.
     19               A.     -- that they were looking at the
     20         prescribing history that would have
     21         included those labelers.
     22                      So it depends on the metric.
     23         Some metrics look at -- some of the
     24         metric -- or, I'm sorry.           Some of the
     25         metrics, so if it's "common sense" or

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      2         whatnot, they look at all of them together.
      3         They're not really labeler by labeler
      4         because it's the whole prescribing history
      5         that matters.
      6               Q.     Do you have any basis in the
      7         evidence to say that Janssen was ever
      8         monitoring for reporting purposes other
      9         labelers' medications?
     10               A.     That would be outside of my
     11         expertise.
     12               Q.     Is that a "no"?
     13               A.     Again, it's just outside of my
     14         expertise.
     15               Q.     Well, my question is a little
     16         different.
     17                      Do you have any basis in the
     18         evidence to say that you know Janssen was
     19         ever monitoring for reporting to law
     20         enforcement purposes other labeler's
     21         medications?
     22               A.     So it's not as easy as a "yes" or
     23         "no" because you're asking me to review
     24         evidence that I wasn't asked to review.                So
     25         I can't really make a statement here.

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      2               Q.     So you have not seen any evidence
      3         that Janssen was reviewing for law
      4         enforcement reporting purposes other
      5         labeler's medications, correct?
      6               A.     Again, I have not reviewed that.
      7         That was not my expertise.
      8               Q.     Do you have any basis to believe
      9         that there is a duty under the Controlled
     10         Substances Act for any manufacturer to
     11         monitor other manufacturer's medications
     12         for purposes of reporting to law
     13         enforcement authorities?
     14                      MS. CONROY:       Objection.
     15               A.     Again, that's outside of my
     16         expertise.
     17               Q.     And you've never seen any
     18         evidence of that, right?
     19               A.     Again, it's outside of my
     20         expertise, so I wouldn't be looking at that
     21         type of evidence.
     22               Q.     But you haven't seen any of that
     23         evidence, correct?
     24                      MS. CONROY:       Objection.
     25               A.     Again, I wouldn't have been

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      2         looking for it.
      3               Q.     Well, I guess I'm trying to
      4         understand why this opinion exists if you
      5         can't tell me that there is any evidence in
      6         the record that it reflects things that
      7         actually happened.
      8               A.     I mean, it was a hypothetical
      9         request by -- to me, and so that's what I
     10         enacted.     I was asked to enact that.
     11               Q.     Quickly, you said that your
     12         opinion assumes that the doctor would stop
     13         prescribing immediately upon being reported
     14         to law enforcement, correct?
     15                      MS. CONROY:       Objection.
     16               A.     I would say the assumption is
     17         that they do not have any more
     18         prescriptions.       However that comes to be
     19         is...
     20               Q.     But do you know how long
     21         investigations into prescribers take?
     22               A.     Outside of my expertise.
     23               Q.     Well, if you look at page 40 of
     24         your report, on paragraph 96, it's talking
     25         about a prescriber named Ronald Celeste.

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      2         And there was an "...uptick in
      3         prescriptions caught the attention of the
      4         authorities, who launched a two-year
      5         investigation into his practice in 2014."
      6                      So you know here, in your report,
      7         is that the investigation into Mr. Celeste
      8         lasted two years, correct?
      9               A.     That was what was reported in the
     10         news.
     11               Q.     And that's in your report, right?
     12               A.     It is, but it's one
     13         investigation.       I can't say what's typical
     14         length of time for an investigation.               It's
     15         outside of my expertise.
     16               Q.     Yes or no, are you aware of any
     17         instance ever in the real world where a
     18         prescriber stopped prescribing the moment
     19         that an investigation was opened into him
     20         or her?
     21                      MS. CONROY:       Objection.
     22               A.     I'm not really here to talk about
     23         the real world.        It's outside of my
     24         expertise, so I can't answer a "yes" or
     25         "no" to that.

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      2               Q.     Well, that's not my question.
      3         I'm asking you if are aware of any instance
      4         in the real world where a prescriber ever
      5         stopped prescribing the moment an
      6         investigation was opened.
      7               A.     Again outside of my expertise, so
      8         I can't speak to something that I know or
      9         don't know.
     10               Q.     You don't know what you don't
     11         know?
     12               A.     Actually, I don't know what I
     13         don't know?
     14               Q.     I mean, I'm -- you're avoiding my
     15         question because my question is pretty
     16         simple.
     17                      It's are you aware of any
     18         instance where a prescriber stopped
     19         prescribing the minute that an
     20         investigation was opened into his or her
     21         prescribing practices?
     22                      MS. CONROY:       Objection.
     23         BY MS. LUCAS:
     24               Q.     Do you know of that, yes or no?
     25               A.     I just am not going to answer a

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      2         question about something that's not my area
      3         of expertise.
      4               Q.     Well, refusing to answer
      5         something and not knowing are different
      6         things.
      7                      Is it then correct that you don't
      8         know of any instance where a prescriber
      9         stopped prescribing the minute that an
     10         investigation was opened into his or her
     11         prescribing practices?
     12               A.     Look, I haven't looked at that.
     13         It's not part of my expertise.             I would not
     14         know because it's not part of my expertise.
     15               Q.     But you're offering an expert
     16         opinion on this fact that assumes this.
     17         And in order to offer this opinion, you
     18         have to have some factual basis for it.
     19                      So do you have a factual basis
     20         for this opinion or not?
     21                      MS. CONROY:       Objection.
     22               A.     So what I'm offering is a
     23         hypothetical scenario using the data that's
     24         been provided to me.          I have no expertise
     25         in the real world, due diligence, et

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      2         cetera, that goes beyond that.             So there's
      3         a set of assumptions that go into this and
      4         that is all.
      5               Q.     So in order for you to get on the
      6         stand and testify about this opinion at
      7         trial, you must identify a factual basis.
      8                      Can you do that today?
      9                      MS. CONROY:       Objection.
     10               A.     I really don't know what will go
     11         into that and so I can't answer that.
     12               Q.     Is one of the other assumptions
     13         in your small labeler impact analysis that
     14         the patient who would have gotten the
     15         prescription of the flagged doctor does not
     16         go to another doctor and get that same
     17         prescription?
     18               A.     I wouldn't say that we talk about
     19         anything about patients in this report.
     20               Q.     You didn't consider that?
     21               A.     That was not something I would
     22         consider as part of this set of
     23         assumptions.       The patients are not
     24         considered in really anywhere in this
     25         report.

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      2               Q.     And you didn't consider also
      3         whether or not whether the medical board
      4         would revoke prescribing privileges
      5         immediately, correct?
      6               A.     Again, it was not part of the
      7         assumptions yes or no.          It's just we had
      8         too make the assumption -- to do the
      9         analysis, you make the assumption that the
     10         prescriber stopped prescribing.              The steps
     11         between medical board, due diligence, et
     12         cetera...
     13               Q.     Right.     Because it doesn't work
     14         unless you assume that the prescriber
     15         stopped prescribing immediately, correct?
     16               A.     I wouldn't characterize it as it
     17         doesn't work.       It's just part of the
     18         exercise.
     19               Q.     Well, does it work if the
     20         prescriber didn't stop prescribing
     21         immediately?       Does the result stay the
     22         same?
     23               A.     So you could create a period of
     24         which time -- you know, you could say give
     25         them six months after which they were first

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      2         flagged and implement that.            It's an
      3         analysis.      How I complete the analysis can
      4         work -- you can bake in any amount of time
      5         you'd like, after which time they're first
      6         flagged if that's --
      7               Q.     But for this --
      8               A.     -- part of this.
      9               Q.     Sorry.
     10               A.     Yes, but for this, that was not
     11         part assumption.
     12                      MS. LUCAS:       I will reserve my
     13               rights given the time constraints and
     14               that I have a few more questions or
     15               many more questions.          If I were given
     16               the time, we could spend much more time
     17               together, but subject to that
     18               Reservation of Rights, we are done and
     19               I will pass the witness.
     20                      Can we go off the record for just
     21               a moment?
     22                      THE VIDEOGRAPHER:         The time is
     23               3:42 p.m.      We are now off the record.
     24                      (Recess is taken.)
     25                      THE VIDEOGRAPHER:         The time is

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      2               3:45 p.m.      We are back on the record.
      3         EXAMINATION BY
      4         MS. DEAN:
      5               Q.     Ms. Keller, my name is Claire
      6         Dean.    I'm with Covington & Burling, and
      7         I'm here on behalf of McKesson.
      8                      Your time with me will be very
      9         brief.
     10                      So if we could turn to page 9 of
     11         your report and to paragraph 22.              And just
     12         let me know once you're there.
     13                      (Witness complies.)
     14               A.     Sorry.
     15               Q.     No problem.
     16               A.     Here we are.
     17               Q.     Okay.     So paragraph 22, first
     18         sentence, "This report focuses specifically
     19         and exclusively on manufacturers
     20         anti-diversion and suspicious order
     21         monitoring programs."
     22                      Did I read that correctly?
     23               A.     You did.
     24               Q.     And just to make sure I
     25         understand what that means, to confirm, you

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      2         are not offering any opinions about the
      3         suspicious order monitoring programs of any
      4         wholesale distributors, correct?
      5               A.     Correct.
      6               Q.     You also did not review or
      7         analyze the suspicious order monitoring
      8         programs of the wholesale distributors,
      9         right?
     10               A.     Correct.
     11               Q.     And you're not offering any
     12         opinions here today or in the future about
     13         the anti-diversion efforts of any of the
     14         wholesale distributors; is that right?
     15               A.     Not to my knowledge.
     16               Q.     And you also didn't undertake a
     17         review or an analysis of the anti-diversion
     18         efforts undertaken by any wholesale
     19         distributor; is that right?
     20               A.     Correct.
     21               Q.     Now you offer no opinions about
     22         whether or how the distributors may have
     23         applied any of the compliance metrics
     24         discussed in your report; is that right?
     25               A.     That's correct.

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      2               Q.     And you offer no opinions on what
      3         categories of data any of the wholesale
      4         distributors may have had access to between
      5         1997 and 2017; is that right?
      6               A.     That is correct.
      7               Q.     You haven't reviewed any
      8         communications between DEA and
      9         distributors, right?
     10               A.     That is correct.
     11               Q.     And you offer no opinions about
     12         whether the distributors could have even
     13         applied any of the compliance metrics
     14         outlined in your report; is that correct?
     15               A.     That is correct.
     16               Q.     And with respect to opinions on
     17         suspicious order monitoring programs and
     18         the anti-diversion efforts, you also offer
     19         no opinions as to McKesson specifically; is
     20         that correct?
     21               A.     That is correct.
     22               Q.     Now I'd like to turn to page 18
     23         of your report, paragraph 57.
     24                      Now this is where you introduce
     25         the McKesson 8,000 rule.

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      2                      Now you cite a single McKesson
      3         document here.
      4                      You are not offering any opinions
      5         about how McKesson may have applied its
      6         lifestyle drug monitoring program; is that
      7         right?
      8               A.     Correct.
      9               Q.     You're not offering any opinions
     10         about how McKesson's lifestyle drug
     11         management program was operated at
     12         McKesson?
     13               A.     That is correct.
     14               Q.     You're not offering any opinions
     15         about whether the lifestyle drug monitoring
     16         program complied or did not comply with the
     17         Controlled Substances Act; is that correct?
     18               A.     That's correct.        Outside of my
     19         expertise.
     20               Q.     You're not offering any opinions
     21         about what due diligence steps may have
     22         been taken by McKesson personnel during the
     23         lifestyle drug monitoring program, right?
     24               A.     That is correct.         Outside of my
     25         expertise.

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      2               Q.     And you didn't undertake any
      3         review or analysis to determine due
      4         diligence steps that may have been taken by
      5         McKesson under the lifestyle drug
      6         monitoring program, right?
      7               A.     That is correct.         Outside of my
      8         expertise.
      9               Q.     Now last couple of questions from
     10         me and then we will move on to somebody
     11         else.
     12                      I'd like to turn to page 79 of
     13         your report, please.
     14               A.     Sure.
     15               Q.     And actually if you could turn
     16         over to page 80, paragraph 151.
     17                      (Witness complies.)
     18               Q.     In paragraph 151, you referenced
     19         McKesson.      So I wanted to confirm that you
     20         are not offering any opinions about
     21         McKesson as it relates to the Rite Aid
     22         pharmacy you're discussing in paragraph
     23         151, correct?
     24               A.     Correct.      I think all we're doing
     25         is just citing that document there and the

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      2         facts behind it.
      3               Q.     But you're not offering any
      4         opinions about McKesson's involvement with
      5         that pharmacy or with Dr. Adolf Harper; is
      6         that correct?
      7               A.     Correct.      I would -- that's
      8         outside of my expertise.
      9               Q.     Okay.     And that's outside of the
     10         scope of the opinion in the report and the
     11         opinion you may intend to offer at trial;
     12         is that right?
     13               A.     I think that's a correct
     14         characterization.
     15               Q.     Okay.     And, sorry, I just want to
     16         make sure I'm clear because I'm not
     17         positive that he was included in this.
     18                      The same is true for Dr. Adolf
     19         Harper, you're not offering any opinions
     20         about McKesson as it relates to Dr. Adolf
     21         Harper; is that right?
     22               A.     Correct.
     23               Q.     Now last questions.
     24                      Sitting here today, are you aware
     25         of any future opinions you may be offering

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      2         against McKesson?
      3               A.     I mean, anything is possible, but
      4         not right this second.
      5               Q.     So as it stands today and as
      6         outlined in your report, your opinions are
      7         being offered exclusively against the
      8         labeler defendants and no opinions
      9         currently being offered against
     10         distributors including McKesson; is that
     11         right?
     12               A.     Yes.    The report focuses solely
     13         on labelers.
     14                      MS. DEAN:      Okay.     I don't have
     15               any further questions, and I will pass
     16               my time to someone else.
     17                      Thank you, Ms. Keller.
     18                      THE WITNESS:       Thanks, Ms. Dean.
     19                      THE VIDEOGRAPHER:         The time is
     20               3:52 p.m.      We are now off the record.
     21                      (Recess is taken.)
     22                      THE VIDEOGRAPHER:         The time is
     23               3:54 p.m.      We are now on the record.
     24

     25         EXAMINATION BY

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      2         MR. LAVELLE:
      3                Q.    Good afternoon, Ms. Keller.             My
      4         name is John Lavelle.          I'm an attorney at
      5         Morgan Lewis, and I am representing
      6         defendant Rite Aid of Maryland.
      7                      I'd like to ask you to turn to
      8         your report, page 63.
      9                      (Witness complies.)
     10                A.    I'm there.       Sorry.
     11                Q.    Thank you.       That's fine.
     12                      So beginning in paragraph 127 of
     13         your report, you start a discussion of what
     14         you refer to as "suspicious pharmacies"; is
     15         that right?
     16                A.    Correct, we use that term.
     17                Q.    Where does that term come from?
     18         What do you mean by "suspicious
     19         pharmacies"?
     20                A.    So as we stated earlier on the
     21         record today, it's those pharmacies that
     22         triggered our metrics or the metrics that
     23         we employed, I should be more correct to
     24         say.
     25                Q.    And you discuss in your report

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      2         six different pharmacies that you label as
      3         suspicious pharmacies, right?
      4               A.     They were six pharmacies that at
      5         some point triggered one of the compliance
      6         metrics.
      7               Q.     How are these six pharmacies
      8         selected?
      9               A.     Some were selected because of
     10         their size in the county.           Some were
     11         selected because of the number of -- like I
     12         think their prescriptions, so if they were
     13         particularly high dose or not.             Others were
     14         because they were known to the court.                And
     15         others -- and I believe the Rite Aid, for
     16         example, was because it was mentioned in
     17         conjunction with Adolf Harper.
     18               Q.     So I think you referred to three
     19         different reasons there, if I got what you
     20         just testified correctly.
     21                      You referred to some as being
     22         selected because of their size in the
     23         county, some because they were known to the
     24         court, and then the Rite Aid because it was
     25         mentioned in conjunction with Adolf Harper?

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      2               A.     And then probably a fourth, I
      3         would add, of just unusual prescribing --
      4         or, I'm sorry, we've been talking about
      5         physicians all day.         Chargebacks or
      6         purchases.      So if it's particularly high
      7         dose or -- I don't really recall exactly
      8         what reason went into each one, but that's
      9         generally how examples come to me.
     10               Q.     Who selected them?
     11               A.     I did.
     12               Q.     Anybody else involved in your
     13         selection process?
     14               A.     I think there was... I think the
     15         New Choice Pharmacy was one that was either
     16         known to the court or was requested of me.
     17               Q.     When you say "known to the
     18         court," can you tell us what you mean by
     19         that?
     20               A.     Yeah.     From what I understand or
     21         what I recall is like there's documents
     22         about Adolf Harper or some of the other
     23         physicians in the report.           And so with the
     24         pharmacies, I understood there to be
     25         documentation about them as well.

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      2               Q.     So anyone else at Gryphon
      3         involved in the selection of these six
      4         pharmacies other than yourself?
      5               A.     My staff.
      6               Q.     Anyone in particular assigned
      7         with that task?
      8               A.     I would say a group of them
      9         worked on it just to determine, you know,
     10         what would be a short list of good examples
     11         to show in the report.
     12               Q.     Were you asked by counsel to
     13         identify any particular pharmacies?
     14               A.     As a said earlier, I think New
     15         Choice would have been one.
     16               Q.     Were you -- how did you learn
     17         about Dr. Harper?
     18               A.     That's a good question.
     19               Q.     I thought so.
     20                      (Laughter.)
     21               A.     I honestly don't know if it was
     22         from reading court documents or being in
     23         the same office as some of the -- and I
     24         don't want to get into privilege here, but
     25         working in the same office as our

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      2         investigative team.
      3               Q.     Did you look at any other
      4         pharmacies other than the six that you
      5         discussed in this report?
      6               A.     Definitely.
      7               Q.     Were there any others that you
      8         are prepared to offer opinions about if
      9         you're called to testify at trial other
     10         than these six pharmacies?
     11               A.     So to be clear, I don't mean to
     12         offer opinions about these pharmacies, just
     13         how they appear in the data.
     14                      And, two, not at this time.
     15               Q.     You're not a pharmacist, right?
     16               A.     That is correct.
     17               Q.     You have no expertise in
     18         operations of pharmacies, right?
     19               A.     That is correct.
     20               Q.     As you sit here today, do you
     21         have any plans to work on developing
     22         opinions about pharmacies in the future?
     23               A.     Not at this moment, no.
     24               Q.     All right.       Let's turn to the
     25         section of your report that discusses the

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      2         Rite Aid store, which I believe you
      3         referred to as flag pharmacy 6.              That
      4         begins on page 79 of your report.
      5               A.     I'm there.
      6               Q.     All right.       This is a Rite Aid
      7         store that is located at 1047 Kenmore
      8         Boulevard in Akron, Ohio, right?
      9               A.     I believe so.
     10               Q.     Was there any reason other than
     11         the fact that it was associated with
     12         Dr. Harper, in your view, that it was
     13         flagged for discussion in your report?
     14               A.     I'd have to look at my notes to
     15         be for certain.        There might be other
     16         reasons, but I don't -- I can't recall them
     17         right now.      But, again, it could have been
     18         because of the number of prescriptions that
     19         it was -- I'm sorry, the number of
     20         shipments that it had at its -- I'm not
     21         saying that correctly.          I'm sorry.       I've
     22         been talking about prescriptions all day.
     23         The number of chargebacks that it had or
     24         the total number of shipments if we had
     25         looked at, like, the ARCOS data, for

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      2         example.
      3               Q.     All right.       In paragraph 150,
      4         which begins on page 79 and goes on to page
      5         80, can you read the last sentence that
      6         actually appears on page 80?            It starts
      7         with the word "Mallinckrodt."
      8               A.     "Mallinckrodt was the only
      9         defendant labeler to identify the pharmacy
     10         as suspicious, placing them on a 2016
     11         cutoff pharmacy list."
     12               Q.     What is your basis for saying
     13         that?
     14               A.     I believe there is a citation
     15         there.
     16               Q.     All right.       You have a citation
     17         and a footnote to a particular document; is
     18         that right?
     19               A.     That's what I understand that to
     20         be.
     21               Q.     Do you remember what that
     22         document is?
     23               A.     It's characterized in the
     24         paragraph as a "cutoff pharmacy list."
     25               Q.     Do you know whose term "cutoff

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      2         pharmacy" is?       Is that a Mallinckrodt term?
      3               A.     If we're putting it in quotes, it
      4         would be Mallinckrodt's, but I'd like to
      5         review the document if we want to be
      6         precise.
      7               Q.     All right.       I think I have the
      8         document and I can show it to you.
      9                      Generally speaking, do you recall
     10         what that document was?
     11               A.     I'd have to look at it to be
     12         certain.
     13                      MR. LAVELLE:       All right.       Let me
     14               mark this as an exhibit.
     15                      (Keller Exhibit 13, Document
     16               produced in native format beginning
     17               with Bates-stamp MNK-T1_0001315847,
     18               marked for identification, as of this
     19               date.)
     20         BY MR. LAVELLE:
     21               Q.     Ms. Keller, I've put in front of
     22         you what we marked for Identification as
     23         Exhibit 11.
     24                      I'll represent to you this is a
     25         printout from a document that was produced

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      2         in native format.         And the original, as I
      3         understand it, is a spreadsheet.
      4               A.     Okay.
      5               Q.     I will also tell you that it is a
      6         spreadsheet that has two tabs.             And I only
      7         printed out one of the two tabs.
      8               A.     Okay.
      9               Q.     And the reason for that, I will
     10         tell you, is the second tab has 160,000
     11         fields on it and it would fill up hundreds
     12         and hundreds of pages.
     13                      So looking at this tab, do you
     14         recognize this document?
     15               A.     Yes.    I mean, I don't remember it
     16         exactly.     I looked at a lot of data sets
     17         through this whole thing, so I can't really
     18         recall exactly which ones look familiar and
     19         which ones don't.
     20               Q.     Do you know how a decision would
     21         have been made by your team as to which of
     22         the two tabs in a spreadsheet should be
     23         used as the tab on which to run analysis?
     24                      MS. CONROY:       Objection.
     25               A.     What's on the other tab?

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      2                Q.    All right.       So that's the tab
      3         that is a giant spreadsheet.            And although
      4         I ask the questions here, I will tell you
      5         that there were over 135,000 rows on that
      6         tab.
      7                      As you are sitting here,
      8         Ms. Keller, do you believe there was over
      9         135,000 pharmacies on the Mallinckrodt list
     10         of cutoff pharmacies?
     11                A.    I wouldn't know.
     12                Q.    You wouldn't know?
     13                A.    I wouldn't know what they put
     14         on -- let me say that a little bit -- I
     15         wouldn't know exactly how -- to the extent
     16         of how many pharmacies Mallinckrodt would
     17         cut off or were put on a cutoff list.
     18                Q.    Do you see the Rite Aid pharmacy
     19         located at 1047 Kenmore Boulevard in Akron,
     20         Ohio, on this list that I've put in front
     21         of you that we marked as Exhibit 11?
     22                      MS. CONROY:       13.
     23                      MR. LAVELLE:       I'm sorry, 13.        My
     24                apologies.
     25                      (Document review.)

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      2               A.     I don't see that pharmacy in
      3         Exhibit 13, but I don't know what's on the
      4         other tab or what the whole entire document
      5         is.
      6               Q.     So would you agree with me that
      7         if this particular tab that we marked as
      8         Exhibit 13 is in fact the cutoff pharmacy
      9         list, that that Rite Aid pharmacy is not in
     10         it?
     11               A.     I would agree that -- and let me
     12         do one more run-through to be sure.
     13               Q.     Sure.
     14                      (Document review.)
     15               A.     I would say that I do not see
     16         Rite Aid in this Exhibit 13.
     17               Q.     Have you ever heard of something
     18         called a chargeback restriction
     19         reinstatement list?
     20               A.     No, I have not.
     21               Q.     Have you ever seen the email to
     22         which this document that we marked as
     23         Exhibit 13, the spreadsheet, was attached?
     24               A.     Not that I can recall sitting
     25         here.

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      2               Q.     All right.       Well, let's mark it
      3         as an exhibit, and I'll show it to you and
      4         you can tell us whether you've seen it
      5         before or not.       Thank you.
      6                      (Keller Exhibit 14, Email chain
      7               beginning with email dated 9/23/16 from
      8               K. Harper to McKenzie, Bates-stamped
      9               MNK-T1_0001315844 through 5846, marked
     10               for identification, as of this date.)
     11         BY MR. LAVELLE:
     12               Q.     Ms. Keller, we've marked as
     13         Exhibit 14, a document that's Bates-stamped
     14         MNK-T1_0001315844 through 46.             It's an
     15         email chain.       And I'll just note for the
     16         record that it immediately precedes the
     17         Bates number of the document we were
     18         looking at just a moment ago which was
     19         Exhibit 13.
     20                      So my question is:         Have you ever
     21         seen this document, the one we marked as
     22         Exhibit 14, before?
     23               A.     This does not look familiar to
     24         me.
     25               Q.     All right.       Can we just look at

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      2         the second page of this document?              There is
      3         an email there from a Karen Harper of
      4         Mallinckrodt to Patrick Dudley of Cardinal
      5         Health dated Wednesday, March 30, 2016, at
      6         2:06 p.m.
      7                      Do you see that?
      8               A.     I'm there, yes.
      9               Q.     And the second paragraph,
     10         Ms. Harper writes to Mr. Dudley, "For your
     11         convenience, I have attached the current
     12         spreadsheet of pharmacy chargeback
     13         restrictions and reinstatements.
     14         (Reinstatements highlighted in green.)"
     15                      Do you remember ever seeing that
     16         before?
     17               A.     I do not.
     18               Q.     Do you know whether the pharmacy
     19         chargeback restrictions and reinstatements
     20         list is the list that you intended to refer
     21         to as the pharmacy cutoff list in your
     22         report?
     23               A.     I really couldn't be sure without
     24         consulting what we had.
     25               Q.     What would you need to look at in

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      2         order to be able to answer that question?
      3                A.    I would need to look at the
      4         document as it was produced to us and how
      5         it appeared.
      6                Q.    And do you have notes as well
      7         that you would be able to look at?
      8                A.    I might.
      9                Q.    What kind of notes might you
     10         have?
     11                A.    They might be notes to myself or
     12         notes by my staff.
     13                Q.    Now you make this same statement
     14         about Mallinckrodt being the only defendant
     15         labeler to identify a pharmacy as
     16         suspicious putting them on the cutoff
     17         pharmacy list with respect to each and
     18         every one of these six pharmacies, don't
     19         you?
     20                A.    I'd have to look.
     21                Q.    Well, let's start by looking at
     22         paragraph 128 on page 63 of your report.
     23         That's the section that refers to the
     24         Marc's 23PU pharmacy.
     25                      (Document review.)

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      2               A.     Okay.
      3               Q.     Do you have that in front of you?
      4               A.     I do.     Thank you.
      5                      (Document review.)
      6               A.     Yes, I see that.         Same citation.
      7               Q.     And you cite the same document
      8         again, right?
      9               A.     Yes.
     10               Q.     The Marc's 23PU pharmacy isn't in
     11         that spreadsheet either, is it?
     12               A.     It's not in an exhibit -- I have
     13         to look, but it's not in Exhibit 13.
     14               Q.     Right.
     15               A.     Again, there is a second tab, and
     16         I'd have to look at the entire document to
     17         be certain.
     18               Q.     Turn to paragraph 120 -- I'm
     19         sorry, page -- the CVS section here.
     20         Paragraph 133 on page 67.
     21               A.     Okay.
     22               Q.     Again you have that same
     23         sentence, do you not, "Mallinckrodt was the
     24         only defendant labeler to identify the
     25         pharmacy as suspicious, placing them on a

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      2         2016 cutoff pharmacy list," right?
      3               A.     Again, the same citation.
      4               Q.     And the same citation and the
      5         same document?
      6               A.     Correct.
      7               Q.     All right.       We can go through
      8         this process for each of them, but suffice
      9         it to say that none of these six pharmacies
     10         appear on what we marked as Exhibit 13.
     11                      So does that suggest to you that
     12         you relied on the second tab of whatever
     13         that document is?
     14               A.     If Exhibit 13 is the first tab
     15         and the pharmacies are in the second tab,
     16         then logic would be yes.
     17               Q.     All right.       And if it turned out
     18         that tab 2 was not the cutoff pharmacy list
     19         but in fact was a listing of every pharmacy
     20         in the United States, that would have been
     21         a mistake, right?
     22               A.     I'd have the review that to be
     23         sure.
     24               Q.     You don't have a view as we sit
     25         here today as whether or not a tab that had

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      1

      2         over 135,000 rows in a spreadsheet could
      3         possibly be a cutoff pharmacy list?
      4                      MS. CONROY:       Objection.
      5               A.     Again, I'm not here to talk about
      6         what actually was suspicious or not
      7         suspicious from the labelers' perspective.
      8         So that's outside of my expertise.               I
      9         wouldn't have known what would have been a
     10         reasonable amount.
     11               Q.     All right.       Coming back to the
     12         discussion of that Rite Aid pharmacy on
     13         page 80, paragraph 151, and I think you
     14         said this earlier, that you viewed this as
     15         connected to Dr. Harper, this Rite Aid,
     16         correct?
     17               A.     Yes, I believe there was some
     18         documents there that discussed that
     19         Rite Aid in connection with Dr. Harper.
     20               Q.     Yes.
     21                      Do you remember what those
     22         documents were?        You cite two documents in
     23         your footnote there at the bottom of page
     24         80.
     25               A.     I don't recall them off the top

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      1

      2         of my head.
      3               Q.     Do you have any recollection of
      4         what they were at all?          Were they emails?
      5         Were they spreadsheets?           What were they?
      6               A.     I'd have to look to be certain.
      7               Q.     All right.       You don't have any
      8         recollection at all even if --
      9               A.     I'm sorry, there's like hundreds
     10         of cites and hundreds of thousands of rows
     11         of data.
     12               Q.     All right.       Well, let me mark
     13         that as the next exhibit, next two
     14         exhibits, and we can look at them together?
     15                      (Keller Exhibit 15, Email chain
     16               beginning with email dated 10/31/11
     17               from Oriente to Nichols, Bates-stamped
     18               MCKMMDL006332908 through 2910, marked
     19               for identification, as of this date.)
     20         BY MR. LAVELLE:
     21               Q.     And so Ms. Keller, we marked as
     22         Exhibit 15 the document that's
     23         Bates-stamped MCKMDL00632908 through 10,
     24         which I think is the first document you
     25         reference in this footnote; is that right?

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      3               Q.     All right.       Well, let's take a
      4         look at this document that we have in front
      5         of you.




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      2               Q.     Okay.     That's okay.       I have it
      3         here.    I will show it to you now.
      4                      (Keller Exhibit 16, Email chain
      5               beginning with email dated 10/31/11
      6               from Lai to Oriente and others,
      7               Bates-stamped MCKMDL00626683 through
      8               6685, marked for identification, as of
      9               this date.)
     10         BY MR. LAVELLE:
     11               Q.     Ms. Keller, we marked as
     12         Exhibit 16, a document Bates-stamped
     13         MCKMDL00626683 through 5.
     14               A.     Okay.
     15               Q.     Would you agree with me that's
     16         the second document that's referenced in
     17         that footnote of yours?
     18               A.     That is what we cite, yes.
     19               Q.




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      4               Q.     Okay.     You reference also the
      5         deposition of Sophia Lai Novack in that
      6         same footnote, right?
      7               A.     I do.
      8               Q.     Did you read that?
      9               A.     You'd have to refresh my memory.
     10         I read or skimmed a lot of depositions.
     11               Q.     Do you remember as you sit here
     12         today whether Ms. Novack was actually shown
     13         a copy of either of those documents?
     14               A.     That, I don't know.
     15               Q.     How did you pick Ms. Novak's
     16         deposition to cite here?
     17               A.     I don't recall specifically, but
     18         I -- it might have been suggested to me.
     19               Q.     By whom?
     20               A.     An attorney.
     21               Q.     Ms. Singer, perhaps?
     22               A.     That, I don't recall.
     23               Q.     If it wasn't Ms. Singer, who else
     24         could it have been?
     25               A.     I don't remember all the

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      2         attorneys.      I worked with several, so I
      3         don't recall the names, but I could look.
      4                Q.    Were you given access to a
      5         database of depositions?
      6                A.    If they were in Relativity, then
      7         yes.
      8                Q.    Do you remember as you sit here
      9         whether you were given access to
     10         depositions as part of that Relativity
     11         database or not?
     12                A.    I definitely know I searched for
     13         some of the depositions somewhere that were
     14         in here.
     15                Q.    With respect to Dr. Harper, you
     16         described that he surrendered his license
     17         in May of 2012, right?          I think you say
     18         that in paragraph 104 of this report on
     19         page 46.
     20                A.    Sorry, say again.         What
     21         paragraph?
     22                Q.    Paragraph 104, which is on page
     23         46.
     24                A.    Thank you.
     25                      (Document review.)

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      1

      2               A.     Correct.
      3               Q.     And you also say that he pled
      4         guilty to drug-trafficking charges in 2014.
      5         You say that in paragraph 105.
      6               A.     That appears to be so.
      7               Q.     Where did you get that
      8         information?
      9               A.     That must be from the press
     10         release that we read online.
     11               Q.     Are you aware that the
     12         deposition's been taken in this place of
     13         the detective who was the lead investigator
     14         on Dr. Harper's investigation?
     15               A.     Am I aware that there have been
     16         depositions taken?         No.
     17               Q.     Have you ever heard of the name
     18         Detective Patrick Leonard?
     19               A.     No.
     20               Q.     Are you aware that he was the
     21         lead detective on the Harper investigation?
     22               A.     No.
     23               Q.     Are you aware that his deposition
     24         was taken in this case?
     25               A.     No.

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      1

      2               Q.     Are you aware that he testified
      3         that he was given a tip by a pharmacist
      4         working at the Rite Aid pharmacy on Kenmore
      5         Avenue in Akron over a year before
      6         Dr. Harper had to surrender his license?
      7         Were you aware of that?
      8               A.     As I said, I didn't read the
      9         deposition, so I wouldn't be aware of
     10         anything that was in it.
     11               Q.     Were you aware that tips were
     12         provided to law enforcement officials by
     13         other pharmacies in addition to that
     14         Rite Aid pharmacy that you flagged in this
     15         report?
     16               A.     No, that would be outside of my
     17         expertise.      And, again, I didn't read his
     18         deposition, so I wouldn't know.
     19               Q.     So no one told you, for example,
     20         that CVS also flagged Dr. Harper over a
     21         year before his license was revoked?
     22               A.     I was not told that, no.
     23               Q.     Did anyone tell you that
     24         Walgreens also flagged Dr. Harper and
     25         complained about him to law enforcement

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      1

      2         over a year before his license was revoked?
      3               A.     No, again outside of what I would
      4         have been told or looked at in this report.
      5               Q.     Did anyone tell you that Giant
      6         Eagle, a supermarket chain which operates
      7         pharmacies, also complained about
      8         Dr. Harper to local law enforcement
      9         officials over a year before his license
     10         was revoked?
     11               A.     No, as it was outside of the
     12         scope of this report.
     13               Q.     And I suppose no one told you
     14         that another local pharmacy, Ritzman
     15         Pharmacy, also complained about Dr. Harper
     16         to local law enforcement officials over a
     17         year before his license was revoked?
     18               A.     Same answer.       Again, it would be
     19         outside of the scope, so I was not told
     20         that, no.
     21               Q.     So when you say in your report
     22         that this Rite Aid pharmacy was associated
     23         with Dr. Harper, you're not referring to
     24         the fact that this Rite Aid pharmacy
     25         provided a tip to local law enforcement

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      2         officials that were actually important in
      3         starting the investigation against him; is
      4         that right?
      5                      MS. CONROY:       Objection.
      6               A.     So when I say this Rite Aid was
      7         associated, you know, it's the documents
      8         that we cite there.         Again, as far as what
      9         was actually done by labelers or pharmacies
     10         in the course of actual due diligence or on
     11         the ground, as we were saying earlier in
     12         the day, enforcement actions, that would be
     13         outside of the scope of my expertise or
     14         report.
     15               Q.     It's outside of your expertise.
     16         It's also outside of your knowledge, right?
     17               A.     I think that would be correct to
     18         say, that I... I think that would be
     19         correct to say.
     20               Q.     Thank you, Ms. Keller.           That is
     21         all I have.
     22               A.     Thank you.
     23                      THE VIDEOGRAPHER:         The time is
     24               4:27 p.m.      We are off the record.
     25                      (Recess is taken.)

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      2                      THE VIDEOGRAPHER:         The time is
      3               4:42 p.m.      We are back on the record.
      4         EXAMINATION BY
      5         MS. O'GORMAN:
      6               Q.     Good afternoon, Ms. Keller.             My
      7         name is Debra O'Gorman.           I represent Purdue
      8         defendants, and I have just a few questions
      9         for you this afternoon.
     10                      If you could take a look at
     11         Exhibit 5, your expert report, page 89.
     12         And I'll refer you to the references to 867
     13         data.
     14               A.     I'm there.
     15               Q.     And you said you had 867 data
     16         only for Purdue; is that correct?
     17               A.     Correct.
     18               Q.     And what is 867 data?
     19               A.     I think we addressed this earlier
     20         today, and it's my intention to state the
     21         same answer.       But I understand it to be
     22         data that labelers have that tracks the,
     23         their products.
     24               Q.     Do you recall the time period
     25         covered by Purdue's 867 data?

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      2               A.     Yes.    I would have that here.
      3                      On page 59, table 34, after
      4         processing, that would be from 2009 to
      5         2018.    That was the data that was provided
      6         to me.
      7               Q.     And you mentioned in your report
      8         that you had 3,572 files of 867 data.
      9                      Do you recall that?
     10               A.     Yes.    I'd have to go back to the
     11         methodology, but I believe it was produced
     12         in more than 3,000 files.
     13               Q.     And what did you do, if anything,
     14         to combine those files?
     15               A.     Sure.
     16                      So you can see on page 90,
     17         paragraph Z, we had 3,572 files of five
     18         different schemas.         So they were all
     19         without column headers, from what I
     20         understand, but I could be wrong in stating
     21         that because it doesn't -- I'm sorry, one
     22         of them did not have a schema, but they had
     23         different schema lengths, and so those were
     24         then appended to one another based off of
     25         the columns in common.

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      2               Q.     So you combined those files and
      3         then used that to run your analysis?
      4               A.     That's correct.
      5               Q.     Okay.     If I can refer you to page
      6         20 of your expert report, you reference
      7         there certain Purdue algorithms.
      8               A.     Correct.
      9               Q.     And what is algorithm?
     10               A.     It can mean anything to anybody,
     11         to be honest.       The term has been somewhat
     12         polluted recently to mean anything.               A lot
     13         of companies like to say they have this
     14         fancy algorithm to predict X, Y and Z, but
     15         as far as this, we interpreted an algorithm
     16         to mean an operating procedure or something
     17         that was documented as to be done by the
     18         labeler.
     19               Q.     And what, if anything, did you do
     20         to try to replicate Purdue's algorithms for
     21         your report?
     22               A.     Those would be in the addendum.
     23               Q.     So for your initial report, you
     24         didn't do anything to replicate Purdue's
     25         algorithms?

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      2               A.     Correct.      I think the one that we
      3         mention here, there was not enough
      4         information to be able to implement it
      5         accurately, but we do in the addendum.
      6               Q.     Okay.     And in the addendum, you
      7         add five metrics that you obtained from
      8         Purdue documents; is that correct?
      9               A.     Without counting them, but, yes,
     10         we implement a number of --
     11               Q.     And those are on pages 26 and 30
     12         of your supplemental report, correct?
     13               A.     Yes.    I see one, two that were
     14         manufactured to prescriber.            And then one,
     15         two, three that were manufactured to
     16         pharmacy metrics.
     17               Q.     Do you recall if these metrics
     18         were identified by you or somebody on your
     19         team?
     20               A.     They were identified by me or
     21         somebody on my team.
     22               Q.     And do you know how they were
     23         identified?
     24               A.     I believe one I found out after
     25         filing the report because I was reading a

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      2         different deposition that -- or document
      3         that referenced a set of the metrics.
      4                      And then in looking for a
      5         definition of chargeback, we found the
      6         other metrics.
      7               Q.     Okay.
      8                      MS. O'GORMAN:        Can you mark this
      9               as the next exhibit.
     10                      (Keller Exhibit 17, Purdue Pharma
     11               L.P. document Bates-stamped
     12               PDD1503450011 through 0024, marked for
     13               identification, as of this date.)
     14         BY MS. O'GORMAN:
     15               Q.     We marked as Exhibit 17 a
     16         document Bates-stamped PDD1503450011.
     17                      Is this one of the documents that
     18         you used to identify Purdue metrics?
     19               A.     Let me be for certain.
     20               Q.     I believe it's referenced on page
     21         26 of your expert report in one of the
     22         footnotes, although you use the Bates
     23         number ending in 12, which is the second
     24         page of the document.
     25               A.     Yes.

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      1

      2               Q.     Was this document available to
      3         you at the time you prepared your initial
      4         report?
      5               A.     If it was cited in the report,
      6         then it was.       But as I said earlier in my
      7         testimony, that I believe we received the
      8         document a little bit too soon to filing to
      9         be able to implement these metrics.
     10               Q.     And it looks like numbers 2 and 4
     11         on page that ends in 12 of this report were
     12         implemented by you in your addendum as
     13         Purdue metrics; is that right?
     14               A.     Correct.
     15               Q.     And you did not apply the other
     16         criteria identified in this document,
     17         correct?
     18                      MS. CONROY:       Objection.
     19               A.     So, for example, the cash
     20         prescriptions, I don't --
     21                            (Interruption.)
     22                      THE VIDEOGRAPHER:         The time is
     23               4:48 p.m.      We are now off the record.
     24                      (Recess is taken.)
     25                      THE VIDEOGRAPHER:         The time is

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      1

      2               4:50 p.m.      We are back on the record.
      3         BY MS. O'GORMAN:
      4               Q.     So before we had an unintended
      5         break, you were telling me about or I asked
      6         you about the application of other criteria
      7         in this Purdue document.
      8               A.     Yes.
      9                      So as far as implementing other
     10         or speaking about other SOMS programs, no,
     11         that would be outside of expertise.
     12                      But as you can see on the
     13         document, there could be considered a
     14         metric on point 3 where it talks about cash
     15         prescriptions as an example.
     16                      I was not provided with data
     17         about the number of cash prescriptions as
     18         part of total prescriptions.            I didn't have
     19         that type of data.         And I think I even note
     20         that in my limitations.
     21               Q.     Okay.     And you see that the
     22         numbers 3, 4, 5, and 6 on this document are
     23         various steps that would be taken.
     24                      Do you see those there?
     25               A.     Sure.     I see those steps.         Sorry.

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      1

      2         I didn't mean to be flippant.
      3               Q.     And do you know whether any
      4         action was taken in conforming with those
      5         steps in connection with any orders that
      6         you flagged under this metric?
      7               A.     That would be outside of the, my
      8         expertise.
      9                      (Keller Exhibit 18, Document
     10               produced natively, Bates-stamped
     11               PPLP004449246, marked for
     12               identification, as of this date.)
     13         BY MS. O'GORMAN:
     14               Q.     We marked as Exhibit 18 a
     15         document numbered PPLP004449246.
     16                      Do you recognize this document as
     17         one from which you obtained Purdue metrics?
     18               A.     I do.     I found it.
     19               Q.     And on the fifth page of that
     20         document, there is a list of additional
     21         metrics to identify pharmacies for review.
     22                      Do you see that there on the
     23         bottom page?
     24               A.     Yes.
     25               Q.     And is this where you obtained

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      1

      2         the Purdue metrics that you've included in
      3         your supplemental addendum?
      4               A.     Yes.    I think the ones that we
      5         implement are from that 2010 to 2012 period
      6         because those are the ones that we felt
      7         that we could, we had enough information
      8         to -- hang on to make sure.
      9                      (Document review.)
     10               Q.     I believe it's in the 2012 to
     11         2015 -- ^ ck speaker
     12               A.     That's --
     13               Q.     -- time period?
     14               A.     I misspoke when I said 2010 to
     15         2012.    Her correction of 2012 to 2015.
     16               Q.     And how did you come to select
     17         these metrics?
     18               A.     So as we went through, if there
     19         was something that we felt that could
     20         create a flag or a metric, then we could.
     21         And so these specifically say metric No. 1,
     22         metric No. 2 and metric No. 3, so that is
     23         why we chose those.
     24               Q.     And these are listed here as
     25         additional metrics.

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      1

      2                      Do you see that in the title?
      3               A.     Yes.
      4               Q.     Does that suggest to you that
      5         these are in addition to other metrics that
      6         were being applied?
      7               A.     I don't really know what else --
      8         I don't really understand or really weighed
      9         the considerations of the other documents.
     10         I just saw some metrics that I attempted to
     11         implement here.
     12               Q.     And do you see that these metrics
     13         require or contemplate that there will be a
     14         review when metrics might be triggered, the
     15         last two bullet points under that same
     16         section?
     17               A.     I do see those statements on this
     18         document.
     19               Q.     And you have no knowledge of any
     20         review that would have been done by Purdue
     21         in connection with any orders that might
     22         have been flagged under your application of
     23         the metrics; is that correct?
     24               A.     Correct.      I would not speak to
     25         the actual on-the-ground due diligence or

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      1

      2         what was done in real life.
      3               Q.     And am I also correct that you're
      4         not suggesting that the DEA required any of
      5         these metrics that you've identified?
      6                      MS. CONROY:       Objection.
      7               A.     Correct.      That would be outside
      8         of my expertise.
      9               Q.     And you're not offering an
     10         opinion on the real-world results or the
     11         application of any of these metrics; is
     12         that correct?
     13               A.     That would be correct.
     14               Q.     Now we've talked earlier at your
     15         deposition about the IQVIA data set that
     16         you utilized for your review.
     17                      Do you recall that testimony?
     18               A.     Yes, I remember speaking about
     19         IQVIA.
     20               Q.     And that was the Allergan data
     21         set that you reviewed, correct?
     22               A.     Correct.
     23               Q.     Do you have any familiarity with
     24         what information Purdue received from IQVIA
     25         or IMS at any point in time?

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      1

      2               A.     I did review some documents.
      3               Q.     And what do you recall about
      4         those documents?
      5               A.     So I have, in my other reliance
      6         materials that I brought with me this
      7         morning, documents that cite Purdue's
      8         purchases of IQVIA data from several years
      9         over the past, at least into the '90s.                I
     10         don't remember at what point those start.
     11               Q.     Do you know what data
     12         specifically Purdue purchased from IQVIA
     13         for particular years?
     14               A.     Xponent.
     15               Q.     Do you know whether Purdue
     16         received information related to all opioids
     17         or only its own products at any given point
     18         in time?
     19               A.     I'd have to consult the document
     20         to be certain.
     21               Q.     Do you have any expertise in
     22         pharmaceutical marketing?
     23               A.     I do not.
     24               Q.     Have you ever worked for a
     25         pharmaceutical company?

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      1

      2               A.     I have not.
      3               Q.     Have you ever been present for a
      4         sales call by a pharmaceutical
      5         representative?
      6               A.     No.
      7               Q.     Do you have any expertise in the
      8         purpose for which sales calls are made?
      9               A.     I do not.
     10               Q.     Is it correct, then, that you
     11         have no familiarity with the educational
     12         component of sales calls by pharmaceutical
     13         representatives?
     14               A.     That would be outside of my
     15         expertise.
     16               Q.     Have you ever reviewed call notes
     17         for a pharmaceutical company?
     18               A.     I have.
     19                      MS. CONROY:       In any --
     20                      THE WITNESS:       Oh, sorry.
     21                      MS. CONROY:       In any litigation?
     22                      MS. O'GORMAN:        Ever.
     23                      MS. CONROY:       Yeah, okay.
     24         BY MS. O'GORMAN:
     25               Q.     In what situation have you

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      1

      2         reviewed call notes?
      3               A.     So I think we cite to a few call
      4         notes in this document.
      5               Q.     And do you consider yourself to
      6         have any expertise in the interpretation of
      7         call notes?
      8               A.     No.
      9               Q.     Have you reviewed any of the
     10         other expert -- any of the defense expert
     11         reports that have been submitted in this
     12         matter?
     13               A.     Yes.
     14               Q.     Do you know which ones you
     15         reviewed?
     16               A.     Bell, Buthusiem, I might be
     17         saying it wrong, to be honest with you.                We
     18         already talked about that.
     19               Q.     Any others?
     20               A.     That is all.
     21               Q.     Do you recall reading a report by
     22         Iain Cockburn?
     23               A.     No.
     24               Q.     If you can take a look at your
     25         initial expert report, page 16, tables 1

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      1

      2         and 2.
      3               A.     Sure.     I am there.
      4               Q.     And what was Purdue's market
      5         share in the relevant counties by
      6         prescription as listed in tables 1 and 2?
      7               A.     3.3 in table 1 in terms of total
      8         county percentage and 3.7 -- for Summit
      9         County, I should say.          And 3.7 for
     10         prescriptions in Cuyahoga County.
     11               Q.     Is that information that you
     12         calculated?
     13               A.     That would be through a SQL
     14         script, yes.
     15                      MS. O'GORMAN:        I have no further
     16               questions.       Thank you.
     17                      THE VIDEOGRAPHER:         The time is
     18               4:59 p.m.      We are now off the record.
     19                      (Recess is taken.)
     20                      THE VIDEOGRAPHER:         The time is
     21               5:00 p.m.      We are now back on the
     22               record.
     23         FURTHER EXAMINATION BY
     24         MS. LEVY:
     25               Q.     Ms. Keller, I am Jenny Levy

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      1

      2         again.     I have what I think should be a
      3         really quick follow-up question based on
      4         your responses to the questioning by the
      5         last three lawyers who have been
      6         questioning you.
      7                      A couple times in your answer you
      8         keep referring to the Allergan data.
      9                      Do you remember the answers that
     10         I'm referring to?
     11               A.     Yes, I think so.
     12               Q.     And when you refer to the
     13         Allergan data, you're referring to the body
     14         of data from IQVIA XPONENT database,
     15         correct?
     16               A.     That's correct.        It's actually
     17         cited in this exhibit that you just handed
     18         me, I believe.
     19               Q.     A couple of your answers make it
     20         seem to me as if you are under the
     21         impression that Allergan, the business, has
     22         always had that data.
     23                      Is that the impression that
     24         you're under?
     25               A.     That, I wouldn't know for

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      1

      2         certain, but they did produce data for the
      3         entire time period '97 and 2017.
      4                      (Keller Exhibit 19, Letter on
      5               Kirkland & Ellis letterhead dated
      6               8/31/18 from Welch to Donna Welch to
      7               the Plaintiffs' Executive Committee,
      8               not Bates-stamped, marked for
      9               identification, as of this date.)
     10         BY MS. LEVY:
     11               Q.     Okay.     I'm going to show you what
     12         has been marked as Exhibit 19.             We just put
     13         that in front of you.
     14               A.     Thank you.
     15               Q.     I assume that you have not seen
     16         this document before right now.
     17                      Am I right about that?
     18               A.     That is correct.
     19               Q.     Okay.     This is a document from --
     20         on Kirkland & Ellis letterhead.              That is --
     21         I'll represent to you that is the law firm
     22         we're in right now.         It's my law firm.         And
     23         this is a letter from my partner Donna
     24         Welch to the Plaintiffs' Executive
     25         Committee.

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      1

      2                      Do you see that?
      3               A.     I do see that.
      4               Q.     And do you know what the
      5         Plaintiff's Executive Committee is?
      6               A.     I do not know what that is.
      7               Q.     Okay.     And you look at the second
      8         page of Exhibit 19 on the back, when you
      9         see the list of the cc's on this
     10         document --
     11                      (Document review.)
     12               Q.     -- and you see in that list of
     13         cc's you see among other lawyers, Linda
     14         Singer's name, second to the last?
     15               A.     I do.
     16               Q.     Do you recognize any of the other
     17         lawyers on that cc list?
     18               A.     Tom Egler.
     19               Q.     Is he one of the lawyers that you
     20         interacted with in preparation with your
     21         opinions in this case?
     22               A.     Not particularly, no.
     23               Q.     How do you recognize that name
     24         then?
     25               A.     He was the one that I remembered

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      1

      2         knowing to ask -- or his name came up, I
      3         guess is more correct to say, in getting
      4         the IQVIA data.
      5               Q.     So if you turn back over to the
      6         front page of Exhibit 19, in the second
      7         bolded section that's labeled "IQVIA Data,"
      8         are you with me?
      9               A.     I'm there.
     10               Q.     In that paragraph it says, "On
     11         August 10th, 2018, Allergan Finance
     12         produced data from IQVIA's XPONENT and
     13         XPONENT PLANTRAK products related to
     14         prescriptions of opioids from 1997 to the
     15         present."
     16                      And there is a cite there that
     17         says, "See Allergan MDL02485011."
     18                      Do you see that?
     19               A.     I do.
     20               Q.     If you turn in your report to
     21         page 28 and you look at footnote 81, that's
     22         the same data set that you cite in your
     23         report as the Allergan data, correct?
     24               A.     Give me one second.          Sorry.
     25                      (Document review.)

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      2               A.     That is correct.
      3               Q.     Okay.     And then this letter goes
      4         on to say, "As stated in the statement of
      5         work we are producing today, this data was
      6         purchased by Allergan for the first time on
      7         May 15th, 2018.        Allergan Finance and its
      8         predecessor companies did not have this
      9         data prior to the purchase."
     10                      Do you see that?
     11               A.     I do.
     12               Q.     Did any of the lawyers that you
     13         worked with in this case tell you that
     14         Allergan did not in fact have this data
     15         prior to the purchase?
     16               A.     It was not made aware to me that
     17         they had purchased the data for this, as
     18         it's stated here.
     19               Q.     And my question is slightly
     20         different.
     21                      Did any of the lawyers in this
     22         case tell you that Allergan did not have it
     23         prior to the purchase?
     24               A.     No, that was not told to me that
     25         Allergan did not have access to the data

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      1

      2         prior to the purchase.
      3                      MS. LEVY:      I'm going to pass you
      4               along to someone else.           Thank you.
      5                      THE WITNESS:       Thank you.
      6                      THE VIDEOGRAPHER:         The time is
      7               5:05 p.m.      We are going off the record.
      8                      (Recess is taken.)
      9                      THE VIDEOGRAPHER:         The time is
     10               5:07 p.m.      We are on the record.
     11         EXAMINATION BY
     12         MR. HAMMOUD:
     13               Q.     Good afternoon, Ms. Keller.             My
     14         name is Adam Hammoud.          I'm an attorney from
     15         Morgan Lewis, and I represent Teva
     16         Pharmaceuticals USA Inc., Cephalon, Inc.
     17         and Actavis, LLC, which I will collectively
     18         refer to as the Teva defendants, if that's
     19         all right.
     20               A.     Great to meet you.
     21               Q.     Good to meet you.
     22                      Could you explain what national
     23         drug codes are?
     24               A.     Sure.
     25                      A National Drug Code is an NDC.

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      1

      2         I think somewhere in one of my reliance
      3         materials, it breaks down what the
      4         components of an NDC are, the first few
      5         being an identifier for the labeler and the
      6         rest about the package.
      7               Q.     Okay.     And you talked about this
      8         a little bit earlier, but can you explain
      9         the process that you followed for assigning
     10         national drug codes to specific labelers?
     11               A.     Sure.
     12                      So the first few digits, I can't
     13         remember if it's four or five, I would have
     14         to look at the breakdown of it, is for the
     15         labeler itself.
     16                      And I don't recall for this
     17         particular litigation -- or for this
     18         particular assignment needing to assign
     19         labelers to NDC codes, because they either
     20         came to me through the ARCOS data or they
     21         were through the IQVIA processing file.
     22               Q.     And so your testimony is you
     23         either retrieved the national drug codes
     24         and assigned them to labelers based on what
     25         was available to you in the ARCOS data or

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      1

      2         the IQVIA data; is that correct?
      3               A.     Sorry.     Let me state that more
      4         clearly.
      5                      The ARCOS data as it came to me
      6         for this report was processed by McCann.
      7         And McCann, I believe, already had taken
      8         those steps.       So to the extent that he had
      9         done that, that was done.
     10               Q.     And so you're relying on some of
     11         the work that McCann performed on the ARCOS
     12         data, correct?
     13               A.     That would be correct.
     14               Q.     Okay.     And how did you account
     15         for any changes in the NDC or the National
     16         Drug Code ownership by the labelers that
     17         resulted from, for example, acquisitions
     18         among the labelers?
     19               A.     Sure.     I think we discussed this
     20         a little bit earlier.
     21                      So, for example, the ARCOS file,
     22         I think the -- and I'm guessing at how
     23         McCann processed it, so you would have to
     24         take his testimony and his methodology as
     25         how he actually did it.           But if I were him,

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      1

      2         what you would do is take the NDC labeler
      3         file from the FDA and then match it based
      4         off of the first four.          And so that data
      5         set is available at a snapshot in time.
      6                      And then for the IQVIA data, that
      7         came with a processing file, so it has
      8         nothing to do with NDCs, but the IQVIA
      9         unique identifier for each drug and then
     10         match those across.
     11               Q.     Okay.     And if you turn to page 85
     12         of your report.
     13                      (Witness complies.)
     14               Q.     You can turn to page 87.            And
     15         look at table 77 for me.
     16                      In table 77, you identify Actavis
     17         Pharma, Inc., Allergan, Inc., Cephalon,
     18         Inc. and Watson Pharma, Inc. as part of the
     19         labeler named group under Teva; is that
     20         correct?
     21               A.     Are we looking at table 77?
     22               Q.     Yes.
     23               A.     So I see Allergan, Teva, and Teva
     24         and another Teva.
     25               Q.     So you see Allergan, Teva CNS,

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      1

      2         Teva Parenteral and Med and Teva
      3         Pharmaceuticals assigned to Teva, correct?
      4               A.     I do see that.
      5               Q.     And then if you turn back to page
      6         85 briefly, here is where you see Teva as
      7         the labeler named group for Teva
      8         Pharmaceuticals USA, Actavis Pharma, Inc.,
      9         Allergan, Inc., Cephalon, Inc. and Watson
     10         Pharma, Inc.; is that correct?
     11               A.     That is correct.
     12               Q.     Does that mean that all the NDCs,
     13         the national drug codes assigned to Teva
     14         Pharmaceuticals USA, Inc., Actavis Pharma,
     15         Inc., Allergan, Inc., Cephalon, Inc.,
     16         Watson Pharma, Inc. in that table and in
     17         your analysis were included in the
     18         transactions that were flagged for Teva's
     19         products?
     20               A.     Correct.      All of the products
     21         underneath each one of these, so Teva,
     22         Actavis, Allergan, Cephalon, and Watson
     23         were all grouped under Teva.
     24               Q.     And was that for all points in
     25         time?

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      2               A.     Yes.
      3               Q.     All right.       And if you turn
      4         briefly to page 28, footnote 79, here in
      5         this footnote, it says, "Teva acquired the
      6         Actavis/Watson generic pharmaceutical
      7         business from Allergan in 2016, and those
      8         entities are currently operating under the
      9         Teva SOMS system.         Prior to 2016, the
     10         Actavis/Watson operated under Allergan's
     11         SOMS system."
     12                      Did I read that correctly?
     13               A.     You did.
     14               Q.     And is that your testimony today,
     15         do you believe that to be truthful that,
     16         excuse me, that Teva acquired the Actavis
     17         and Watson generic pharmaceutical business
     18         from Allergan in 2016?
     19               A.     As it states in my report, yes.
     20               Q.     What I'm trying to understand is
     21         where you got the -- what support you have
     22         that Teva acquired Allergan, Inc.
     23               A.     What support I have that Teva
     24         acquired Allergan?
     25                      I think as we were stating

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      2         earlier, that there is a document, and I
      3         would be happy to provide it if it's not
      4         part of our reliance materials.
      5               Q.     Okay.     But you're not sure one
      6         way or the other if Teva, in fact, acquired
      7         Allergan, right?
      8               A.     I'm not an expert in corporate
      9         acquisition, no.
     10               Q.     No worries.
     11                      Back to national drug codes.
     12                      Did you distinguish any of the
     13         national drug codes for generic
     14         opioid-containing products various national
     15         drug codes for branded opioid-containing
     16         products?      Did you make any -- did you
     17         distinguish between generic and branded
     18         products in any way?
     19               A.     Not for this, no.
     20               Q.     Okay.     And were the national drug
     21         codes pulled from the IQVIA data that you
     22         received, I guess, that was produced by
     23         Allergan but that you received through
     24         plaintiff's counsel?
     25               A.     So just to clarify.          ARCOS have

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      2         NDCs.    Chargebacks generally have NDCs.
      3         But the IQVIA data does not contain a NDC.
      4         It has its own unique identifier, and it's
      5         impossible to know what that NDC --
      6               Q.     Okay.
      7               A.     -- what corresponding NDC is
      8         there.     They have their own little number.
      9               Q.     Understood.
     10                      So you obtained that NDC from
     11         chargebacks in ARCOS data; is that correct?
     12               A.     Yes, there were NDCs and
     13         chargebacks in ARCOS.
     14               Q.     Did you remove any national drug
     15         codes during your analysis?
     16               A.     Sure.
     17               Q.     And I guess you can -- if you
     18         need to refer to it, in page 94 of your
     19         report, paragraph 170, you start to talk
     20         about that a little bit.
     21                      Do you recall the process you
     22         followed for removing those national drug
     23         codes?
     24               A.     So there's a few things I think
     25         that are being conflated here.

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      2                      So this section here is talking
      3         about chargebacks, and it's cleaning
      4         steps that were taken -- so paragraph 170
      5         is talking about the steps to process the
      6         chargeback data.        If you want to ask me
      7         about the NDC codes and specifically which
      8         ones weren't included or included in the
      9         analysis, I think I talk about that earlier
     10         in a different paragraph of the report.
     11               Q.     Okay.     Even with respect to the
     12         chargeback data, you said there were
     13         invalid NDCs.       That NDC values were
     14         identified that could not be validated by
     15         DEA, FDA or CMBS data sources; is that
     16         correct?
     17               A.     That is correct.         I looked to see
     18         if I could match -- so when we received the
     19         data, some of the NDCs were just either cut
     20         off, incomplete, mispadded.            So NDCs need
     21         to be padded to a 9, 10 or 11-digit format
     22         following a certain formatting structure.
     23         And if any one of those combinations of
     24         formatting didn't match what would have
     25         been a valid NDC in any of the files that I

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      2         searched, and I tried very hard to try to
      3         find a match for these files because I
      4         didn't want to exclude data, then they
      5         would have been excluded.
      6                      So, you know, an example, and I
      7         remember seeing it, would be an NDC code of
      8         just straight zeroes.          Zero, zero, zero,
      9         zero, zero.      That would not have been
     10         included.
     11               Q.     Okay.     Thank you.
     12                      Turning now to suspicious order
     13         monitoring analytics and programs, are you
     14         familiar with Cephalon, Inc.?
     15               A.     To the extent that its name
     16         appears in the data, but not much beyond
     17         that.
     18               Q.     Did you review any documents
     19         regarding Cephalon's suspicious order
     20         monitoring program?
     21               A.     I don't believe that we have a
     22         Cephalon flag.       And I don't remember,
     23         sitting here right now, reviewing any
     24         documents about their program.
     25               Q.     So you did not review any

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      2         documents regarding Cephalon's
      3         investigation of any transactions or orders
      4         that it may have flagged, correct?
      5                      MS. CONROY:       Objection.
      6               A.     Correct.      That would be outside
      7         of my scope, too.
      8               Q.     Turn to paragraph 69.
      9               A.     I'm sorry, paragraph 69, not
     10         page?
     11               Q.     Yes.    It's on page 21.         Sorry.
     12               A.     I am there.
     13               Q.     Okay.     Did you review any
     14         documents regarding Teva's SORDS of one
     15         system?
     16               A.     Yes.
     17               Q.     So I see here --
     18               A.     I'm sorry, SORDS I?
     19               Q.     Yes.    Here in paragraph 69 you
     20         say, "Teva's SOMS system (referred to as
     21         SORDS II) was in effect from approximately
     22         2012 to 2015, when it was replaced by a
     23         system called DefOps," D-e-f, O-p-s.
     24               A.     So SORDS I, I recall maybe
     25         briefly seeing some documentation on it,

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      2         but I think mostly -- I'm thinking most
      3         clearly about the ones that are referenced
      4         here.
      5               Q.     Okay.     And so you did not attempt
      6         to apply any algorithms from Teva's SORDS I
      7         program to any of the data, correct?
      8               A.     Correct.      If they're not here,
      9         then we didn't apply them.            But we could if
     10         asked.
     11               Q.     And did you review any documents
     12         regarding Teva's DefOps system?
     13               A.     Yes.
     14               Q.     And I think you referenced them
     15         in paragraph 70 if you want to look at
     16         that.
     17               A.     Thank you.
     18                      (Document review.)
     19               Q.     You did not apply the algorithm
     20         used by Teva's DefOps system to any of the
     21         data discussed in your report, correct?
     22               A.     I'd have to look at the document,
     23         I'm sorry, I'm getting a little fuzzy
     24         today.     But it appears, yes, we did not
     25         implement it because it was not -- we

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      2         weren't able to programmatically implement
      3         it.
      4               Q.     Okay.     And you're aware that the
      5         DefOps program, as you state here, went
      6         into effect in 2015; is that right?
      7               A.     That is what it states here.             And
      8         I believe there's transcripts that state
      9         that.
     10               Q.     But you did -- but you did apply
     11         the algorithm used by Teva's SORDS II
     12         system, that right, correct?
     13               A.     That appears to be correct.
     14               Q.     Okay.     And you gathered
     15         information about that algorithm through a
     16         review of something called the Buzzeo -- or
     17         what you referred to as the Buzzeo/Cegedim
     18         compliance report in paragraph 69; is that
     19         correct?
     20               A.     That is what we cite, yes.
     21               Q.     Okay.     Did you review any
     22         documents besides the Buzzeo/Cegedim
     23         compliance report to gather information
     24         about Teva's SORDS II system?
     25               A.     If they're cited here, I'd have

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      2         to look at which Bates numbers applies to
      3         which document.
      4               Q.     But you don't recall reviewing
      5         any other documents besides the Cegedim,
      6         the Buzzeo/Cegedim compliance report?
      7               A.     If I did, they're in my reliance,
      8         but not that I can recall sitting here and
      9         talking to you.
     10               Q.     In paragraph 69, you state that
     11         your report or your report states that
     12         "Under the SORDS II program, orders by NDC
     13         that were more than three standard
     14         deviations above the customer's consents
     15         monthly mean were flagged by Teva."
     16                      Do you see that?
     17               A.     I do.
     18               Q.     About halfway down that
     19         paragraph, you note that "Any order that is
     20         in excess of the three standard deviations
     21         above the mean is pended for further
     22         investigation."
     23                      Do you see that?
     24               A.     Yes, I see that quote.           It's in
     25         quotes.

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      2               Q.     "And that the monthly mean was
      3         refreshed periodically."
      4                      Do you see that as well?
      5               A.     I do see that.
      6               Q.     Which you understood to mean that
      7         "The mean and standard deviation were
      8         calculated approximately twice per year
      9         using the most recent six months of data."
     10                      Do you see that?
     11               A.     I do see that.
     12               Q.     When you say "six months of
     13         data," what data are you referring to?
     14               A.     So that would be the chargeback
     15         data that it would be applied to.
     16               Q.     And so your understanding is that
     17         the system, excuse me, that the monthly
     18         mean was refreshed periodically and that
     19         the mean and standard deviation were
     20         calculated approximately twice per year
     21         using the most recent six months of
     22         chargeback data?
     23               A.     So we applied it to the
     24         chargeback data.        And so when we're making
     25         this assumption, we're assuming that the

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      2         most recent six months, so let's say we're
      3         doing the report on -- let's make it easy
      4         on myself -- on February would be like
      5         January and then the preceding six months
      6         to that.     And then that block would be
      7         refreshed to include the next six months.
      8               Q.     Okay.     Did you review any orders
      9         that Teva had received?
     10               A.     Any orders that Teva had
     11         received...
     12                      Not unless they appeared in the
     13         chargeback data.
     14               Q.     And did you review any data that
     15         Teva had about its orders that was
     16         available to Teva at the time the orders
     17         were made?
     18               A.     No.    That would be outside of
     19         this report.
     20               Q.     Did you determine whether the
     21         Teva transactions flagged by your various
     22         metrics, by various metrics in your report
     23         were also flagged by the Teva defendants'
     24         SOM systems?
     25                      MS. CONROY:       Objection.

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      2               A.     I would not know.
      3               Q.     Did you look to see if those
      4         transactions were flagged by those systems?
      5                      MS. CONROY:       Objection.
      6               A.     Again, I wouldn't know.           It was
      7         not asked of me.
      8               Q.     And so you did not review any
      9         documents regarding investigations of
     10         pended orders in those systems; is that
     11         accurate?
     12               A.     Not that I can recall.           That
     13         would have been outside of my expertise to
     14         review those.
     15               Q.     I know we discussed this a little
     16         bit before, but I want to make it clear for
     17         the record.
     18                      On page 9 of your report, in
     19         paragraph 22, you say that "The report
     20         focuses specifically and exclusively on
     21         manufacturers' anti-diversion and
     22         suspicious order monitoring programs,"
     23         correct?
     24               A.     Correct, it does state those
     25         words.

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      2               Q.     And is that what you were
      3         endeavoring to offer an opinion on, the
      4         suspicious order monitoring programs?
      5                      MS. CONROY:       Objection.
      6               A.     No.    I think as we stated
      7         earlier, and it's my intention to answer
      8         this the same as I have before, but I was
      9         asked to apply the known compliance metrics
     10         to labelers' data including chargebacks and
     11         IQVIA data.
     12               Q.     Okay.     So you're not offering any
     13         opinions today that the Teva defendants
     14         failed to flag a potentially suspicious
     15         order, correct?
     16               A.     Correct.
     17                      MS. CONROY:       Objection.
     18               A.     Outside of my scope.
     19               Q.     Similarly, you're not offering
     20         any opinions today or in your report that
     21         the Teva defendants failed to detect and
     22         report a suspicious order, correct?
     23               A.     Correct.      That would be outside
     24         of my expertise.
     25                      MR. HAMMOUD:       All right.       That's

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      2                all the questions I have.           Thank you
      3                very much for your time.
      4                      THE WITNESS:       Thank you.
      5                      THE VIDEOGRAPHER:         The time is
      6                5:25 p.m.     We are now off the record.
      7                      (Recess is taken.)
      8                      (Keller Exhibit 20, Report of
      9                Edward J. Buthusiem of Berkeley
     10                Research Group, not Bates-stamped,
     11                marked for identification, as of this
     12                date.)
     13                      THE VIDEOGRAPHER:         The time is
     14                5:27 p.m.     We are back on the record.
     15         EXAMINATION BY
     16         MR. GOLDSTEIN:
     17                Q.    Good afternoon, Ms. Keller.             My
     18         name is Josh Goldstein with the law firm of
     19         Ropes & Gray.       I represent Mallinckrodt,
     20         LLC.
     21                      I've placed in front of you
     22         what's been marked as Exhibit 20.
     23                      Do you recognize that document?
     24                A.    I do.
     25                Q.    Have you reviewed that document?

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      2               A.     I have.
      3               Q.     And for the record, what is that
      4         document?
      5               A.     It is a report by Edward
      6         Buthusiem, I'm not sure if I'm saying that
      7         correctly.
      8               Q.     We can go with your pronunciation
      9         for the first -- for today's deposition.
     10                      And when did you first review it?
     11               A.     I would say either in late May or
     12         early June.
     13               Q.     Do you recall for how long you
     14         reviewed it?
     15               A.     How long did it take me to read
     16         it?
     17               Q.     Sure.
     18               A.     For as long as it takes to read.
     19         I don't know, maybe an hour it takes to
     20         read.
     21               Q.     Were you asked to offer any
     22         opinions based on Mr.          Buthusiem's report?
     23               A.     No.
     24               Q.     Do you intend to offer an opinion
     25         at trial regarding his report?

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      2               A.     I'm not certain.
      3               Q.     Have you conducted any additional
      4         analysis as a result of your review of
      5         Mr. Buthusiem's report?
      6               A.     Yes.
      7               Q.     Could you describe that, please?
      8               A.     I reviewed his work and our work
      9         as well.
     10               Q.     And when you say his work and
     11         your work, could you elaborate?
     12               A.     The examples that he cites in his
     13         report.
     14               Q.     Did you review the materials --
     15         strike that.
     16                      Did you just review the report
     17         that's been placed in front of you or did
     18         you review materials he relied on?
     19               A.     I also reviewed his reliance.
     20               Q.     I think this is probably
     21         encompassed in what I've already asked, but
     22         if I'm understanding you correctly, you
     23         don't intend to supplement your report as a
     24         result of your review of his report?
     25               A.     Not that I'm aware of at this

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      2         time.
      3               Q.     Okay.     Did you form a general
      4         impression of his report?
      5               A.     No.
      6               Q.     Do you recall generally the main
      7         points that Mr. Buthusiem makes in his
      8         report?
      9               A.     I do.
     10               Q.     What are they?
     11               A.     He discusses chargebacks to a
     12         great degree and then discusses some of our
     13         processing of the data.           I would say not
     14         even processing, more our analysis of the
     15         data.    And then I would say a third piece
     16         would be to describe how Mallinckrodt's --
     17         I don't know how to word this
     18         appropriately, forgive me, it's getting
     19         late in the day -- to describe how
     20         Mallinckrodt views using its different data
     21         sets available to them, to the labeler.
     22         I'm sorry if that's not clear.
     23               Q.     I think I understand you.
     24                      Which data sets are you referring
     25         to in particular?

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      2               A.     Specifically he brings up a sales
      3         data set that I thought was interesting to
      4         review.
      5               Q.     Sorry to go back to this, but
      6         when you -- have you reviewed his report
      7         since the initial time that you reviewed it
      8         in late May or early June?
      9               A.     Yes.
     10               Q.     Did you review it in preparation
     11         for the deposition today?
     12               A.     Yes.
     13               Q.     Do you remember the last time you
     14         reviewed it?
     15               A.     Last night.
     16               Q.     Now of the three key points that
     17         you just identified, or I don't think you
     18         used the word "key," but the three main
     19         points, I believe is what my question asked
     20         for, do you disagree with any of the points
     21         that Mr. Buthusiem made?
     22               A.     I do.     I think that -- I do.
     23         I'll just leave it at that.
     24               Q.     Okay.     Could can you elaborate?
     25               A.     I think he misunderstood our

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      2         report and what we were trying to do.
      3               Q.     And what do you mean by that?
      4         What makes you think he misunderstood the
      5         report?
      6               A.     So he takes to task that we
      7         incorrectly include some orders in our
      8         analysis.
      9                      What I stated and intended to do
     10         was to provide examples of chargeback
     11         requests that included NDCs that were part
     12         of peculiar orders.
     13               Q.     I think maybe -- strike that.
     14                      So I'd like to kind of walk
     15         through some of the statements in his
     16         report and maybe sort of hone in on where
     17         the disagreements might be.
     18               A.     Sure.
     19               Q.     So just generally speaking, what
     20         is your understanding of the purpose of
     21         chargeback data?
     22               A.     As I think I state in the report,
     23         it helps protect the labeler from -- well,
     24         actually, let me make sure I state it
     25         right.     I got it right here.

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      2                      (Document review.)
      3               A.     "Submitted by the distributors to
      4         labelers to protect distributors from
      5         profit loss when drugs are sold at" -- "to
      6         a buyer at less than the distributor paid
      7         for them."
      8               Q.     Did you understand it to be a
      9         type of financial reconciliation mechanism?
     10               A.     If you want to call it that.
     11               Q.     You wouldn't take issue with that
     12         characterization?
     13               A.     Yeah, I understand it to be like
     14         maybe like in an colloquial term, a rebate
     15         or something like that.           Maybe that --
     16         that's probably not the right word to use,
     17         especially in pharmaceuticals because I
     18         think that means something different there,
     19         but it's helped kind of make somebody
     20         whole.     I think I've heard that phrase
     21         used.
     22               Q.     Understood.
     23                      So let me frame it this way and
     24         see if you agree or disagree?
     25                      Is it fair to say that

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      2         distributors provide chargeback data to
      3         manufacturers in order to be compensated
      4         for the difference between the price a
      5         distributor sells the product to a pharmacy
      6         and the price that the distributor paid the
      7         manufacturer for that product?
      8                      MS. CONROY:       Objection.
      9               A.     I think that's in the same realm
     10         of what I mean to say in 33 but, sure, the
     11         definition is what it is.
     12               Q.     So just to be clear, you don't
     13         take issue with the definition I just
     14         provided?
     15                      MS. CONROY:       Objection.
     16               A.     I wouldn't know exactly the
     17         correct definition of a chargeback.               That's
     18         not my area of expertise.           But it sounds
     19         good to me sitting here.
     20               Q.     Do you have an understanding of
     21         whether manufacturers purchase chargeback
     22         data from distributors or whether that data
     23         is provided to manufacturers by
     24         distributors?
     25               A.     I mean, it depends on how you

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      2         define the word "purchase," but I don't
      3         really know how they come to get, but I
      4         know that they have that data.
      5               Q.     So you're not aware one way or
      6         the other whether manufacturers purchase
      7         chargeback data from distributors?
      8                      MS. CONROY:       Objection.
      9               A.     Yes, that would be outside of my
     10         expertise of how they came to get the data.
     11         I just know what I was given.
     12               Q.     Now a chargeback request is
     13         submitted by the distributor to a
     14         manufacturer after the distributor has
     15         already shipped the order to the pharmacy
     16         or whatever the downstream customer is; is
     17         that right?
     18               A.     I don't know for certain because
     19         I'm not an expert in chargebacks.
     20               Q.     Is that consistent with your
     21         understanding of how chargebacks work?
     22               A.     I would think so, yes.
     23               Q.     And a chargeback request is only
     24         submitted by a distributor to a
     25         manufacturer for sales that a distributor

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      2         made to a distributor's customer; is that
      3         fair to say?
      4               A.     I think that's fair to say.
      5               Q.     And of sales that a distributor
      6         makes to a distributor's customer, not
      7         every sale is eligible for a chargeback
      8         with respect to the manufacturer; is that
      9         right?
     10               A.     Yes, I think we state that in our
     11         report that some percentage, depending on
     12         the labeler, are submitted for chargebacks
     13         and some are not.
     14               Q.     Apologies.       I think you might
     15         have testified to this already, but a
     16         manufacturer only has chargeback data for
     17         sales to a distributor of the
     18         manufacturer's own product.            Is that your
     19         understanding?
     20               A.     Generally, that's my
     21         understanding.       I do remember seeing, and
     22         it may have been an invalid NDC code issue,
     23         some crossover between labelers where NDCs
     24         of one labeler were in another labeler's
     25         chargeback request.         But they were very,

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      2         very tiny, and I assumed that it was just
      3         an error in the data.
      4               Q.     Okay.     Understood.
      5                      And that is true regardless of --
      6         strike that.
      7                      That's true even in situations
      8         where a company is selling its own generic
      9         product of another manufacturer's branded
     10         products?      Is that your understanding?
     11               A.     Help me get a better question.
     12               Q.     Sure.
     13                      Do you have an understanding of
     14         the difference between a generic
     15         manufacturer and a branded manufacturer?
     16               A.     I understand that some drugs are
     17         generic and some drugs are brand name, yes.
     18               Q.     And what is your -- can you
     19         describe that understanding?
     20               A.     I mean, I don't really -- I don't
     21         have expertise or deep knowledge in what
     22         goes in behind that, but I understand that
     23         when I match it to an FDA file, some have a
     24         brand name B next to them and some drugs,
     25         NDCs, have a G for generic.            I don't know

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      2         if that's actually how it shows up in the
      3         data, but in simplest terms, that's -- I do
      4         understand that there's be a distinction
      5         between the two.
      6                Q.    Okay.     And so as far as you know,
      7         the manufacturer of a generic product only
      8         gets chargeback data for that product;
      9         doesn't get chargeback data from any other
     10         manufacturer?
     11                      MS. CONROY:       Objection.
     12                A.    I would say in the data that I
     13         saw and used, I only saw manufacturer's own
     14         data.    And it generally reflected the NDC
     15         codes that I understood them to label based
     16         off of the labeler mappings from FDA and
     17         DEA.
     18                Q.    Okay.     I'd like to ask you to
     19         turn to paragraph 13 of Mr. Buthusiem's
     20         report.     It's on page 5.
     21                      (Witness complies.)
     22                Q.    And what I'd like to do is walk
     23         through some of the statements in this
     24         report.
     25                      So the first sentence,

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      2         Mr. Buthusiem writes, "Across the
      3         pharmaceutical industry, chargeback
      4         requests from distributors to manufacturers
      5         do not indicate what specific product
      6         inventory, i.e. which particular bottles or
      7         packages, the distributor used to fulfill
      8         the sale to the downstream registrant."
      9                      Do you see that?
     10               A.     I do.
     11               Q.     Do you agree with that statement?
     12               A.     I really wouldn't know.           It's
     13         outside of my expertise.
     14               Q.     So you have no reason to disagree
     15         with that statement?
     16               A.     I wouldn't have the expertise to
     17         agree or disagree.
     18               Q.     Okay.     Skipping down to the
     19         sentence in the middle of the paragraph
     20         that starts "As such," do you see that?
     21               A.     I do.
     22               Q.     And the underlying portion reads.
     23         "The manufacturer cannot use chargeback
     24         data to trace a downstream sale back to the
     25         specific original direct manufacturer to

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      2         distributor sale or sales."
      3                      Do you see that?
      4               A.     I do see that.
      5               Q.     And do you agree with that
      6         statement?
      7               A.     I do not.
      8               Q.     Which part do you disagree with?
      9               A.     Which part?       I'm sorry.      Ask me a
     10         different question or --
     11               Q.     Sure.
     12                      What do you disagree with about
     13         that statement?
     14               A.     So I believe in my report we do
     15         trace the chargeback data back to the --
     16         for a second.
     17                      So he refers to sales data.             I
     18         didn't review sales data.           So I actually
     19         couldn't be certain if you could trace a
     20         chargeback back to sales data.
     21                      What I had available to me was
     22         chargeback data and peculiar order data.
     23               Q.     Just so the record is clear, what
     24         sales data are you referring to that
     25         Mr. Buthusiem reviewed that you said you

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      2         didn't review?
      3                A.    There is a cite here.           The direct
      4         sales transaction, 1998 to -- that's in
      5         footnote 9, MNKT1_0007897646.
      6                Q.    Okay.     And that's data that you
      7         did not review in connection with your
      8         report?
      9                A.    That is correct.
     10                Q.    And have you reviewed it since --
     11         have you ever reviewed that data?
     12                A.    I have.
     13                Q.    You reviewed it after you
     14         prepared your report?
     15                A.    I did.
     16                Q.    So now that that data has been
     17         made available to you, does it change your
     18         opinions at all that you offer in your
     19         expert report?
     20                A.    I'm really not sure at this time.
     21         I haven't fully completed my analysis.
     22                Q.    Is it fair to say you're in the
     23         process of making that determination?
     24                A.    I don't know if I will or will
     25         not.    I just don't know.

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      2               Q.     But have you begun that analysis?
      3               A.     I would say I've reviewed the
      4         data sources that he has used and used his
      5         report, and that's where we are right now.
      6               Q.     At this time, do you have any
      7         reason to disagree with -- strike that.
      8                      At this time, are there any
      9         opinions that you intend to offer based on
     10         your review of the direct sales data?
     11               A.     I do not plan to offer opinions
     12         today on the direct sales data or -- and I
     13         don't know if I will.
     14                      MR. GOLDSTEIN:        I'm just going to
     15               note for the record that defendants
     16               will reserve all rights in connection
     17               with any late-disclosed opinions,
     18               particularly those opinions that
     19               respond to Mr. Buthusiem's report.
     20         BY MR. GOLDSTEIN:
     21               Q.     Bear with me one second.
     22               A.     Take your time.
     23               Q.     So you testified just now that
     24         you couldn't be certain if it's possible to
     25         trace a chargeback to the -- trace a

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      2         chargeback from the sale from the
      3         manufacturer to a distributor and then from
      4         a distributor to the distributor's
      5         downstream customer.
      6                      Do you recall that?
      7               A.     So I think what I was saying is
      8         because I haven't fully reviewed the sales
      9         data, I don't know what would be possible.
     10         So that was -- I think I started making a
     11         statement but needed to clarify that.
     12         Because I haven't used this direct sales
     13         data and done this analysis, I don't know
     14         the answer.
     15               Q.     Okay.     At this point, you're not
     16         aware of any information in the direct
     17         sales data that would enable you to trace a
     18         manufacturer's sale to a distributor, to
     19         then a distributor's sale to a downstream
     20         customer?
     21               A.     I'm really not prepared to answer
     22         that either way right now.
     23               Q.     So I was just asking if you're
     24         aware of any information at this point.
     25               A.     I just -- I've reviewed the file

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      2         fairly quickly.        I'm just really not
      3         prepared to say what's in the file or what
      4         data points are there or what would be
      5         possible to review.         So I just am not
      6         comfortable with saying one way or the
      7         other what is possible or not possible.
      8               Q.     Oh, I understand.         I think my
      9         question is a little different.
     10                      It's simply, at this point in
     11         time sitting here today, if you are aware
     12         of any information that would enable you to
     13         trace manufacture's sale to a distributor,
     14         trace that order from the manufacturer to
     15         the distributor to the downstream customer?
     16               A.     So, again, the data that I used
     17         in my report was peculiar orders and
     18         chargebacks.       The data that's mentioned
     19         here that I've only briefly reviewed is
     20         sales.     So I can't offer an opinion or a
     21         statement at this time about sales.
     22               Q.     So what I'm trying to understand
     23         is that based on your review thus far,
     24         understanding that it's incomplete review
     25         of the Mallinckrodt direct sales data, if

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      2         there's any information that you've come
      3         across to date that would enable you to
      4         trace the manufacturer's sale to a
      5         distributor, to then the sale by the
      6         distributor to a downstream customer?
      7                      MS. CONROY:       Objection.      Apart
      8               from her report?
      9                      MR. GOLDSTEIN:        Based on her
     10               review of the Mallinckrodt direct sales
     11               data, which is --
     12                      MS. CONROY:       That's what you're
     13               your question is about, the
     14               Mallinckrodt direct --
     15                      MR. GOLDSTEIN:        Correct.
     16                      MS. CONROY:       Okay.    Why don't you
     17               ask it again, then.
     18                      MR. GOLDSTEIN:        Correct.
     19                      MS. CONROY:       That's what's
     20               confusing.
     21                      MR. GOLDSTEIN:        Right.     So I
     22               understand the testimony to be that
     23               Ms. Keller can't say whether the direct
     24               sales data that Mr. Buthusiem reviewed
     25               would enable or would not enable

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      2               someone to trace the order all the way
      3               from the manufacturer to the downstream
      4               customer.      And so that's where I'm
      5               going with that.
      6                      MS. CONROY:       Okay.
      7         BY MR. GOLDSTEIN:
      8               Q.     So would you like me to repeat
      9         the question?
     10               A.     Yes, please.
     11               Q.     So based on your review thus far
     12         of the Mallinckrodt direct sales data that
     13         Mr. Buthusiem cites in his report, do you
     14         have any -- are you aware of any
     15         information in that data that would enable
     16         you to trace a sale from a manufacturer, to
     17         a distributor, to then the downstream
     18         customer?
     19               A.     I mean, again, that is a very
     20         long chain that you've outlined here.                I
     21         would need to fully review it to make -- to
     22         make an actual assertation.
     23                      I mean, if there's NDC codes in
     24         there, that's where we would start.               But
     25         beyond that, I don't -- I'm not prepared to

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      2         talk about that right now.
      3               Q.     So I think I've asked this
      4         question about five times.
      5                      All I'm asking is what you're
      6         aware of today, not what you could ever
      7         possibly be aware of at some future point
      8         down the road.
      9                      So as far as, as you sit here
     10         today what you're aware of and not aware
     11         of, it sounds like you're not aware of any
     12         information that would enable you to trace
     13         an order from a manufacturer, to a
     14         distributor, to the downstream customer?
     15                      MS. CONROY:       Objection.
     16               A.     I'm not going to say aware or not
     17         aware because I haven't fully reviewed the
     18         data set.      If you want to pull it out, I'd
     19         be happy to look at it right now, but I
     20         don't remember what column headers are in
     21         there.     I don't know what fields are in
     22         there.     I just -- those are things that I
     23         would need to know to be aware or not aware
     24         and I just -- I would be happy to look at
     25         it right now if you want to pull it up on a

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      2         computer, but...
      3               Q.     Sitting here today, you don't
      4         recall if you're aware or not of whether
      5         there is any information in that direct
      6         sales data that would change your analysis?
      7               A.     So sitting here, I do not have
      8         the familiarity with the data set that
      9         would allow me to answer the question
     10         either way, that I am aware or unaware,
     11         because I would just have to look at the
     12         data set more closely to be able to answer
     13         the full question of being able to trace
     14         from here to here to here.
     15               Q.     Okay.     Well, let me move on and
     16         ask a slightly different question.               I think
     17         everyone is growing weary of that one.
     18                      If you turn to your report,
     19         paragraph 158.       It's on page 84.
     20               A.     Yes.
     21               Q.     And there, you reference roughly
     22         2,900, I think if you look at table 74,
     23         it's 2,860 peculiar orders, or to be clear,
     24         orders that Mallinckrodt had deemed
     25         peculiar based on its own monitoring system

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      2         that involved distributors that shipped the
      3         same opioid product purchased in a peculiar
      4         transaction to buyers in either Summit
      5         County or Cuyahoga County within 30 days.
      6                      Do you see that reflected in your
      7         report?
      8               A.     I do.
      9               Q.     Okay.     And so my question is,
     10         sitting here today, based on whatever
     11         you've reviewed to date, can you state with
     12         100 percent certainty that any of those
     13         2,860 orders that are referenced in table
     14         74 were shipped themselves into Cuyahoga or
     15         Summit County?
     16               A.     So the question is -- can you
     17         state it a little bit more succinctly for
     18         me?
     19               Q.     Sure.     Let me try again.
     20                      Can you state with 100 percent
     21         certainty that any of the 2,860 orders that
     22         are identified in table 74 -- you see those
     23         orders that I'm talking about?
     24               A.     I do.
     25               Q.     Okay.     If any of those orders

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      2         were definitively shipped into Cuyahoga or
      3         Summit County as opposed to shipped
      4         somewhere else?
      5               A.     So those orders contained an NDC
      6         product that was deemed peculiar at some
      7         point by Mallinckrodt in the previous 30
      8         days that went to a Summit or Cuyahoga
      9         County buyer.
     10               Q.     So your testimony sitting here
     11         today is that you can definitively trace
     12         the orders that were placed by a
     13         distributor to Mallinckrodt, these 2,860
     14         orders, that Mallinckrodt -- let me back
     15         up.
     16                      Mallinckrodt, your understanding
     17         is that Mallinckrodt shipped those orders
     18         to various distributors, correct?
     19               A.     So you've got two points in
     20         there.     That Mallinckrodt shipped to those
     21         distributors or -- I'm sorry, I just don't
     22         really follow your question.
     23               Q.     I'll start over.         That's fine.
     24                      So the 2,860 peculiar orders that
     25         are identified in table 74, your

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      2         understanding is that those orders were
      3         placed by a distributor to Mallinckrodt,
      4         correct?
      5               A.     Yes.
      6               Q.     And as far as you know,
      7         Mallinckrodt shipped those orders to
      8         various distributors, correct?
      9               A.     I would -- yes, I think because
     10         these are peculiar orders.            So at some
     11         point, yes, I would assume that that --
     12         they were deemed peculiar so -- I don't --
     13         let me state this more completely.               And I'm
     14         sorry, my brain is getting fuzzy.
     15                      They appear in the peculiar order
     16         data for Mallinckrodt, and these are the
     17         distributors that are in that data.
     18                      Whether or not those were
     19         actually shipped or unshipped, I couldn't
     20         answer as to whether, whether that
     21         happened.
     22               Q.     So I guess now I'm a little
     23         confused.      I thought that your report is --
     24         in your report, I thought you're saying
     25         that these are orders that were shipped

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      2         into Cuyahoga or Summit County; is that
      3         right?
      4               A.     So that's the chargeback
      5         component.      We looked at chargeback data
      6         and peculiar order data.
      7               Q.     Okay.
      8               A.     So to the extent that a
      9         chargeback existed, one has to make the
     10         assumption that it made it there, that the
     11         product made it there.
     12               Q.     Well, let me follow up with
     13         something you said.
     14                      Are you aware of any
     15         identification code or any data contained
     16         within chargeback data, the peculiar order
     17         data, or any other data that links a
     18         peculiar order and a chargeback?
     19               A.     Well, yes.
     20               Q.     What data is that?
     21               A.     So I mean, we'd have to consult
     22         how we did this in the code, but there's --
     23         you would need the NDC code of the
     24         products, as well as the distributor that
     25         that product went through.

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      2               Q.     Okay.     So let me go back to my --
      3         go back a couple of questions which is, as
      4         far as you know, the way the supply chain
      5         works is, distributor places an order with
      6         a manufacturer, we established that.               The
      7         manufacturer ships the order to the
      8         distributor?
      9               A.     Yes.
     10               Q.     Okay.     So once the distributor
     11         has obtained the order, the distributor has
     12         inventory of that product, whatever product
     13         was contained in that order.
     14                      Is that your understanding?
     15               A.     I think I've seen data that
     16         reflects what you're trying to say, yeah.
     17               Q.     Do you have an understanding
     18         of -- I guess I should put it this way:                Do
     19         you have an understanding of how an order
     20         placed by a distributor to a manufacturer
     21         ends up -- well, strike that.
     22                      Do you have an understanding of
     23         how the 2,860 orders that you identify in
     24         table 74 were shipped into Cuyahoga or
     25         Summit County as you have opined?

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      2                      MS. CONROY:       Objection.
      3               A.     How they were shipped, like what
      4         was the method that they arrived in Summit
      5         County?
      6               Q.     Yes.    They were shipped there by
      7         a distributor into Summit or Cuyahoga
      8         County.
      9                      Is that your opinion?
     10               A.     I guess I don't really understand
     11         the question.       I'm sorry if I'm -- I'm not
     12         trying to be obstinate.           I just don't
     13         understand.      Are you asking me -- I just
     14         don't understand quite what you're asking
     15         me.
     16               Q.     What I'm getting at is that, once
     17         a, once product is shipped -- I'll start
     18         over.
     19                      Do you have an understanding of
     20         whether distributors that receive products
     21         from manufacturers typically hold inventory
     22         of the product that they are purchasing
     23         beyond the single order that was purchased?
     24               A.     I have no expertise in what the
     25         inventory practices are of distributors.

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      2               Q.     So you don't know if, for
      3         example, if a distributor purchases --
      4         places an order with Mallinckrodt for one
      5         of its products, you don't know if -- and
      6         Mallinckrodt ships it to that distributor,
      7         the product that was purchased, you don't
      8         know if the distributor would have other of
      9         Mallinckrodt's products already in its
     10         inventory at the time it places that order?
     11               A.     Correct.      I'm not an expert in
     12         supply chain, nor am I an expert in
     13         distributor LIFO or any of their practices
     14         there, nor do I -- you had another point in
     15         there, but, no, that would be outside of my
     16         expertise.      Actually, nor was I given data
     17         on those practices.
     18               Q.     Okay.     And if a distributor at
     19         the time it placed an order that the
     20         distributor deemed -- that that -- strike
     21         that.
     22                      If a distributor in its inventory
     23         had product from Mallinckrodt that was
     24         purchased via multiple orders --
     25                      Are you with me so far?

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      1

      2               A.     Yeah.
      3               Q.     Okay.     If that was the case, do
      4         you have an understanding of whether it
      5         would be possible for Mallinckrodt to
      6         determine whether any -- or whether
      7         chargeback data provided to Mallinckrodt
      8         would reflect whether any product that's
      9         ultimately shipped into Cuyahoga or Summit
     10         County is from a particular order that was
     11         placed to Mallinckrodt?
     12               A.     I'm sorry, I'm rereading your
     13         question here to make sure I understand.
     14               Q.     Take your time.
     15                      MS. CONROY:       Object to the
     16               question.
     17               A.     I just don't... I don't really
     18         know how to answer this question because
     19         I've got chargeback data, correct, but as
     20         we've discussed, I haven't reviewed the
     21         sales data, and I have peculiar orders
     22         data.
     23                      But I think all of that is a
     24         little bit mixed together in this question,
     25         so I'm not quite sure what you're trying to

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      1

      2         ask me.     And I'm sorry, it might be that
      3         it's late in the day.
      4               Q.     Well, let's say a distributor has
      5         two orders in its inventory worth of the
      6         same -- the same Mallinckrodt products,
      7         okay?
      8               A.     Okay.     Let's go with that.         This
      9         is good.
     10               Q.     One order has been deemed by
     11         Mallinckrodt to be peculiar.
     12               A.     Okay.
     13               Q.     The other has not.
     14               A.     Okay.
     15               Q.     The distributor then ships some
     16         portion of its inventory of that
     17         Mallinckrodt product into -- to a pharmacy
     18         located in Cuyahoga or Summit County, okay?
     19               A.     Okay.
     20               Q.     Are you aware of any way to
     21         determine, for Mallinckrodt to determine
     22         through the use of chargeback data whether
     23         any of the product that was shipped into
     24         Cuyahoga or Summit County was part of what
     25         had been flagged as peculiar?

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      2               A.     Well, yes.       I think that's what
      3         we do in our analysis where that -- some of
      4         the -- so an order of an NDC product that
      5         was ultimately shipped to Summit or
      6         Cuyahoga County resulted in a chargeback
      7         request within the next 30 days.
      8               Q.     But you, sitting here today,
      9         can't say with certainty whether the
     10         chargeback request that was sent was for
     11         product that was flagged as peculiar or it
     12         was from other product that was in the
     13         distributor's inventory that was not
     14         flagged as peculiar?
     15                      MS. CONROY:       Objection.
     16               A.     So because there was many
     17         products shipped after which it was being
     18         deemed peculiar to a distributor, you're
     19         saying because you continued shipments
     20         after they were deemed peculiar, that
     21         that -- you're trying to ask me if that
     22         deems it impossible to trace a chargeback?
     23               Q.     No.    I'm asking if the
     24         distributor requests a chargeback from
     25         Mallinckrodt -- strike that.            Let me move

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      1

      2         on.
      3                      You selected a 30-day cutoff as
      4         part of your analysis of Mallinckrodt's
      5         peculiar orders?
      6               A.     Sure.
      7               Q.     How did you determine that as the
      8         window of time?
      9               A.     So in reviewing the SOMS
     10         documentation, many algorithms reflected a
     11         30-day lookback.        It seemed an appropriate
     12         lookback period.        And also looking at
     13         chargeback requests, some companies, I'm
     14         sorry, some distributors submitted them,
     15         what appeared to be maybe on weekly basis,
     16         some on a daily basis, some on monthly
     17         basis.     It was all over the place.            So the
     18         30 days was chosen based off of those
     19         factors.
     20               Q.     Okay.     And without consideration
     21         of any distributors's inventory management
     22         practices, correct?
     23               A.     As I stated earlier, I'm not an
     24         expert in inventory management, nor did I
     25         review those types of documents.

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      2               Q.     Okay.     So the answer is, yes,
      3         that is correct, that you did not consider
      4         distributors's inventory management
      5         practices when setting the 30-day cutoff?
      6               A.     I would consider inventory
      7         management practices to be out of my
      8         expertise.      And so the 30-day cutoff was
      9         based off of our review of other documents.
     10               Q.     Okay.     Now if you turn to page 8
     11         of Mr. Buthusiem report.           You recall that
     12         Mr. Buthusiem states that some of the --
     13         you made some errors with respect to the
     14         code in your report.
     15                      Do you recall that?
     16               A.     I do recall reading that.
     17               Q.     And have you gone back and looked
     18         at whether those errors in fact occurred?
     19               A.     I think he's just
     20         misunderstanding what we tried to do in the
     21         report.
     22               Q.     And how so?
     23               A.     We show orders that contained NDC
     24         products that were deemed in a peculiar
     25         report -- that were deemed peculiar.

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      2               Q.     And is that true even if --
      3         strike that.
      4                      Is it your testimony that all of
      5         the 2,860 peculiar orders had involved
      6         situations where the distributor who made
      7         the chargeback request was the same as the
      8         distributor who placed the peculiar order?
      9               A.     I think the 2,860 peculiar orders
     10         that we identified involved different
     11         distributors, not just one.
     12               Q.     Right.
     13                      What I'm saying is, for any --
     14         let's just pick one of those 2,860 peculiar
     15         orders.
     16                      For that order, are you aware of
     17         situations in which of those 2,860 orders,
     18         any one of them individually, the
     19         distributor who placed -- who made the
     20         chargeback request was different from the
     21         distributor who was identified as having
     22         placed a peculiar order?
     23               A.     So for us -- to appear in this
     24         list, they had to have of shipped -- this
     25         list contains orders that were traced to

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      2         Summit and Cuyahoga after which an NDC
      3         product within that order was deemed
      4         peculiar.
      5               Q.     Would you have included in your
      6         list of 2,860 orders any order in which the
      7         distributor who placed the chargeback
      8         request to Mallinckrodt was different from
      9         the distributor who was identified as
     10         having placed a peculiar order initially
     11         from Mallinckrodt?
     12               A.     I mean, there's lots going into
     13         that calculation, whether or not it was in
     14         the 30 days of the same order, if it was on
     15         the same day, if it was the same
     16         distributor, if it was the same NDC code.
     17         There is a lot that goes into that
     18         analysis.
     19               Q.     But your analysis attempts to
     20         link peculiar order placed by distributor
     21         to Mallinckrodt with a chargeback request
     22         that was provided by a distributor to
     23         Mallinckrodt reflecting an order that was
     24         shipped into Summit or Cuyahoga; is that
     25         right?

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      2               A.     So, yes, to the extent that the
      3         chargeback reflects the shipment and the
      4         peculiar order is the other half of the
      5         equation, yes.       I'm not trying to state
      6         that the peculiar orders were shipped.
      7               Q.     Let me ask it this way:
      8         Paragraph 158 of your report, you say, "I
      9         identified around 2,900 peculiar orders
     10         that involved distributors that shipped the
     11         same opioid product purchased in the
     12         peculiar transaction to buyers in either
     13         Summit or Cuyahoga County within 30 days."
     14                      Okay?
     15               A.     I state that.
     16               Q.     Okay.     And the next sentence
     17         says, "With chargeback data, Mallinckrodt
     18         was able to see where a peculiar orders
     19         went."
     20                      Do you see that?
     21               A.     I state that as well, yes.
     22               Q.     Okay.     So in order for -- in
     23         order to be included in one of these 2,860
     24         peculiar orders, it would, by definition,
     25         need to be an order that was placed by a

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      2         distributor to manufacturer or that was
      3         deemed peculiar by Mallinckrodt and then
      4         the same distributor submitted a chargeback
      5         request to Mallinckrodt for what you're
      6         saying reflects that same order, right?
      7               A.     It's just it's complicated,
      8         right, because we're looking at the time
      9         periods and NDC codes.
     10               Q.     I really don't think it's that
     11         complicated.       I think it's a simple
     12         question that you have a distributor where
     13         you're saying the distributor, the same
     14         distributor placed an order from
     15         Mallinckrodt, shipped it into Cuyahoga or
     16         Summit County and then submitted a
     17         chargeback request to Mallinckrodt.
     18                      So all I'm asking is, is it, by
     19         definition, the same distributor that
     20         placed the order and submitted the
     21         chargeback request?
     22                      That's a simple "yes" or "no"
     23         question.
     24               A.     Yes.    I think our code would
     25         reflect that.

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      2               Q.     Okay.     And so if your code
      3         reflected -- in there was an error in your
      4         code whereby you had a distributor, whereby
      5         you had different distributors, that would
      6         be an error in your code?
      7                      If there was a different
      8         distributor who placed the order and
      9         submitted the chargeback request, that
     10         could not be for the same order?
     11               A.     I think the code shows that it
     12         has a 30-day window, an order that contains
     13         the NDC product through that distributor.
     14               Q.     The same distributor?
     15               A.     I would think so, yes.
     16               Q.     Okay.     And if there was an order
     17         where it wasn't the same distributor, that
     18         would reflect an error in your code?
     19                      MS. CONROY:       Objection.
     20               A.     I would have to look at the full
     21         facts behind that before I'd say whether or
     22         not it would.
     23               Q.     It should not have been included
     24         in the 2,860 peculiar orders in table 74?
     25                      MS. CONROY:       Objection.

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      2               A.     I would like to look at the order
      3         before making an assertation as to whether
      4         or not it would be an error or not.
      5               Q.     It's possible that an order
      6         placed by a distributor and then a
      7         chargeback request submitted by a different
      8         distributor could be the same order
      9         reflected in these 2,860 in table 74?
     10               A.     I mean, I'm not going to talk
     11         about what's possible and not possible
     12         without looking at the data.
     13                      MR. GOLDSTEIN:        I'll pass the
     14               witness.      I'll reserve my rights.            I
     15               don't think I've gotten responsive
     16               answers to my questions.
     17                      THE VIDEOGRAPHER:         The time is
     18               6:12 p.m.      We are now off the record.
     19                      (Recess is taken.)
     20                      THE VIDEOGRAPHER:         The time is
     21               6:17 p.m.      We are back on the record.
     22         EXAMINATION BY
     23         MR. HYNES:
     24               Q.     Good evening, Ms. Keller.            My
     25         name is Paul Hynes.         I represent CVS

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      2         Indiana, LLC and CVS RX Services, Inc.
      3                      I just have a few questions about
      4         Section L of your report where you address
      5         certain pharmacies.
      6                      So if you want to turn to those
      7         pages, that would be helpful?
      8               A.     Sure.
      9               Q.     I want to first turn your
     10         attention to paragraph 127 on page 63.
     11               A.     I am there.
     12               Q.     In the first sentence, you say
     13         "The section that follows analyzes
     14         suspicious pharmacies about which labelers
     15         could have known and reported."
     16                      Do you see that?
     17               A.     I do.
     18               Q.     Okay.     What do you mean by
     19         "suspicious pharmacies"?
     20               A.     So I think I had been asked this
     21         question before, and I intend to answer it
     22         the same way as before, but when I say
     23         "suspicious," I mean they've triggered the
     24         compliance metrics that we applied to the
     25         data.

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      2               Q.     Okay.     So you're not saying that
      3         any labeler had an obligation to report
      4         those pharmacies to the DEA?
      5               A.     That would be outside of my
      6         expertise.
      7               Q.     Okay.     Do you intend to offer an
      8         opinion at trial that these pharmacies were
      9         suspicious?
     10               A.     Not beyond how I've defined
     11         "suspicious" here today.
     12               Q.     Okay.     So your opinion about
     13         these pharmacies at trial would be limited
     14         to the fact that they had orders that hit
     15         on one of the compliance metrics that you
     16         were asked to use?
     17               A.     That would be a correct
     18         characterization.
     19               Q.     Okay.     Thank you.
     20                      In reviewing the orders placed by
     21         these pharmacies or the shipments made to
     22         them, did you consider whether there were
     23         any legitimate reasons to explain their
     24         purchasing or ordering habits?
     25               A.     That would be outside of my

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      2         expertise.
      3               Q.     Okay.     So you didn't consider the
      4         location of the pharmacies?
      5               A.     That would be outside of what I
      6         was asked to do.
      7               Q.     Okay.     Did you consider whether
      8         they're located near any medical
      9         facilities?
     10               A.     I think there is one pharmacy
     11         where we show -- I think for -- in the New
     12         Choice one, we show another pharmacy,
     13         Cleveland Clinic, to demonstrate those that
     14         are near medical facilities.            But beyond
     15         that example, I don't have any others.
     16         That would be outside of my --
     17               Q.     Did you consider whether the CVS
     18         pharmacy at 8000 Euclid Avenue is located
     19         near the Cleveland Clinic's main campus?
     20               A.     Yeah, that would be outside of my
     21         expertise.
     22               Q.     Okay.     So beyond I think it was
     23         the Church's pharmacy you mentioned, you
     24         didn't consider whether any of the other
     25         pharmacies in Section L of your report were

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      2         located near any medical facilities; is
      3         that correct?
      4               A.     So I think you said Church's.
      5               Q.     I may have gotten it wrong?
      6               A.     It's in the New Choice section --
      7               Q.     New Choice.
      8               A.     -- on 74 and 75.
      9               Q.     Okay.     So besides the New Choice
     10         Pharmacy, you didn't consider whether any
     11         of the other pharmacies were located near a
     12         medical facility?
     13               A.     Correct.      That was not part of
     14         the assignment.
     15               Q.     And you didn't consider the
     16         population density of the area surrounding
     17         the pharmacies?
     18               A.     Correct.      That was not part of
     19         the assignment.
     20               Q.     So none of the pharmacies you
     21         considered that?
     22               A.     Correct.      That was not part
     23         assignment.
     24               Q.     And just to confirm, you didn't
     25         visit any of the pharmacies, did you?

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      2               A.     That's correct, I did not visit.
      3         That was not asked of me.
      4               Q.     And you've testified today that
      5         you considered manufacturer chargeback data
      6         related to these pharmacies, correct?
      7               A.     That is correct.
      8               Q.     Okay.     And you've also testified
      9         that that data is incomplete.
     10                      Is that also correct?
     11               A.     I don't recall saying
     12         "incomplete."
     13               Q.     Okay.
     14               A.     I would say that it -- because
     15         the data that I had was a full data set, so
     16         it's not to say that it's incomplete.
     17                      I think if -- maybe what you're
     18         referencing is the testimony that it
     19         reflects only a certain percentage of the
     20         total shipments or the total, yeah, the
     21         total shipments or sales made to a county.
     22               Q.     It doesn't cover all shipments
     23         made to each of these pharmacies?
     24               A.     Correct.      I think I characterized
     25         that in my report.

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      2               Q.     And did you also consider the
      3         ARCOS data that showed shipments to these
      4         stores?
      5               A.     I want to make sure that -- yes,
      6         we did.     I think it's shown throughout the
      7         report.
      8               Q.     And just to confirm, that data,
      9         though, only covers shipments of certain
     10         prescription opioids?
     11               A.     Correct.      That data produced to
     12         us had 14 drug codes.          I believe only 12
     13         were included.
     14               Q.     So it didn't have all controlled
     15         substances?
     16               A.     Correct.      It had 12 drug codes.
     17         The two that weren't included were
     18         methadone and buprenorphine.
     19               Q.     In paragraph 42 on page 14 of
     20         your report, if you want to turn to that
     21         real quick.
     22               A.     Sorry.
     23               Q.     Take your time.
     24               A.     I'm getting cold fingers.            All
     25         right.     Here we are.

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      2               Q.     The last sentence of paragraph 42
      3         states, "Several monitoring programs
      4         developed by manufacturers and distributors
      5         relied on the percentage of controlled
      6         substances to non-controlled substances as
      7         a metric."
      8                      Do you see that?
      9               A.     I do.
     10               Q.     Okay.     Did you consider that
     11         metric in analyzing any shipments made to
     12         the pharmacies in Section L of your report?
     13               A.     I would not have been able to.
     14               Q.     Why not?
     15               A.     Because I was not given access to
     16         the full sales data for a pharmacy.
     17               Q.     Did you ask for access to the
     18         full sales data?
     19               A.     I've asked for it and I don't
     20         believe that it exists or -- I've asked for
     21         it, I should say.
     22               Q.     Okay.     And what was the response?
     23               A.     And I was told that we didn't
     24         have that.
     25               Q.     Okay.     So you're not aware that

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      2         CVS and Cardinal have produced complete
      3         shipment data for the CVS pharmacy at 8000
      4         Euclid Avenue?
      5               A.     I was not provided with that
      6         data.
      7               Q.     Okay.     And did you consider the
      8         expert report of Sonya Kwon where she
      9         quantified the percentage of controlled and
     10         non-controlled substances that were shipped
     11         to the CVS at 8000 Euclid Avenue?
     12               A.     I have not read that report or am
     13         I familiar with it.
     14               Q.     Okay.     In analyzing these
     15         pharmacies, did you consider whether there
     16         was any regulatory or law enforcement
     17         action taken against any of the?
     18               A.     That would be outside of the
     19         scope of the report.
     20               Q.     And did you consider whether
     21         there was any regulatory, law enforcement
     22         or disciplinary action taken against any
     23         pharmacists who worked on those stores?
     24               A.     Again, that would be outside of
     25         the scope of the report.

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      1

      2               Q.     Okay.     And did you determine
      3         whether any prescription opioids shipped to
      4         these pharmacies were diverted?
      5               A.     Again, that would be outside of
      6         the scope of this report.
      7               Q.     Okay.     So just so we can button
      8         this all up, you considered chargeback data
      9         and ARCOS data related to these stores and
     10         that's it?
     11               A.     And also Purdue's 867.
     12               Q.     Okay.     And Purdue's 867, and that
     13         is the extent of the data that you
     14         considered related to these stores?
     15               A.     With the exception of helper
     16         files to help clean them up, whether it's
     17         an NDC code or MMEs.          But as far as data
     18         concerning those stores and the
     19         transactions about them, then, yes.
     20               Q.     But that's helper files to help
     21         clean up that data, right?
     22               A.     Correct.
     23               Q.     And you didn't look at any due
     24         diligence files that Cardinal or McKesson
     25         or CVS produced related to these stores?

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      2               A.     Correct.      That would be outside
      3         of the scope here.
      4               Q.     Okay.
      5                      MR. HYNES:       I have no further
      6               questions.       Thank you very much.
      7                      THE WITNESS:       Thank you.
      8                      THE VIDEOGRAPHER:         The time is
      9               6:26 p.m.      We are now off the record.
     10                      (Recess is taken.)
     11                      THE VIDEOGRAPHER:         The time is
     12               6:27 p.m.      We are back on the record.
     13         EXAMINATION BY
     14         MS. PERSIO:
     15               Q.     Hi, Ms. Keller.        Thank you for
     16         being here today.
     17               A.     Thanks for having me.
     18               Q.     My name is Joanna Persio.            I
     19         represent the Endo and the Par defendants
     20         in this litigation.         I have just a few
     21         questions for you.
     22                      I think I know the answers to
     23         these, so hopefully I will be brief.               I
     24         know it's been a long day so far.
     25                      Is it correct that you haven't

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      1

      2         done any analysis as to whether any of the
      3         Endo orders identified in your report as
      4         being flagged by the various compliance
      5         metrics that you have applied were or were
      6         not actually investigated or reviewed by
      7         Endo?
      8               A.     That is correct.         That would be
      9         outside of the scope of the report.
     10               Q.     And you also didn't do that
     11         analysis for any of the Par orders that are
     12         identified in your report; is that correct?
     13               A.     That is correct.         I didn't review
     14         due diligence records or anything like
     15         that.    That would be outside of the scope
     16         of the report.
     17               Q.     And the answer would be the same
     18         for the entity that you referred to as
     19         Qualitest; in your report, you didn't do
     20         any review or identification of whether or
     21         not those orders that you flagged for
     22         Qualitest were actually investigated by the
     23         entity you referred to as Qualitest?
     24               A.     Correct.
     25               Q.     So you have no basis to say

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      2         whether or not Endo or Par or Qualitest in
      3         fact flagged or investigated any of the
      4         orders that you flag for those entities in
      5         your report; is that right?
      6                      MS. CONROY:       Objection.
      7               A.     Yes.    That would be outside of my
      8         expertise.      I didn't review that.
      9               Q.     And you also couldn't say whether
     10         any of the orders for Endo or Par or
     11         Qualitest were or were not legitimate
     12         orders that should have been shipped after
     13         an investigation?
     14                      MS. CONROY:       Objection.
     15               A.     Correct.      That would be outside
     16         of the scope.
     17               Q.     And you can't say if there are
     18         any specific prescriptions for an Endo, Par
     19         or Qualitest opioid medication that were or
     20         were not legitimate?
     21                      MS. CONROY:       Objection.
     22               A.     Correct.      That would not be my
     23         area of expertise.
     24               Q.     And you're not offering in your
     25         report or planning to offer any opinion as

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      2         to whether or not Endo's investigations of
      3         any orders or any prescribers who are
      4         flagged in your report were or were not
      5         sufficient; is that right?
      6               A.     Correct.      I am not an expert in
      7         that.
      8               Q.     And you're also not offering or
      9         planning to offer an opinion as to whether
     10         or not any Par's investigations of the
     11         orders or prescribers flagged in your
     12         report were sufficient?
     13               A.     Correct.
     14               Q.     I assume the answer is the same
     15         for the entity you referred to as
     16         Qualitest?
     17               A.     Correct.
     18               Q.     And you also can't offer any
     19         opinion as to whether or not Endo could
     20         have in fact stopped any of the orders
     21         flagged by the application of your
     22         compliance metrics or stopped any
     23         particular prescriptions in the real world;
     24         is that right?
     25                      MS. CONROY:       Objection.

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      1

      2               A.     Correct.      That is outside of my
      3         expertise and scope.
      4               Q.     And you can't offer an opinion as
      5         to whether or not Endo should have stopped
      6         any of those orders or prescriptions; is
      7         that right?
      8                      MS. CONROY:       Objection.
      9               A.     Correct.
     10               Q.     And you also can't comment on
     11         those things for Par or Qualitest, correct?
     12                      MS. CONROY:       Objection.
     13               A.     Correct.      All that I can talk to
     14         about what could have been done using the
     15         known compliance metrics by -- applied to
     16         the labeler's own data.
     17               Q.     But you're not offering any
     18         opinion as to whether or not what was
     19         actually done was adequate or appropriate;
     20         is that right?
     21               A.     Correct.
     22                      MS. PERSIO:       I have no further
     23               questions.       Thank you.
     24                      THE WITNESS:       Thank you.
     25                      THE VIDEOGRAPHER:         The time is

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      2               6:31 p.m.      We are now off the record.
      3                      (Discussion off the record.)
      4                      THE VIDEOGRAPHER:         Time is
      5               6:32 p.m.      We are back on the record.
      6         FURTHER EXAMINATION BY
      7         MR. GOLDSTEIN:
      8               Q.     Hi, again, Ms. Keller.           I'm back
      9         for the remaining five minutes of the
     10         deposition today.
     11                      Can you turn back to Exhibit 20,
     12         please.     And specifically that's
     13         Mr. Buthusiem's report, and specifically
     14         paragraph 13.
     15               A.     Sure.
     16               Q.     If you look at the second
     17         sentence of that paragraph, it says, "The
     18         distributor's inventory is comprised of
     19         product purchased over the course of
     20         multiple orders placed with the
     21         manufacturer."
     22                      Do you have any reason to
     23         disagree with that statement?
     24               A.     I don't have any reason to
     25         disagree with what he has stated, but

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      1

      2         that's what's stated here.
      3               Q.     Okay.     The next sentence says,
      4         "The chargeback data submitted with respect
      5         to any eligible distributor to downstream
      6         registrant sale does not delineate which
      7         specific distributor to manufacturer order
      8         relates to the chargeback."
      9                      Do you have any reason to
     10         disagree with that statement?
     11                      (Document review.)
     12               A.     I don't understand what the word
     13         "eligible" means, so I don't really know if
     14         I can agree or disagree with this.
     15                      And it's also referencing sales
     16         data that, again, we've discussed earlier
     17         that I haven't reviewed fully.
     18               Q.     So let me break that up.            I'll
     19         represent to you that eligible distributor
     20         to downstream registrant sale simply means
     21         a sale for which a chargeback was issued.
     22               A.     Sure.
     23               Q.     A chargeback eligible sale.
     24                      Okay.     Does that make sense?
     25               A.     Sure.

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      1

      2               Q.     Okay.     Now based on the data that
      3         you've reviewed to date and as you sit here
      4         today, do you have any reason to disagree
      5         with the sentence that I just read?
      6               A.     And I just assume that there is
      7         an order number, an order ID in both data
      8         sets, is there?
      9               Q.     You assume that there is an order
     10         ID in both sets of what?
     11               A.     Of both the chargeback data and
     12         the sales data.
     13               Q.     That is the same order ID, is
     14         that what you're saying?
     15               A.     I would think that that exists.
     16               Q.     Okay.     And so if that is the
     17         case -- sorry.       If that is not the case,
     18         then you would not be able to delineate
     19         which specific distributor to manufacturer
     20         order relates to the chargeback?
     21               A.     I mean, I'd have to look at the
     22         data sets again to see whether or not I
     23         could trace it or not.          Again, you're
     24         asking me look at data I haven't fully
     25         reviewed.

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      1

      2               Q.     I'm only asking you about
      3         chargeback -- so let me only ask you about
      4         chargeback data for the moment.
      5               A.     Okay.
      6               Q.     Do you know if chargeback data
      7         anywhere reflects which product in
      8         circumstances where, as discussed in the
      9         sentence immediately prior, where
     10         distributor's inventory is comprised of
     11         product purchased over the course of
     12         multiple orders, okay?
     13               A.     Okay.     I don't know that there is
     14         a question there, though.
     15               Q.     Are you with me so far?
     16               A.     Yes.
     17               Q.     You understand the situation I'm
     18         talking about is a situation where a
     19         distributor's inventory includes product --
     20         is comprised of product purchased over the
     21         course of multiple orders placed with the
     22         same manufacturer?
     23               A.     Yes.    I think maybe let's go back
     24         to our example from earlier where you had
     25         the two orders.

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      1

      2               Q.     Sure?
      3               A.     Okay.
      4               Q.     Chargeback data is submitted for
      5         one of those orders.
      6               A.     Sure.
      7               Q.     Are you aware of any information
      8         in the chargeback data that identifies
      9         which order of the two orders in the
     10         distributor's inventory that chargeback
     11         data pertains to?
     12               A.     So the -- I will say what I know
     13         that exits in the chargeback data.               I can't
     14         talk about the inventory system of the
     15         distributor.
     16                      The chargeback has an NDC number,
     17         the distributor that shipped it or that
     18         submitted it, I should say, to be most
     19         correct, as well as an order number and a
     20         date.
     21               Q.     And is it your understanding that
     22         the NDC code that's included pertains to
     23         the product that's being shipped?
     24               A.     I would understand the NDC to be
     25         the product, yes.

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      1

      2               Q.     And not a particular order that's
      3         being shipped?
      4               A.     I think you could characterize
      5         the NDC is part of a larger order.
      6               Q.     I'm not sure I follow.
      7                      The NDC relates to the type of
      8         product that's being shipped?
      9               A.     So I have seen the data, have an
     10         order number, let's say one, two, three,
     11         four, five, have as part of it, and this is
     12         a hypothetical, but I've seen real examples
     13         of the data, an order for -- the same order
     14         number also have oxycodone, morphine and a
     15         hydrocodone product as part of that whole
     16         order.
     17               Q.     And that's all under the same NDC
     18         code?
     19               A.     No, different NDC codes folded
     20         underneath one order.
     21               Q.     Okay.     But understood the NDC
     22         order only pertains to the product that's
     23         being shipped?
     24               A.     Yes.    I think we've talked about
     25         that.

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      1

      2               Q.     Okay.
      3                      MR. GOLDSTEIN:        Can I ask one
      4               more question?        Thank you.
      5                      MR. LEDLIE:       Sure.
      6         BY MR. GOLDSTEIN:
      7               Q.     So if you turn to figure 1 in
      8         Mr. Buthusiem's report, it's right under
      9         paragraph 24.
     10               A.     Yup.
     11               Q.     Have you reviewed this figure
     12         before?
     13               A.     I've seen it before.
     14               Q.     Sorry.     That wasn't my one final
     15         question.
     16                      (Laughter.)
     17               Q.     Do you see it reflected in that
     18         table that there is a Mallinckrodt peculiar
     19         order and a Mallinckrodt chargeback record?
     20                      Do you see that?
     21               A.     I see those two records on this
     22         document, yes.
     23               Q.     And do you see that the order
     24         numbers are different?
     25               A.     I do see that.

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      1

      2               Q.     And what do you take that to
      3         mean?
      4               A.     I mean what I assume, there are
      5         two different systems that have two
      6         different numbering.
      7               Q.     And so this is my last question.
      8                      Assuming that there are two
      9         different systems with two different
     10         numbering, it would not be possible to
     11         trace a peculiar order to -- that is to
     12         product that is shipped into Cuyahoga or
     13         Summit County and is subsequently the
     14         source of a chargeback request?
     15                      MS. CONROY:       Objection.
     16               A.     I don't agree with that.
     17               Q.     Why not?
     18               A.     Because our report traces
     19         peculiar orders and chargebacks.
     20               Q.     So based on the substance of
     21         what's in your report today, you disagree
     22         with that statement?
     23               A.     Yes, I disagree with that
     24         statement based off of my findings in my
     25         report.

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      1

      2                      MR. GOLDSTEIN:        Okay.     Thank you.
      3                      THE WITNESS:       Thanks.
      4                      THE VIDEOGRAPHER:         The time is
      5                6:41 p.m.
      6                      (Time noted:       6:41 p.m.)
      7

      8

      9

     10                             __________________________.
     11                            LACEY R. KELLER
     12

     13

     14         Subscribed and sworn to before me
     15         this       day of               2019.
     16

     17         ________________________________
     18

     19

     20

     21

     22

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     24

     25

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      1

      2                          C E R T I F I C A T E
      3

      4         STATE OF NEW YORK               )
      5                                   : ss.
      6         COUNTY OF WESTCHESTER           )
      7

      8                      I, ANNETTE ARLEQUIN, a Notary
      9                 Public within and for the State of New
     10                 York, do hereby certify:
     11                      That LACEY R. KELLER, whose
     12                 deposition is hereinbefore set forth,
     13                 was duly sworn by me, and that the
     14                 transcript of such depositions is a
     15                 true record of the testimony given by
     16                 such witness.
     17                      I further certify that I am not
     18                 related to any of the parties to this
     19                 action by blood or marriage; and that I
     20                 am in no way interested in the outcome
     21                 of this matter.
     22                      IN WITNESS WHEREOF, I have hereunto
     23                 set my hand this 14th day of June, 2019.
     24                    ___________________________________
     25                    ANNETTE ARLEQUIN, CCR, RPR, CRR, RSA

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      1

      2                                 I N D E X
      3

      4          WITNESS                                          PAGE
      5

      6          LACEY R. KELLER
      7           MS. LEVY                                        12, 314
      8           MS. LUCAS                                       203
      9           MS. DEAN                                        263
     10           MR. LAVELLE                                     270
     11           MS. O'GORMAN                                    300
     12           MR. HAMMOUD                                     320
     13           MR. GOLDSTEIN                                338, 392
     14           MR. HYNES                                       377
     15           MS. PERSIO                                      387
     16

     17                  I N D E X        O F     E X H I B I T S
     18          DESCRIPTION                                         PAGE
     19

                Keller Exhibit 1, Track 1                               15
     20         Defendants' Second Amended Notice
                of Oral Videotaped Deposition of
     21         Lacey R. Keller
     22

                Keller Exhibit 2, List of                               17
     23         documents that respond to request
                1 in Exhibit A on Exhibit 1
     24

     25

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      1
      2            I N D E X  O F   E X H I B I T S(Cont'd.)
      3         DESCRIPTION                             PAGE
      4         Keller Exhibit 3, Gryphon                19
                Strategies Invoice dated 5/30/19,
      5         Bates-stamped
                OPIOIDMDL_KELLER_000036 through
      6         35
      7
                Keller Exhibit 4, Resume of Lacey                      30
      8         R. Keller, not Bates-stamped
      9
                Keller Exhibit 5, Expert Analysis                      60
     10         of Lacey R. Keller, not
                Bates-stamped
     11
     12         Keller Exhibit 6, Spreadsheet,                        136
                not Bates-stamped
     13
     14         Keller Exhibit 7, Expert Analysis                     157
                - Addendum: Lacey R. Keller
     15
     16         Keller Exhibit 8, "Corrections to                     179
                Expert Analysis," prepared by
     17         Lacey R. Keller, not
                Bates-stamped,
     18
     19         Keller Exhibit 9, Word document                       184
                prepared by Keller, not
     20         Bates-stamped,
     21
                Keller Exhibit 10, Expert                             237
     22         Analysis - Errata Sheet: Lacey R.
                Keller, not Bates-stamped,
     23
     24
     25

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      1
      2          I N D E X   O F   E X H I B I T S(Cont'd.)
      3         DESCRIPTION                             PAGE
      4         Keller Exhibit 11, Press release        241
                entitled "FDA reports quality
      5         problems for data provided by the
                firm IQVIA that were used to
      6         inform estimates for some
                controlled substances"
      7
      8         Keller Exhibit 12, Report on                          249
                Script.SQL, not Bates-stamped
      9
     10         Keller Exhibit 13, Document                           277
                produced in native format
     11         beginning with Bates-stamp
                MNK-T1_0001315847
     12
     13         Keller Exhibit 14, Email chain                        281
                beginning with email dated
     14         9/23/16 from K. Harper to
                McKenzie, Bates-stamped
     15         MNK-T1_0001315844 through 5846
     16
                Keller Exhibit 15, Email chain                        287
     17         beginning with email dated
                10/31/11 from Oriente to Nichols,
     18         Bates-stamped MCKMMDL006332908
                through 2910
     19
     20         Keller Exhibit 16, Email chain                        292
                beginning with email dated
     21         10/31/11 from Lai to Oriente and
                others, Bates-stamped
     22         MCKMDL00626683 through 6685
     23
                Keller Exhibit 17, Purdue Pharma                      304
     24         L.P. document Bates-stamped
                PDD1503450011 through 0024
     25

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      1:17-md-02804-DAP Doc #:-1979-6
               Confidential           Filed:to07/24/19
                                Subject         Further405Confidentiality
                                                           of 406. PageID #: 232421
                                                                               Review

      1
      2          I N D E X       O F      E X H I B I T S(Cont'd.)
      3         DESCRIPTION                                           PAGE
      4         Keller Exhibit 18, Document                           307
                produced natively, Bates-stamped
      5         PPLP004449246
      6

                Keller Exhibit 19, Letter on                          316
      7         Kirkland & Ellis letterhead dated
                8/31/18 from Welch to Donna Welch
      8         to the Plaintiffs' Executive
                Committee, not Bates-stamped
      9
     10         Keller Exhibit 20, Report of                          338
                Edward J. Buthusiem of Berkeley
     11         Research Group, not Bates-stamped
     12
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Case: Highly
      1:17-md-02804-DAP Doc #:-1979-6
               Confidential           Filed:to07/24/19
                                Subject         Further406Confidentiality
                                                           of 406. PageID #: 232422
                                                                               Review

      1

      2                    ERRATA SHEET FOR THE TRANSCRIPT OF:
      3          CASE NAME:      OPIOID LITIGATION
      4          DATE:           JUNE 13, 2019
      5          DEPONENT:       LACEY R. KELLER - CONFIDENTIAL
      6          Pg.    Ln.     Now Reads       Should Read          Reason
      7          __     __      _________         ___________        _______
      8          __     __      _________         ___________        _______
      9          __     __      _________         ___________        _______
     10          __     __      _________         ___________        _______
     11          __     __      _________         ___________        _______
     12          __     __      _________         ___________        _______
     13          __     __      _________         ___________        _______
     14          __     __      _________         ___________        _______
     15          __     __      _________         ___________        _______
     16          __     __      _________         ___________        _______
     17

     18                                     _______________________
     19                                       LACEY R. KELLER
     20          SUBSCRIBED AND SWORN BEFORE ME
     21          THIS____DAY OF____________             2019.
     22

     23          _______________________________
     24          (Notary Public)
     25          MY COMMISSION EXPIRES:_______________

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